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14                                    UNITED STATES DISTRICT COURT
15                              NORTHERN DISTRICT OF CALIFORNIA
16

17   VERONICA GUTIERREZ, ERIN                      Case No. C 07-05923-WHA
     WALKER, and WILLIAM SMITH, as
18   individuals and on behalf of all others       DECLARATION OF ROGER N. HELLER
     similarly situated,                           IN SUPPORT OF MOTION FOR AWARD
19                                                 OF ATTORNEYS’ FEES AND COSTS
                        Plaintiffs,
20                                                 Date:         May 21, 2015
     v.                                            Time:         2:00 p.m.
21                                                 Judge:        Hon. William H. Alsup
     WELLS FARGO BANK, N.A.,
22
                        Defendant.
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                                                                  DECLARATION OF ROGER N. HELLER
                                                                          CASE NO. C 07-05923 WHA
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 1          I, Roger N. Heller, hereby declare and state:
 2                  1.      I am a member in good standing of the California State Bar and a partner in
 3   the law firm of Lieff, Cabraser, Heimann & Bernstein, LLP (“LCHB”), Class Counsel in this
 4   case. I am admitted to practice before this Court. I have personal knowledge of the matters set
 5   forth herein, and could and would testify competently thereto if called upon to do so.
 6                                  LCHB PROJECT BREAKDOWN
 7                  2.      The Court’s January 30, 2015 Order Re Attorney’s Fees and Expense (Doc.
 8   No. 619) (“Fee Order”) directs Class Counsel to submit a detailed breakdown of their time
 9   organized by projects. The detailed breakdown for LCHB (the “LCHB Project Report”) is
10   attached hereto as Exhibit A. Pursuant to the Fee Order, the LCHB Project Report is also being
11   served on Wells Fargo in Microsoft Excel format.
12                  3.      All entries in the LCHB Project Report are derived directly from LCHB’s
13   contemporaneous time records, which are prepared contemporaneously and maintained by LCHB
14   in the ordinary course of business. LCHB’s contemporaneous time records include, for each
15   billing entry, the date, timekeeper, and a narrative description of the work performed. However,
16   LCHB time records are not coded or organized by particular project. Therefore, I personally
17   reviewed each LCHB time entry for the case, from the inception of LCHB’s work on the case
18   through January 15, 2015, and assigned them to a particular project. There were instances where,
19   based on my review of the narrative description, a single time entry pertained to more than one
20   project, thus requiring that the reported time be divided and allocated to appropriate projects. In
21   those instances, I used my best judgment to allocate time among relevant projects, generally
22   assigning the time equally between the projects unless it was apparent that another apportionment
23   would be more appropriate. In absolutely no circumstances, of course, did this result in an
24   increase in the time reported, but rather it involved merely allocating existing time reported.
25   Indeed, in some circumstances this resulted in a reduction of time, as some reallocated time was
26   written off in an exercise of billing judgment. I estimate that approximately 8% to 9% of
27   LCHB’s time entries involved apportionment of individual time entries to multiple projects. For
28   many of these entries, the need to apportion the reported time was a function of trying to be as

                                                                           DECLARATION OF ROGER N. HELLER
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 1   specific as possible in defining the “projects” used for this report. For example, in the days
 2   leading up to the depositions of Wells Fargo’s damages experts, Alan Cox (February 5, 2010) and
 3   David McGoveran (February 10, 2010), there were some individual time entries related to
 4   preparing for both depositions, as the background subject matter overlapped. Had Plaintiffs
 5   grouped both of these depositions in a single “project” (e.g., “Damages Experts Depositions”) for
 6   this report, then all of the time for these entries would have been assigned to that one project.
 7   However, because Plaintiffs were more specific in defining the projects—there is one “project”
 8   for the Cox Deposition and another for the McGoveran deposition—the reported time for these
 9   entries needed to be divided and apportioned between two projects.
10                                         LCHB REDUCTIONS
11                  4.      The Fee Order directs Class Counsel to provide information about time that
12   is being “written-off” by Class Counsel in their exercise of billing judgment. As descried below,
13   LCHB has conservatively written-off significant amounts of time that LCHB attorneys,
14   paralegals, and staff have worked on this case.
15                  5.      LCHB periodically reviews its time records, including before submitting
16   requests for attorneys’ fees in its cases. In this case, Class Counsel submitted an initial fee
17   application in November 2010, shortly after the Court entered the initial Judgment. Prior to
18   making that submission, LCHB reviewed its time records in the case and, through that review,
19   reduced its time in the case by more than 100 hours. Because LCHB was not under any
20   obligation to assign its time or reductions to particular projects at that time, LCHB is not in a
21   position now to reasonably provide a breakdown of which specific projects these initial 2010
22   reductions were associated with. These reductions, from the 2010 review, are not included in any
23   of the reductions numbers discussed below.
24                  6.      In connection with the current submission, I again carefully reviewed
25   LCHB’s time records in the case. I reviewed LCHB’s time for the period after the 2010
26   submission, and also re-examined LCHB’s remaining (i.e., not previously written-off) time for
27   the prior period as well, looking for any additional reductions that might be appropriate. Any
28   time that was incorrectly billed to this case was eliminated (these amounts are not included in the

                                                                           DECLARATION OF ROGER N. HELLER
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 1   reductions amounts listed below). Moreover, through this review (which covered LCHB’s time
 2   through January 15, 2015), LCHB has written-off significant additional time billed by LCHB
 3   timekeepers on this case. This includes, for example, time billed for duplicative work, work
 4   related to turnover of personnel working on the case, court appearances by attorneys or staff
 5   whose attendance was not reasonably necessary, maintaining the case file, distributing pleadings
 6   among the case team, time billed by attorneys and staff who billed fewer than 10 hours to the
 7   case, and other time that, in my view, could have been deemed excessive.
 8                  7.      Some, but not all, of these reductions are reflected in the individual project
 9   tabs that comprise the LCHB Project Report, as indicated in the “Reductions” row at the bottom
10   of each project tab. (The “Totals” above the “Reductions” in each project tab are net of
11   reductions). These reductions include 102 hours of time that LCHB is writing off that, in my
12   view, did not fit within a particular project (Exhibit A at Tab 3 (Miscellaneous)). These
13   reductions also include all of the time that LCHB spent in connection with Class Counsel’s first
14   fee application in the case, filed in 2010.1 (None of the time that LCHB has spent on the present
15   motion is included either; all or most of that time post-dates the January 15, 2015 cut-off that we
16   used in preparing this report). The total amount of the reductions that are included in the LCHB
17   Project Report, is 451.3 hours (totaling $198,795.50 in lodestar reduced, using historical billing
18   rates).
19                  8.      In addition to the reductions that are reflected in the LCHB Project Report,
20   there were projects where LCHB wrote off all time for the entire project, including: LCHB’s
21   Initial Investigation (13.3 hours, $8,003.00 lodestar using historical billing rates); Association of
22   LCHB as Counsel (1.7 hours, $790.00 lodestar); Motion for Appointment of LCHB as Class
23   Counsel (4.1 hours, $2,161.00 lodestar); Wells Fargo’s Motion for Costs (3.2 hours; $1,470.00
24

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     1
       As reflected in the LCHB Project Report, this has resulted in a reduction of 179.40 hours, for a
26   total lodestar reduction of $91,647.50 using historical billing rates (Exhibit A at Tab. 46). While
27   this time is compensable under applicable law, LCHB does not include it as part of this
     submission. The only time that is included by LCHB, for the 2010 fee and cost briefing, is the
28   time that was specifically related to Class Counsel’s Bill of Costs and Wells Fargo’s objections
     thereto. (Doc. No. 514, 538, 553).
                                                                           DECLARATION OF ROGER N. HELLER
                                                    -3-                             CASE NO. C 07-05923 WHA
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 1   lodestar); Center for Responsible Lending Amicus Brief (26.50 hours, $12,831.50 lodestar).
 2   These projects are not included in the LCHB Project Report.
 3                   9.      In all, excluding the reductions made in 2010 discussed above, LCHB has
 4   made reductions of 500.1 hours of time spent by LCHB timekeepers on this case, for a total
 5   lodestar reduction of $224,051.00 (using historical billing rates). Attached hereto as Exhibit B is
 6   a summary chart breaking down these reductions by individual LCHB timekeeper.
 7                   TIME AND EXPENSE SUMMARY CHARTS (BOTH FIRMS)
 8                   10.     The Fee Order directs Class Counsel to submit a separate summary chart
 9   showing the total time and lodestars per individual timekeeper, for the time for which Class
10   Counsel seek compensation.
11                   11.     Attached hereto as Exhibit C is a summary chart showing all timekeepers
12   for which compensation is sought by Class Counsel (LCHB and M&W), their hours, and their
13   lodestars calculated at historical billing rates.
14                   12.     Attached hereto as Exhibit D is a summary chart showing all timekeepers
15   for which compensation is sought by Class Counsel (LCHB and M&W), their hours, and their
16   lodestars calculated at current billing rates.
17                   13.     The Fee Order also directs Class Counsel to submit a summary chart
18   showing, for each firm, the firm’s total time, lodestar and expenses for which compensation is
19   sought. That chart is attached hereto as Exhibit E.
20                                      SUMMARY OF LCHB TIME
21                   14.     Attached hereto as Exhibit F is a summary chart showing the hours (as of
22   January 15, 2015), the historical billing rates, and the lodestars for each individual timekeeper for
23   which LCHB is seeking compensation.
24                   15.     Attached hereto as Exhibit G is a summary chart showing the hours (as of
25   January 15, 2015), the current billing rates, and the lodestars for each individual timekeeper for
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                                                                          DECLARATION OF ROGER N. HELLER
                                                         -4-                      CASE NO. C 07-05923 WHA
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 1   which LCHB is seeking compensation. For any individuals who have left the employ of LCHB,
 2   the hourly rate at the time when their employment concluded is used in Exhibit D.2
 3          16.     As reflected in Exhibits F and G, as of January 15, 2015, the attorney, paralegal,
 4   and staff timekeepers at LCHB have billed approximately 5,697.80 hours in connection with this
 5   case (exclusive of write-offs), for a total lodestar of approximately $2,956,906.50 (using
 6   historical billing rates) and $3,297,495.00 (using current billing rates). This information is
 7   derived directly from LCHB’s time records, which are prepared contemporaneously and
 8   maintained by LCHB in the ordinary course of business.
 9          17.     LCHB’s customary rates, which were used for purposes of calculating the
10   lodestars here, are based on prevailing rates in this District and have been approved repeatedly by
11   federal courts in this Circuit and other Circuits. See, e.g., Brazil v. Dell Inc., 2012 U.S. Dist.
12   LEXIS 47986 (N.D. Cal. Apr. 4, 2012); In re Bank of America Credit Protection Marketing &
13   Sales Practices Litig., No. 11-md-2269 THE (Dkt. 96) (N.D. Cal. Jan. 16, 2013); Fleming v.
14   Kemper Nat. Services, Inc., 373 F. Supp. 2d 1000, 1012 (N.D. Cal. 2005); Grays Harbor
15   Adventist Church Sch. v. Carrier Corp., 2008 WL 1901988, at *3 (W.D. Wash. Apr. 24, 2008);
16   Pelletz v. Weyerhaeuser Co., 2009 U.S. Dist. LEXIS 1803, at *7 (W.D. Wash. Jan. 9, 2009);
17   Berger v. Property ID Corporation, CV 05-5373-GHK (Cwx) (C.D. Cal.); White v. Experian
18   Information Solutions, Inc., 2011 WL 2971957, * 3 (C.D. Cal. Jul. 15, 2011); Lonardo v.
19   Travelers Indem. Co., -- F. Supp. 2d --, 2010 WL 1416698, at *22-23 (N.D. Ohio Mar. 31, 2010);
20   In re Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prods. Liab. Litig., No. Civ.A.
21   99-20593, MDL No. 1203, 2003 WL 21641958, at *9 (E.D. Pa. May 15, 2003).
22          18.     The qualifications, experience, and roles of the LCHB timekeepers for whom
23   compensation is sought in this case are set forth in the accompanying declaration of Richard M.
24   Heimann.
25          19.     LCHB sets its hourly rates according to prevailing market rates, bills its hourly
26   paying clients according to those rates, and is routinely awarded fees according to those rates.
27   2
       In mid-2011, I was promoted from associate to partner at LCHB. For the time that I billed prior
28   to my promotion in mid-2011 (i.e., while I was an associate), the billing rate used in Exhibit D is
     my billing rate that was in place at the time I was promoted.
                                                                         DECLARATION OF ROGER N. HELLER
                                                     -5-                           CASE NO. C 07-05923 WHA
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 1   LCHB primarily represents clients on a contingent fee basis, both in class and individual cases.
 2   However, LCHB also represents plaintiffs on an hourly basis and is paid according to its then
 3   current hourly rates. LCHB currently is retained by such clients who pay LCHB’s current hourly
 4   rates, the same rates used to calculate its lodestar in this matter.
 5           20.     LCHB has spent considerable time on this litigation that could have been spent on
 6   other matters. At various times during the litigation, the active prosecution of the claims has
 7   consumed a substantial percentage of my billable time that could otherwise have been spent on
 8   other fee-generating work. In addition to a substantial percentage of my time, this case has also
 9   required significant time from LCHB partners Richard M. Heimann, Michael W. Sobol, and other
10   LCHB attorneys, paralegals and staff that could have been spent on other fee-generating work.
11           21.     The time that LCHB has spent on this case has been completely contingent on the
12   outcome of the action. LCHB has not been paid for any of the time spent on the action, nor has it
13   been reimbursed for any of its out-of-pocket expenses.
14                                            LCHB EXPENSES
15           22.     LCHB has incurred more than $449,859.85 in un-reimbursed expenses that were
16   necessarily incurred in connection with the prosecution of this litigation. This includes costs
17   associated with experts, administration of the case website, computer legal research, equipment
18   for the trial and other trial expenses, filing fees, copying, postage, and mediation expenses. A
19   summary of the expenses for which LCHB seeks reimbursement is attached hereto as Exhibit H.
20   A detailed report itemizing each expense is attached hereto as Exhibit I.
21           23.     The foregoing expenses were incurred solely in connection with this litigation and
22   are reflected on LCHB’s books and records as maintained in the ordinary course of business.
23   These books and records are prepared from invoices, receipts, expense vouchers, check records
24   and other records, and are an accurate record of the expenses incurred in this case. The rates
25   charged for all internal expenses incurred by my firm (e.g., photocopying) are the same
26   irrespective of whether the case is billable or contingent.
27           24.     The above expenses do not include $41,650.88 in taxable costs incurred by LCHB
28   in this case, which were included in the Bill of Costs submitted by Class Counsel in 2010 (see

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 1   Doc. No. 514), nor do they include significant additional costs that LCHB has incurred in this
 2   case (e.g., in-house printing, telephone, parking, meals) for which LCHB does not seek
 3   reimbursement.
 4

 5                  I declare under penalty of perjury that the foregoing is true and correct. Executed
 6   this 17th day of February, 2015, at San Francisco, California.
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                                                                  /s/ Roger N. Heller
 8                                                                    Roger N. Heller
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                                                                        DECLARATION OF ROGER N. HELLER
                                                   -7-                          CASE NO. C 07-05923 WHA
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                          Exhibit A
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                                                  LCHB Project Report Index


Tab No. Project                                                 Total Hours (Net of Reductions) Total Amount (Net of Reductions)
  1     Damages Analysis and Olsen Reports                                                95.70 $                      52,563.00
  2     Opposing Transfer to MDL                                                          44.60 $                      25,679.00
  3     Miscellaneous                                                                     56.40 $                      14,046.50
  4     Class Member Communication                                                       125.70 $                      31,603.00
  5     Research                                                                          76.10 $                      28,377.00
  6     Preparation of Trial Materials                                                   212.40 $                      56,928.50
  7     Joint Motion to Modify Schedule                                                    2.00 $                       1,300.00
  8     Mediation                                                                         47.70 $                      28,195.00
  9     Cox Deposition                                                                    25.50 $                      16,970.50
  10    McGovern Deposition                                                               16.00 $                      10,960.00
  11    Olsen Deposition                                                                  16.50 $                      11,022.50
  12    Trial Preparation                                                                669.10 $                     374,761.00
  13    Plaintiffs' Daubert Motion                                                       118.20 $                      66,725.00
  14    WF Daubert Motion                                                                 33.60 $                      20,102.00
  15    WF Administrative Motion to Take Hearing Off Calendar                              2.80 $                       1,827.50
  16    Motions in Limine (Pre-trial)                                                     85.40 $                      39,293.00
  17    WF Motion to Reconsider Preemption                                                37.30 $                      20,760.50
  18    Trial Exhibits & Objections                                                       55.20 $                      20,313.50
  19    Statement re Trial Date                                                            3.20 $                       2,045.00
  20    Proposed Pre-Trial Order                                                          69.90 $                      30,272.50
  21    Status Report re Trial Date                                                        1.50 $                       1,087.50
  22    Trial Subpoenas                                                                    9.20 $                       3,576.50
  23    Proposed Pre-Trial Findings                                                       16.40 $                       8,707.50
  24    Pre-Trial Conference                                                              64.70 $                      31,972.50
  25    Motion re WF Authenticity Objections                                              28.90 $                       9,365.50
  26    Trial Demonstratives                                                              14.10 $                       6,389.00
  27    Designations for Trial                                                            13.00 $                       7,925.00



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                                                       LCHB Project Report Index


Tab No. Project                                                   Total Hours (Net of Reductions) Total Amount (Net of Reductions)
  28    Briefing re Consultation with Witnesses                                              2.00 $                         860.00
  29    Motion in Limine re: Schminke                                                       14.30 $                       4,927.00
  30    Trial Presentation (Technical)                                                     151.00 $                      46,357.50
  31    Trial                                                                              256.00 $                     132,230.00
  32    Review and Flagging of Complaint Records (Ex. 127)                                  24.00 $                       6,152.00
  33    WF's Mid-Trial Rule 52(c) Motion                                                    35.70 $                      13,752.50
  34    Plaintiff's Proposed Post-Trial Findings                                           162.70 $                      78,605.00
  35    Post-Trial Stipulation re: Posting Order                                             5.70 $                       4,162.50
  36    Response to WF Proposed Post-Trial Findings                                         95.30 $                      44,574.50
  37    Closing Argument                                                                    80.00 $                      37,919.50
  38    Supplemental Brief re: Smith Release                                                69.40 $                      29,454.00
  39    WF Notice of Potential Jurisdictional Defect                                        18.50 $                       9,807.50
  40    Court's Findings After Trial                                                        15.60 $                       9,221.00
  41    Joint Recommendations (2010)                                                       158.20 $                      88,082.00
  42    WF Notice of Appeal (2010) / Bond Research                                          14.20 $                       4,997.50
  43    Mediation Questionnaires                                                             5.00 $                       2,905.00
  44    WF Motion to Amend Findings (Norwest Study)                                         57.80 $                      29,760.50
  45    Appeal Transcript Designation (2010)                                                 2.80 $                       1,260.00
  46    Fee Motion / Bill of Costs (2010)                                                    6.90 $                       3,732.50
  47    WF Motion to Stay Execution (2010)                                                  40.40 $                      19,563.00
  48    Notice of Cross-Appeal (2010)                                                        8.90 $                       3,639.50
  49    Motion to Consolidate (First Appeal)                                                 2.00 $                       1,225.00
  50    Appeal Brief (First Appeal)                                                        531.60 $                     254,319.50
  51    WF Motion to Vacate and Remand (Arbitration)                                       144.90 $                      73,039.50
  52    Appeal Sur-reply Brief (First Appeal)                                              282.00 $                     164,478.50
  53    Oral Argument (First Appeal)                                                       341.80 $                     212,097.00
  54    Notice of Recent Authority (Pre-Oral Argument)                                       8.40 $                       3,448.50



                                                                  2
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                                                    LCHB Project Report Index


Tab No. Project                                                Total Hours (Net of Reductions) Total Amount (Net of Reductions)
  55    WF Notice of Recent Authority (Post-Oral Argument)                                3.00 $                       1,500.00
  56    Ninth Circuit Opinion (First Appeal)                                             16.20 $                      10,402.00
  57    Post-Remand CMC (First Removal)                                                   5.90 $                       3,789.50
  58    Petition for Rehearing (First Appeal)                                            36.10 $                      22,325.00
  59    Plaintiffs' Statement After Remand (First Remand)                                16.60 $                      10,165.00
  60    Post-Remand Strategy (First Remand)                                              16.20 $                      10,435.00
  61    Motion for Re-Entry of Judgment                                                 351.60 $                     209,538.50
  62    Joint Recommendation #2 (2013)                                                  108.30 $                      68,510.50
  63    Strategy re Appeal #2                                                             6.10 $                       4,787.00
  64    Appeal Transcript Designation (2013)                                              3.10 $                       1,555.50
  65    WF Motion to Stay Execution (2013)                                                2.30 $                       1,383.00
  66    Motion to Consolidate (Second Appeal)                                             3.60 $                       2,110.00
  67    Notice of Cross-Appeal (2013)                                                     3.10 $                       1,555.50
  68    Appeal Schedule (Second Appeal)                                                   5.60 $                       3,312.50
  69    Appeal Brief (Second Appeal)                                                    391.40 $                     228,199.50
  70    Appeal Sur-Reply Brief (Second Appeal)                                            9.70 $                       5,897.50
  71    Oral Argument (Second Appeal)                                                   191.70 $                     134,078.00
  72    Ninth Circuit Opinion (Second Appeal)                                             4.50 $                       3,487.50
  73    Post-Mandate Strategy (Second Appeal)                                             0.50 $                         412.50
  74    WF Petition for Rehearing (Second Appeal)                                         3.10 $                       2,557.50
  75    WF Motion to Stay Mandate (Second Appeal)                                        29.70 $                      19,253.00
  76    Post-Mandate Status Update (Second Remand)                                        0.90 $                         562.50
  77    Joint Recommendation #3 (2015)                                                   12.40 $                       7,750.00
                                                                                      5697.80 $                    2,956,906.50




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                                        Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 13 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                        Damages Analysis and Olsen Reports

Date        Timekeeper              Narrative                                                                 Hours          Billing Rate Amount
6/8/2009    HIMMELSTEIN, BARRY      Emails re data analysis; telephone conference with R. Heimann re same.            0.40      $650         $260.00




6/9/2009    SOBOL, MICHAEL          Pretrial data preparation.                                                        0.30      $700         $210.00




6/9/2009    SOBOL, MICHAEL          Emails re data analysis.                                                          0.40      $700         $280.00



6/10/2009   SOBOL, MICHAEL          Pretrial data preparation.                                                        0.30      $700         $210.00




6/12/2009   SOBOL, MICHAEL          Emails re data analysis.                                                          0.80      $700         $560.00



6/26/2009   HIMMELSTEIN, BARRY      Telephone conference with M. May, Art Olsen re data analysis.                     1.00      $650         $650.00




7/1/2009    HIMMELSTEIN, BARRY      Conference and emails with M. Sobol re data.                                      0.70      $650         $455.00



7/1/2009    SOBOL, MICHAEL          Attention to correspondence re data. Conference with B. Himmelstein re            0.70      $700         $490.00
                                    same.


7/7/2009    HIMMELSTEIN, BARRY      Meeting with Art Olsen, Richard McCune re damages analysis; prepare for           3.80      $650        $2,470.00
                                    same.


7/15/2009   SOBOL, MICHAEL          Emails re data collection; possible third party discovery.                        0.50      $700         $350.00




8/10/2009   HIMMELSTEIN, BARRY      Draft email re post June 2008 data; emails re Art Olsen going to Wells            1.50      $650         $975.00
                                    Fargo.


8/10/2009   PALMERTON, MIKAELA B.   Review emails from B. Himmelstein to opposing counsel re damages data.            0.10      $300          $30.00




9/2/2009    HIMMELSTEIN, BARRY      Emails re data analysis; telephone conference with Richard McCune re              0.60      $650         $390.00
                                    same.

                                                                                                                                                        4
9/14/2009    HIMMELSTEIN, BARRY       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                              4.50 02/17/15 Page    14 of 244
                                  Review memorandum and chart re data analysis; conference calls with
                                                                                     $650   $2,925.00
                                  Richard McCune, Art Olsen re data analysis; conference calls with Wells
                                  Fargo re same.

9/30/2009    HIMMELSTEIN, BARRY   Telephone conference with Richard McCune re data issues; emails re        1.40   $650    $910.00
                                  same.


10/1/2009    HIMMELSTEIN, BARRY   Emails re data issues.                                                    0.40   $650    $260.00




11/11/2009   SOBOL, MICHAEL       Data analysis.                                                            0.80   $700    $560.00



11/12/2009   SOBOL, MICHAEL       Data analysis. Emails re the same.                                        1.10   $700    $770.00




11/13/2009   SOBOL, MICHAEL       Data analysis. Conferences and emails re the same.                        1.50   $700   $1,050.00




11/16/2009   DUGAR, KIRTI         Review flow chart memorandum from expert; prepare and outline for         2.00   $335    $670.00
                                  presentation of graphics view of same.


11/16/2009   KHARARJIAN, ARRA     Damage analysis charts read per K. Dugar.                                 0.50   $260    $130.00



11/16/2009   MUGRAGE, MAJOR       Transaction processing flow charts.                                       0.40   $250    $100.00




11/17/2009   HIMMELSTEIN, BARRY   Emails and telephone conferences re expert damage analysis.               1.00   $650    $650.00



11/17/2009   HIMMELSTEIN, BARRY   Telephone conference with Richard McCune re data analysis; emails re      1.30   $650    $845.00
                                  same.


11/17/2009   MUGRAGE, MAJOR       Create transaction processing flow charts.                                3.60   $250    $900.00




11/17/2009   SOBOL, MICHAEL       Emails and conferences re expert damage analysis.                         1.00   $700    $700.00



11/18/2009   DUGAR, KIRTI         Meetings with M. Sobol and B. Himmelstein re flow charts for damages      5.00   $335   $1,675.00
                                  expert work; review memos and prepare drafts of same.


11/18/2009   HIMMELSTEIN, BARRY   Conference re expert damage analysis; emails re same.                     1.00   $650    $650.00



                                                                                                                                      5
11/18/2009   KHALSA, SAT KRIYA        Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                              1.40 02/17/15
                                  Print and edit graphics of damages expert material.$250   Page   15 of 244
                                                                                             $350.00




11/18/2009   KHARARJIAN, ARRA     Damages flow chart assistance and editing per K. Dugar.                    4.30   $260   $1,118.00




11/18/2009   SOBOL, MICHAEL       Emails and conferences re expert damages analysis.                         1.00   $700    $700.00




11/19/2009   DUGAR, KIRTI         Revise damages expert work flow chart; meeting with B. Himmelstein and     2.50   $335    $837.50
                                  M. Sobol re same.


11/19/2009   HIMMELSTEIN, BARRY   Emails and telephone conference with K. Dugar re damages chart;            1.50   $650    $975.00
                                  conference with K. Dugar and M. Sobol re revisions and chart updates.


11/19/2009   KHALSA, SAT KRIYA    Edit expert graphics and print sets.                                       3.20   $250    $800.00




11/19/2009   MUGRAGE, MAJOR       Edit overdraft transactions process flow charts.                           2.80   $250    $700.00




11/19/2009   SOBOL, MICHAEL       Emails and conferences re expert damages analysis.                         1.00   $700    $700.00



11/20/2009   SOBOL, MICHAEL       Attention to production of expert damages analysis. Emails re the same.    1.20   $700    $840.00




11/23/2009   SOBOL, MICHAEL       Follow up on data issues.                                                  0.50   $700    $350.00



11/30/2009   HIMMELSTEIN, BARRY   Draft response to David Jolley re Dr. Charles Cowen report; review same;   1.00   $650    $650.00
                                  telephone conference with Richard McCune re same; emails re same.


11/30/2009   HIMMELSTEIN, BARRY   Review Wells Fargo declaration re sealing Arthur Olsen report; emails re   1.00   $650    $650.00
                                  same.


11/30/2009   SOBOL, MICHAEL       Attention to experts damages issues.                                       1.00   $700    $700.00



12/1/2009    SOBOL, MICHAEL       Emails re data damages.                                                    0.50   $700    $350.00




2/16/2010    HIMMELSTEIN, BARRY   Conference calls with Art Olsen, M. Sobol, Richard McCune, R. Heller re    1.50   $675   $1,012.50
                                  data projects.


                                                                                                                                       6
2/16/2010   SOBOL, MICHAEL           Case 3:07-cv-05923-WHA Document 638-2 Filed
                                 Meeting with Art Olsen, and Richard McCune. 1.50 02/17/15
                                                                                    $725   Page    16 of 244
                                                                                           $1,087.50




3/1/2010    HIMMELSTEIN, BARRY   Emails re damage analysis.                                                     0.40   $675    $270.00




3/22/2010   SOBOL, MICHAEL       Order re re-sequencing number one. Review evidence.                            2.00   $725   $1,450.00




3/24/2010   HELLER, ROGER        Conference re expert analysis, next steps.                                     2.00   $450    $900.00



3/24/2010   SOBOL, MICHAEL       Review data analysis.                                                          3.30   $725   $2,392.50




3/25/2010   SOBOL, MICHAEL       Emails and conference re further analysis by damages expert.                   1.50   $725   $1,087.50




3/27/2010   HELLER, ROGER        Phone call re damages study, correspondence re the same.                       1.00   $450    $450.00




3/29/2010   HELLER, ROGER        Correspondence re damages study.                                               0.70   $450    $315.00



3/29/2010   SOBOL, MICHAEL       Attention to damage analysis/data extraction.                                  3.50   $725   $2,537.50




3/30/2010   HELLER, ROGER        Correspondence re Arthur Olsen study and related issues.                       1.60   $450    $720.00



3/30/2010   SOBOL, MICHAEL       Attention to damage data analysis.                                             3.70   $725   $2,682.50




3/31/2010   HELLER, ROGER        Conference re Arthur Olsen analysis and trial date; review statistics update   2.00   $450    $900.00
                                 and conference re the same; call with Arthur Olsen re analysis and timing.


3/31/2010   HIMMELSTEIN, BARRY   Draft status report re data processing; multiple telephone conferences with    5.00   $675   $3,375.00
                                 Art Olsen, Richard McCune, M. Sobol, R. Heimann re same.


4/1/2010    HELLER, ROGER        Conference re damages study.                                                   1.00   $450    $450.00




4/2/2010    HELLER, ROGER        Correspondence re damages analysis.                                            3.00   $450   $1,350.00



                                                                                                                                          7
4/2/2010    SOBOL, MICHAEL           Case 3:07-cv-05923-WHA Document 638-2 Filed
                                 Draft status statement to court.            1.00 02/17/15
                                                                                    $725   Page   17 of 244
                                                                                            $725.00




4/19/2010   HIMMELSTEIN, BARRY   Telephone conference with Arthur Olsen re damages analysis.                  1.50   $675    $1,012.50




                                                                             Totals (Net of Reductions):     95.70          $52,563.00


                                                                                               Reductions:   10.50           $4,555.00




                                                                                                                                         8
                                        Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 18 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                 Opposing Transfer to MDL

Date        Timekeeper              Narrative                                                                Hours Billing Rate Amount
6/10/2009   SOBOL, MICHAEL          Emails re MDL transfer order.                                             0.20    $700         $140.00




6/12/2009   HIMMELSTEIN, BARRY      Conference call with M. Sobol, Rich McCune re MDL strategy.               0.70    $650         $455.00




6/16/2009   HIMMELSTEIN, BARRY      Telephone conference with M. Bernstein re MDL research.                   0.20    $650         $130.00



6/16/2009   PALMERTON, MIKAELA B.   Discuss research re MDL with B. Himmelstein.                              0.20    $300          $60.00




6/16/2009   PALMERTON, MIKAELA B.   Legal research re MDL.                                                    0.90    $300         $270.00



6/24/2009   HEIMANN, RICHARD        Conference with B. Himmelstein and M. Sobol re MDL strategy.              0.60    $825         $495.00




6/24/2009   HIMMELSTEIN, BARRY      Conference with R. Heimann and M. Sobol re MDL strategy.                  0.60    $650         $390.00



6/24/2009   SOBOL, MICHAEL          Conference with R. Heimann and B. Himmelstein re MDL strategy.            0.50    $700         $350.00




6/26/2009   HIMMELSTEIN, BARRY      Conference with M. Bernstein re arguments, MDL.                           1.00    $650         $650.00



6/26/2009   PALMERTON, MIKAELA B.   Legal research re opposition to MDL transfer order; discussion with B.    2.50    $300         $750.00
                                    Himmelstein re arguments.


6/30/2009   PALMERTON, MIKAELA B.   Legal research re vacating conditional transfer order.                    0.50    $300         $150.00



7/1/2009    PALMERTON, MIKAELA B.   Legal research re vacating conditional transfer order; email to B.        0.90    $300         $270.00
                                    Himmelstein.


7/2/2009    PALMERTON, MIKAELA B.   Legal research re vacating conditional transfer order; email to B.        1.50    $300         $450.00
                                    Himmelstein.
7/6/2009    HIMMELSTEIN, BARRY          Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                                1.50 02/17/15 Page   19 of 244
                                    Draft motion to vacate conditional transfer order; research re same.
                                                                                       $650    $975.00




7/7/2009    HIMMELSTEIN, BARRY      Draft motion to vacate conditional transfer order No. 1.                          3.70   $650    $2,405.00




7/7/2009    PALMERTON, MIKAELA B.   Review draft of brief in support of motion to vacate conditional transfer         0.20   $300      $60.00
                                    order.


7/8/2009    HIMMELSTEIN, BARRY      Draft motion to vacate conditional transfer order; research re same; review       3.00   $650    $1,950.00
                                    materials for same.


7/14/2009   HIMMELSTEIN, BARRY      Telephone conference with J. Elias re MDL and draft motion.                       0.20   $650     $130.00




8/3/2009    PALMERTON, MIKAELA B.   Legal research re remanding from MDL.                                             1.20   $300     $360.00




8/7/2009    HIMMELSTEIN, BARRY      Draft reply in support of motion to vacate conditional transfer order;           11.00   $650    $7,150.00
                                    research re same.


8/7/2009    HIMMELSTEIN, BARRY      Emails re reply in support of motion to vacate; telephone conferences with        1.00   $650     $650.00
                                    Richard McCune re same.


8/10/2009   HIMMELSTEIN, BARRY      Research and draft reply re motion to vacate conditional transfer order;          3.00   $650    $1,950.00
                                    telephone conference with Richard McCune re same.


8/10/2009   RUDNICK, JENNIFER       Prepare exhibits for upcoming filing.                                             1.00   $215     $215.00



8/18/2009   HIMMELSTEIN, BARRY      MDL: Draft response to motion to transfer; telephone conference re same.          3.50   $650    $2,275.00




8/18/2009   PALMERTON, MIKAELA B.   Review supplemental submission by Wells Fargo re conditional transfer             0.10   $300      $30.00
                                    order.


9/22/2009   HIMMELSTEIN, BARRY      Prepare for MDL hearing.                                                          4.00   $650    $2,600.00



9/23/2009   ELIAS, JORDAN           Perform legal research re request for judicial notice; confer with M. Sobol re    0.90   $410     $369.00
                                    same.



                                                                                     Totals (Net of Reductions):     44.60          $25,679.00


                                                                                                      Reductions:    10.30           $5,534.00
                                        Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 20 of 244
                                LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                           Miscellaneous

Date        Timekeeper              Narrative                                                                   Hours Billing Rate Amount
6/2/2009    ALAMEDA, SCOTT          DVD duplications.                                                            0.30    $250          $75.00




7/10/2009   ALAMEDA, SCOTT          Create CD of selected materials per T. Silva.                                0.40    $250         $100.00




7/15/2009   RUDNICK, JENNIFER       Proofread Excel spreadsheet to ensure data transferred correctly from PDF    2.50    $215         $537.50
                                    conversion.


7/16/2009   RUDNICK, JENNIFER       Proofread Excel spreadsheet to ensure data transferred correctly from PDF    1.70    $215         $365.50
                                    conversion.


7/31/2009   RUDNICK, JENNIFER       Research case information for M. Bernstein.                                  0.80    $215         $172.00



8/18/2009   ALAMEDA, SCOTT          Create CD of selected materials per T. Silva; make duplication re same.      0.30    $250          $75.00




2/9/2010    KHALSA, SAT KRIYA       Database administration and respond to email.                                1.40    $260         $364.00



2/12/2010   PALMERTON, MIKAELA B.   Emails re meet and confer with defendants.                                   0.50    $325         $162.50




2/17/2010   ALAMEDA, SCOTT          Load documents and videos onto server per B. Himmelstein.                    0.70    $260         $182.00



2/24/2010   RUDNICK, JENNIFER       Gather documents to send to R. Heimann. Prepare index of documents.          2.80    $235         $658.00
                                    Print copies of documents and prepare binder.


3/15/2010   RUDNICK, JENNIFER       Update recent pleadings binders.                                             0.90    $235         $211.50



3/16/2010   ALAMEDA, SCOTT          Process documents and load into Summation; create CSV file for relevant      1.80    $260         $468.00
                                    coding information and load.


3/16/2010   RUDNICK, JENNIFER       Look for documents for M. Sobol's review during meeting with co-counsel.     0.30    $235          $70.50
3/22/2010   RUDNICK, JENNIFER            Case 3:07-cv-05923-WHA Document 638-2 Filed
                                    Email deposition transcripts to M. Sobol.    0.20 02/17/15
                                                                                        $235   Page   21 of 244
                                                                                                 $47.00




3/23/2010   RUDNICK, JENNIFER       Prepare cover letter and chambers copies to send to judge.                      0.60   $235   $141.00




3/29/2010   PALMERTON, MIKAELA B.   Review motion to revise pretrial schedule; emails re scheduling.                0.20   $325    $65.00




3/29/2010   RUDNICK, JENNIFER       Call court report re hearing transcript.                                        0.20   $235    $47.00



3/30/2010   RUDNICK, JENNIFER       Speak to representative at Moebs Services re ordering overdraft survey.         0.20   $235    $47.00




3/31/2010   RUDNICK, JENNIFER       Call court reporter to follow up re hearing transcript. Prepare check request   0.70   $235   $164.50
                                    for transcript. Save transcript to P:/ drive and circulate to case team and
                                    Litigation Support team.

4/6/2010    RUDNICK, JENNIFER       Prepare check request to Moebs Services for overdraft report order.             0.20   $235    $47.00




4/8/2010    RUDNICK, JENNIFER       Follow up with Moebs Services re status of report.                              0.20   $235    $47.00



4/8/2010    RUDNICK, JENNIFER       Discuss conversion of document to WordPerfect with R. Heller and Word           0.40   $235    $94.00
                                    Processing.


4/8/2010    RUDNICK, JENNIFER       Follow up with Accounting re check for report. Prepare cover letter and Fed     0.20   $235    $47.00
                                    Ex check to Moebs Services.


4/9/2010    RUDNICK, JENNIFER       Call and email Moebs Services re overdraft report status.                       0.20   $235    $47.00




4/13/2010   RUDNICK, JENNIFER       Prepare and send courtesy copies to judge.                                      0.30   $235    $70.50




4/13/2010   RUDNICK, JENNIFER       Prepare cover letter for courtesy copies.                                       0.10   $235    $23.50



4/13/2010   RUDNICK, JENNIFER       Read through docket and prepare list of unredacted pleadings to be              1.50   $235   $352.50
                                    obtained from co-counsel.


4/14/2010   ELGART, ALLISON         Confer with R. Heller and search rules and standards order re bringing          0.20   $390    $78.00
                                    equipment to trial.
4/14/2010   RUDNICK, JENNIFER        Case 3:07-cv-05923-WHA Document 638-2 Filed
                                Print documents for pleadings binder project.0.20 02/17/15
                                                                                    $235   Page   22 of 244
                                                                                             $47.00




4/14/2010   RUDNICK, JENNIFER   Print trial-related documents for M. Sobol.                                    0.20   $235    $47.00




4/15/2010   ELGART, ALLISON     Find exemplar application to bring equipment to court. Draft application and   0.50   $390   $195.00
                                proposed order.


4/15/2010   RUDNICK, JENNIFER   Prepare and send courtesy copies.                                              0.30   $235    $70.50



4/16/2010   ELGART, ALLISON     Revise application to bring in equipment.                                      0.30   $390   $117.00




4/16/2010   RUDNICK, JENNIFER   Prepare cover letter and send courtesy copies.                                 0.20   $235    $47.00




4/19/2010   RUDNICK, JENNIFER   Prepare cover letter and send out discs of exhibits to opposing counsel.       0.50   $235   $117.50




4/19/2010   RUDNICK, JENNIFER   Print deposition transcripts for M. Sobol.                                     0.20   $235    $47.00



4/19/2010   RUDNICK, JENNIFER   Print unredacted documents for master pleadings binder.                        2.00   $235   $470.00




4/20/2010   RUDNICK, JENNIFER   Add cover sheets to plaintiffs' trial exhibit binders.                         0.20   $235    $47.00



4/20/2010   RUDNICK, JENNIFER   Print documents for master pleadings binder.                                   2.50   $235   $587.50




4/20/2010   RUDNICK, JENNIFER   Print pleadings for master pleadings binder.                                   0.90   $235   $211.50




4/21/2010   RUDNICK, JENNIFER   Follow up with co-counsel re document requests.                                0.20   $235    $47.00



4/21/2010   RUDNICK, JENNIFER   Prepare and send courtesy copies.                                              0.20   $235    $47.00




4/21/2010   RUDNICK, JENNIFER   Print copies of depositions.                                                   0.20   $235    $47.00
4/22/2010   RUDNICK, JENNIFER        Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                             1.00 02/17/15
                                Compile unredacted pleadings for pleadings binder.  $235   Page   23 of 244
                                                                                            $235.00




4/28/2010   SANFORD, JACK       Sent courtesy copies of filing to district court per M. Bernstein.     1.00   $225   $225.00




5/3/2010    RUDNICK, JENNIFER   Prepare copies of documents to be filed under seal. Prepare and send   1.00   $235   $235.00
                                courtesy copies of recent filings.


5/5/2010    SANFORD, JACK       Print and deliver documents to courthouse per R. Heller.               1.50   $225   $337.50



5/10/2010   RUDNICK, JENNIFER   Organize documents in work area post-trial.                            1.00   $235   $235.00




5/13/2010   SANFORD, JACK       Redaction of Exhibit 152 and send to chambers.                         1.70   $225   $382.50




5/14/2010   SANFORD, JACK       Pull filings per M. Bernstein.                                         1.00   $225   $225.00




5/20/2010   RUDNICK, JENNIFER   Compare two different versions of brief filed for accuracy.            0.50   $235   $117.50



5/20/2010   RUDNICK, JENNIFER   Review brief for formatting accuracy.                                  1.00   $235   $235.00




5/24/2010   RUDNICK, JENNIFER   Assist J. Sanford with finding exhibits to email to co-counsel.        0.20   $235    $47.00



5/24/2010   SANFORD, JACK       Compiled and sent newly filed exhibits per co-counsel Rich McCune.     2.70   $225   $607.50




5/25/2010   RUDNICK, JENNIFER   Prepare and send courtesy copies to Judge.                             0.30   $235    $70.50




6/2/2010    RUDNICK, JENNIFER   Send check for trial transcripts to court reporter.                    0.20   $235    $47.00



6/14/2010   RUDNICK, JENNIFER   Reply to M. Sobol's email re trial testimony.                          0.30   $235    $70.50




6/30/2010   ALAMEDA, SCOTT      Gather and organize trial materials for storage in war room.           0.30   $260    $78.00
7/8/2010     ALAMEDA, SCOTT          Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                             1.00 02/17/15
                                 Review all trial materials and create index re same.
                                                                                    $260   Page   24 of 244
                                                                                            $260.00




7/16/2010    RUDNICK, JENNIFER   Email deposition transcripts to co-counsel.                                   0.20   $235    $47.00




7/27/2010    RUDNICK, JENNIFER   Prepare and send courtesy copies of pleadings to Judge.                       0.40   $235    $94.00




7/28/2010    RUDNICK, JENNIFER   Download pleadings and circulate to team. Prepare and send courtesy           0.40   $235    $94.00
                                 copies to the Judge.


8/2/2010     RUDNICK, JENNIFER   Create pleadings binder for M. Sobol.                                         1.20   $235   $282.00




8/4/2010     RUDNICK, JENNIFER   Look for deposition transcript. Send transcript to Records.                   0.20   $235    $47.00




8/11/2010    SANFORD, JACK       Database organization.                                                        2.00   $225   $450.00




10/21/2010   RUDNICK, JENNIFER   Prepare pleading binder for M. Sobol.                                         0.40   $235    $94.00



10/21/2010   SOBOL, MICHAEL      Emails re case management.                                                    0.30   $725   $217.50




11/4/2010    RUDNICK, JENNIFER   Find and email R. Heller list of witnesses and admitted exhibits.             0.40   $235    $94.00



11/10/2010   HELLER, ROGER       Conference re new documents discovered.                                       0.10   $450    $45.00




12/6/2010    RUDNICK, JENNIFER   Call clerk re general question about appeal filings. Prepare mediation        0.20   $235    $47.00
                                 questionnaire and proof of service for e-filing.


12/8/2010    HELLER, ROGER       Correspondence re continuing hearing date, call to clerk re the same, draft   1.00   $450   $450.00
                                 and file stipulation re the same.


12/8/2010    RUDNICK, JENNIFER   Prepare and send courtesy copies to judge.                                    0.20   $235    $47.00




12/14/2010   RUDNICK, JENNIFER   Prepare and send courtesy copies to Judge.                                    0.20   $235    $47.00
3/24/2011    RUDNICK, JENNIFER        Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                              0.10 02/17/15 Page
                                 Call court clerk re retrieving documents from the courthouse.
                                                                                     $260          25 of 244
                                                                                              $26.00




3/28/2011    RUDNICK, JENNIFER   Find unredacted pleadings in e-mail. Save same to shared drive for R.         0.70   $260   $182.00
                                 Heller's review.


4/27/2011    RUDNICK, JENNIFER   Pull trial exhibit for M. Sobol and R. Heller.                                0.20   $260    $52.00




6/17/2011    RUDNICK, JENNIFER   Pull complaint and answer from PACER. E-mail same to M. Sobol.                0.20   $260    $52.00



8/4/2011     RUDNICK, JENNIFER   Pull pleadings and e-mail same to M. Sobol.                                   0.20   $260    $52.00




8/16/2011    RUDNICK, JENNIFER   Look for discovery requests and responses in e-mail and on shared drive. E-   0.40   $260   $104.00
                                 mail R. Heller re same.


10/13/2011   RUDNICK, JENNIFER   Pull trial exhibit for M. Sobol's review.                                     0.20   $260    $52.00




11/16/2011   RUDNICK, JENNIFER   Look for information in trial transcript. E-mail M. Sobol re same.            0.20   $260    $52.00



4/9/2012     RUDNICK, JENNIFER   Locate excerpts of record.                                                    0.20   $275    $55.00




5/2/2012     RUDNICK, JENNIFER   Save case law to shared drive.                                                0.50   $275   $137.50



5/7/2012     RUDNICK, JENNIFER   Pull case law and save to shared drive.                                       0.20   $275    $55.00




5/9/2012     RUDNICK, JENNIFER   Download pleadings and save same to shared drive.                             0.40   $275   $110.00




4/5/2013     RUDNICK, JENNIFER   Search for trial exhibit binder in Records. E-mail R. Heller re same.         0.50   $285   $142.50



4/30/2013    RUDNICK, JENNIFER   Review documents received from co-counsel.                                    0.30   $285    $85.50




5/16/2013    RUDNICK, JENNIFER   Correspond via e-mail with R. Heller re hearing transcript. Arrange with      0.30   $285    $85.50
                                 Word Processing to e-file hearing transcript order form.
8/12/2013   RUDNICK, JENNIFER       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                            0.70 02/17/15 Page   26 of 244
                                Call attorney service re preparing chambers copies and binder for judge. E-
                                                                                   $285    $199.50
                                mail documents to attorney service.


8/23/2013   RUDNICK, JENNIFER   Call clerk re error in scheduling order. E-mail team re same.                   0.40   $285      $114.00




9/24/2014   RUDNICK, JENNIFER   E-mail trial exhibits to Richard McCune.                                        0.20   $305       $61.00




10/2/2014   RUDNICK, JENNIFER   E-mail pleading to M. Sobol.                                                    0.20   $305       $61.00




                                                                                Totals (Net of Reductions):    56.40           $14,046.50


                                                                                                Reductions:   102.00          $37,266.00
                                      Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 27 of 244
                                LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                              Class Member Communication

Date        Timekeeper            Narrative                                            Hours Billing Rate   Amount
7/6/2009    RUDNICK, JENNIFER     Return calls to class members.                        0.30     $215        $64.50




7/8/2009    RUDNICK, JENNIFER     Return calls to clients re members.                   0.40     $215        $86.00




7/14/2009   RUDNICK, JENNIFER     Return calls to class members re class status.        0.30     $215        $64.50



7/16/2009   RUDNICK, JENNIFER     Return calls to class members re class status.        2.00     $215       $430.00




7/17/2009   RUDNICK, JENNIFER     Return call to class member re class status.          0.10     $215        $21.50



7/22/2009   RUDNICK, JENNIFER     Call class member re current class status.            0.80     $215       $172.00




7/23/2009   RUDNICK, JENNIFER     Call class members re class status.                   0.30     $215        $64.50



4/19/2010   RUDNICK, JENNIFER     Return call to class member re status of the case.    0.10     $235        $23.50




4/28/2010   RUDNICK, JENNIFER     Return calls to class members.                        0.20     $235        $47.00



5/4/2010    RUDNICK, JENNIFER     Return call to class member.                          0.10     $235        $23.50




5/14/2010   RUDNICK, JENNIFER     Return calls to class members re status of case.      0.80     $235       $188.00



5/18/2010   RUDNICK, JENNIFER     Reply to email from class member.                     0.10     $235        $23.50




5/18/2010   RUDNICK, JENNIFER     Return calls to potential class members.              0.40     $235        $94.00
5/20/2010   RUDNICK, JENNIFER            Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                                 0.50 02/17/15
                                    Return calls to class members re status of case.    $235   Page   28 of 244
                                                                                                $117.50




6/3/2010    RUDNICK, JENNIFER       Return calls to class members.                                               0.20   $235     $47.00




6/9/2010    RUDNICK, JENNIFER       Return call to class member re case status.                                  0.50   $235    $117.50




6/14/2010   RUDNICK, JENNIFER       Return call to class member.                                                 0.10   $235     $23.50



6/22/2010   RUDNICK, JENNIFER       Return call to class member with questions about the case.                   0.20   $235     $47.00




7/15/2010   RUDNICK, JENNIFER       Discuss case status with class member.                                       0.20   $235     $47.00




7/16/2010   RUDNICK, JENNIFER       Return call to class member.                                                 0.10   $235     $23.50




8/11/2010   RUDNICK, JENNIFER       Listen to voice mails left by class members. Return calls to class members   4.50   $235   $1,057.50
                                    re case status.


8/11/2010   SANFORD, JACK           Correspondence with class members.                                           2.00   $225    $450.00




8/12/2010   ELIAS, JORDAN           Edit email to class members in response to inquiries.                        0.20   $430     $86.00



8/12/2010   HELLER, ROGER           Instructions to paralegals re calls re Wells Fargo verdict.                  0.70   $450    $315.00




8/12/2010   PALMERTON, MIKAELA B.   Review emails from class members; draft email response; emails with          0.90   $325    $292.50
                                    team.


8/12/2010   RUDNICK, JENNIFER       Listen to voice mails from class members inquiring about the case. Create    6.00   $235   $1,410.00
                                    log of same. Return calls to class members. Email team re calls and
                                    updates to website.

8/12/2010   SANFORD, JACK           Send email to class members.                                                 4.00   $225    $900.00




8/13/2010   HELLER, ROGER           Update from paralegals re calls re verdict, instructions re the same.        0.50   $450    $225.00
8/13/2010   RUDNICK, JENNIFER       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                            3.20 02/17/15 Page   29 of 244
                                Listen to voice mails and return telephone calls to class members with
                                                                                   $235    $752.00
                                questions about the status of the case.


8/13/2010   SANFORD, JACK       Correspondence with class members.                                            1.00   $225   $225.00




8/16/2010   RUDNICK, JENNIFER   Return calls to potential class members seeking information re case status.   3.00   $235   $705.00

8/16/2010   SANFORD, JACK       Correspondence with class members.                                            2.50   $225   $562.50
8/16/2010   SOBOL, MICHAEL      Class member contact.                                                         0.50   $725   $362.50
8/17/2010   RUDNICK, JENNIFER   Return calls to class members with questions about the status of the case.    1.70   $235   $399.50

8/17/2010   SANFORD, JACK       Correspondence with class members.                                            2.00   $225   $450.00


8/18/2010   RUDNICK, JENNIFER   Return calls to class members re status of the case.                          2.20   $235   $517.00




8/18/2010   SANFORD, JACK       Communication with class members.                                             1.00   $225   $225.00




8/19/2010   RUDNICK, JENNIFER   Return calls to class members with questions about the status of the case.    1.20   $235   $282.00



8/19/2010   SANFORD, JACK       Log information re class members.                                             1.00   $225   $225.00



8/20/2010   RUDNICK, JENNIFER   Return calls to class members with questions about the status of the case.    0.70   $235   $164.50




8/20/2010   SANFORD, JACK       Follow up telephone calls with class members and log same.                    3.00   $225   $675.00




8/23/2010   RUDNICK, JENNIFER   Update class member call log. Return calls to class members with              0.50   $235   $117.50
                                questions about case status.


8/24/2010   RUDNICK, JENNIFER   Return calls to class members inquiring about the status of the case.         0.70   $235   $164.50




8/25/2010   RUDNICK, JENNIFER   Return calls to class members re case status.                                 1.20   $235   $282.00



8/25/2010   SANFORD, JACK       Correspondence with class members; log same.                                  2.50   $225   $562.50



8/26/2010   RUDNICK, JENNIFER   Return calls and emails to class members with questions about the status      0.70   $235   $164.50
                                of the case.
8/26/2010   SANFORD, JACK           Case 3:07-cv-05923-WHA Document 638-2 Filed
                                Correspondence with class members; log same.2.50 02/17/15
                                                                                   $225   Page   30 of 244
                                                                                           $562.50




8/27/2010   RUDNICK, JENNIFER   Return calls to class members re case status.                               1.10   $235   $258.50




8/27/2010   SANFORD, JACK       Follow up with class members and log same.                                  2.00   $225   $450.00




8/30/2010   RUDNICK, JENNIFER   Update class member call log. Return calls to class members re case         1.20   $235   $282.00
                                status.


9/1/2010    RUDNICK, JENNIFER   Update call log spreadsheet. Return calls to class members with questions   1.20   $235   $282.00
                                about the case.


9/3/2010    RUDNICK, JENNIFER   Return calls to class members re case status.                               0.40   $235    $94.00




9/3/2010    SANFORD, JACK       Correspondence with class members.                                          1.50   $225   $337.50




9/7/2010    RUDNICK, JENNIFER   Update class member contact chart.                                          0.50   $235   $117.50



9/9/2010    RUDNICK, JENNIFER   Return calls to class members with questions about the case.                1.20   $235   $282.00




9/10/2010   RUDNICK, JENNIFER   Return calls to class members with questions about the case.                0.40   $235    $94.00



9/13/2010   RUDNICK, JENNIFER   Return calls to class members with questions about the case.                0.50   $235   $117.50




9/14/2010   RUDNICK, JENNIFER   Return calls to class members with questions about the case.                0.90   $235   $211.50




9/15/2010   RUDNICK, JENNIFER   Return calls to class members with questions about the case.                0.40   $235    $94.00



9/16/2010   RUDNICK, JENNIFER   Return call to class member with questions about the case.                  0.20   $235    $47.00




9/16/2010   SANFORD, JACK       Follow up with class members.                                               0.70   $225   $157.50
9/17/2010    RUDNICK, JENNIFER       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                             1.00 02/17/15 Page   31 of 244
                                 Return calls and emails to class members with questions about the case.
                                                                                    $235    $235.00




9/20/2010    RUDNICK, JENNIFER   Return calls to class members with questions about the case.              0.80   $235   $188.00




9/21/2010    SANFORD, JACK       Correspondence with class members.                                        0.20   $225    $45.00




9/22/2010    RUDNICK, JENNIFER   Return calls to class members with questions about the case.              0.20   $235    $47.00



9/23/2010    RUDNICK, JENNIFER   Return calls to class members.                                            0.50   $235   $117.50




9/23/2010    SANFORD, JACK       Correspondence with class members and log same.                           1.00   $225   $225.00




9/24/2010    RUDNICK, JENNIFER   Return calls to class members with questions about the case.              0.30   $235    $70.50




9/28/2010    RUDNICK, JENNIFER   Return calls to class members with questions about the case.              0.70   $235   $164.50



9/29/2010    RUDNICK, JENNIFER   Return calls to class members with questions about the case.              0.30   $235    $70.50




9/30/2010    RUDNICK, JENNIFER   Return calls to class members with questions about the case.              0.90   $235   $211.50



10/1/2010    RUDNICK, JENNIFER   Return calls to class members.                                            0.40   $235    $94.00




10/4/2010    RUDNICK, JENNIFER   Return calls to class members with questions re the case.                 0.40   $235    $94.00




10/11/2010   RUDNICK, JENNIFER   Return calls to class members with questions about case status.           0.70   $235   $164.50



10/12/2010   RUDNICK, JENNIFER   Return calls to class members with questions about the settlement.        0.50   $235   $117.50




10/13/2010   RUDNICK, JENNIFER   Return calls to class members with questions about the case.              0.40   $235    $94.00
10/14/2010   RUDNICK, JENNIFER       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                             0.20 02/17/15 Page
                                 Return calls to class members with questions about the case.
                                                                                    $235          32 of 244
                                                                                             $47.00




10/15/2010   RUDNICK, JENNIFER   Return calls to class members with questions about the case.              0.50   $235   $117.50




10/19/2010   RUDNICK, JENNIFER   Return calls to class members with questions about the case.              0.40   $235    $94.00




10/20/2010   RUDNICK, JENNIFER   Return calls to class members with questions about the case.              0.30   $235    $70.50



10/22/2010   RUDNICK, JENNIFER   Return calls to class members with questions about the case.              0.20   $235    $47.00




10/26/2010   RUDNICK, JENNIFER   Return calls and emails to class members with questions about the case.   0.30   $235    $70.50




10/27/2010   RUDNICK, JENNIFER   Return calls to class members with questions about the case.              0.20   $235    $47.00




10/28/2010   RUDNICK, JENNIFER   Update class member call chart.                                           0.10   $235    $23.50



11/4/2010    RUDNICK, JENNIFER   Return calls to class members with questions about the case.              0.40   $235    $94.00




11/11/2010   RUDNICK, JENNIFER   Respond to class member inquiries via e-mail.                             0.50   $235   $117.50



11/15/2010   RUDNICK, JENNIFER   Return calls to class members.                                            0.70   $235   $164.50




11/17/2010   RUDNICK, JENNIFER   Return call to class member with questions about the case.                0.10   $235    $23.50




11/18/2010   RUDNICK, JENNIFER   Reply to e-mails from class members with questions about the case.        0.20   $235    $47.00



11/22/2010   RUDNICK, JENNIFER   Listen to voice mails and add contact information to class member         0.30   $235    $70.50
                                 spreadsheet.


11/23/2010   RUDNICK, JENNIFER   Return calls to class members with questions about the case.              0.50   $235   $117.50
11/30/2010   RUDNICK, JENNIFER       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                             0.30 02/17/15
                                 Speak to class members re the status of the case.  $235   Page   33 of 244
                                                                                             $70.50




12/1/2010    RUDNICK, JENNIFER   Return calls to class members.                                 0.50   $235   $117.50




12/14/2010   RUDNICK, JENNIFER   Return calls to class members with questions about the case.   1.30   $235   $305.50




12/27/2010   RUDNICK, JENNIFER   Listen to voice mails and update call log.                     0.50   $235   $117.50



12/30/2010   RUDNICK, JENNIFER   Return calls to class members with questions about the case.   0.50   $235   $117.50




1/4/2011     RUDNICK, JENNIFER   Update class member call log.                                  0.30   $260    $78.00




1/5/2011     RUDNICK, JENNIFER   Prepare and send response letter to class member.              0.20   $260    $52.00




1/6/2011     RUDNICK, JENNIFER   Return calls to class members with questions about the case.   0.30   $260    $78.00



1/7/2011     RUDNICK, JENNIFER   Return calls to class members with questions about the case.   0.30   $260    $78.00




1/10/2011    RUDNICK, JENNIFER   Add voice mails to log.                                        0.20   $260    $52.00



1/10/2011    RUDNICK, JENNIFER   Return calls to class members re case status.                  0.20   $260    $52.00




1/20/2011    RUDNICK, JENNIFER   Return calls to class members with questions about the case.   0.40   $260   $104.00




1/21/2011    RUDNICK, JENNIFER   Return calls to class members with questions about the case.   1.00   $260   $260.00



1/24/2011    RUDNICK, JENNIFER   Add class member contacts to database.                         0.20   $260    $52.00




1/31/2011    RUDNICK, JENNIFER   Update class member call log.                                  0.10   $260    $26.00
2/1/2011    RUDNICK, JENNIFER       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                            0.20 02/17/15 Page
                                Return calls to class members with questions about the case.
                                                                                   $260          34 of 244
                                                                                            $52.00




2/4/2011    RUDNICK, JENNIFER   Return calls to class members with questions about the case.                 0.80   $260   $208.00




2/10/2011   RUDNICK, JENNIFER   Return calls to class members with questions about the case.                 0.30   $260    $78.00




2/18/2011   RUDNICK, JENNIFER   Reply to e-mails from class members. Add contact information to the          0.40   $260   $104.00
                                database.


3/9/2011    RUDNICK, JENNIFER   Return calls to class members with questions about the case.                 1.80   $260   $468.00




3/21/2011   RUDNICK, JENNIFER   Listen to voice mails and add class member contact information to            0.30   $260    $78.00
                                spreadsheet.


4/15/2011   RUDNICK, JENNIFER   Return calls to class members with questions about the case.                 1.00   $260   $260.00




4/21/2011   RUDNICK, JENNIFER   Return call to class member with questions about the case.                   0.10   $260    $26.00



4/27/2011   RUDNICK, JENNIFER   Reply to class member e-mail re case status.                                 0.30   $260    $78.00




4/28/2011   RUDNICK, JENNIFER   Return calls to class members with questions about the status of the case.   1.00   $260   $260.00



5/13/2011   RUDNICK, JENNIFER   Write letter to class member with questions about the status of the case.    0.50   $260   $130.00




5/19/2011   RUDNICK, JENNIFER   Return calls to class members with questions about the case.                 0.70   $260   $182.00




5/25/2011   RUDNICK, JENNIFER   Speak to class member re status of the case.                                 0.20   $260    $52.00



5/27/2011   RUDNICK, JENNIFER   Update class member call log.                                                0.20   $260    $52.00




5/31/2011   RUDNICK, JENNIFER   Update class member call log. E-mail class members inquiring about the       0.20   $260    $52.00
                                case.
6/1/2011     RUDNICK, JENNIFER       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                             0.50 02/17/15 Page   35 of 244
                                 Return calls and e-mails to class members with questions about the case.
                                                                                    $260    $130.00




6/3/2011     RUDNICK, JENNIFER   Return calls to class members with questions about the case.               1.00   $260   $260.00




6/6/2011     RUDNICK, JENNIFER   Return calls and e-mails to class members with questions about the case.   0.50   $260   $130.00




6/20/2011    RUDNICK, JENNIFER   Reply to e-mail from class member re status of the case.                   0.20   $260    $52.00



6/21/2011    RUDNICK, JENNIFER   Return call to class member with questions about the case.                 0.20   $260    $52.00




6/27/2011    RUDNICK, JENNIFER   Return calls to class members with questions about the case.               0.20   $260    $52.00




6/28/2011    RUDNICK, JENNIFER   Reply to e-mails from class members with questions about the case.         0.80   $260   $208.00




6/29/2011    RUDNICK, JENNIFER   Return call to class member with questions.                                0.20   $260    $52.00
6/30/2011    RUDNICK, JENNIFER   Return calls to class members with questions.                              0.10   $260    $26.00
7/1/2011     RUDNICK, JENNIFER   Return calls to class members with questions about the case.               1.20   $260   $312.00
7/13/2011    RUDNICK, JENNIFER   Return calls and e-mails to class members with questions.                  0.90   $260   $234.00
11/10/2011   RUDNICK, JENNIFER   Return call to class member with questions about the case.                 0.20   $260    $52.00




11/11/2011   RUDNICK, JENNIFER   Return calls to class members with questions about the case.               0.20   $260    $52.00



2/27/2012    ELIAS, JORDAN       Telephone call with class member; follow-up re same.                       0.30   $490   $147.00




4/10/2012    RUDNICK, JENNIFER   Listen to voice mails and update call log.                                 0.60   $275   $165.00



5/3/2012     RUDNICK, JENNIFER   Reply to class member's e-mail.                                            0.10   $275    $27.50




5/21/2012    RUDNICK, JENNIFER   Return call to class member with questions about the case.                 0.20   $275    $55.00




5/22/2012    RUDNICK, JENNIFER   Update call log.                                                           0.10   $275    $27.50
5/30/2012    RUDNICK, JENNIFER       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                 Return calls to class members.              0.50 02/17/15
                                                                                    $275   Page   36 of 244
                                                                                            $137.50




6/1/2012     RUDNICK, JENNIFER   Return calls to class members with questions about the case.   0.70   $275   $192.50




6/7/2012     RUDNICK, JENNIFER   Return calls to class members.                                 0.40   $275   $110.00




6/13/2012    RUDNICK, JENNIFER   Return call to class member.                                   0.10   $275    $27.50



6/22/2012    RUDNICK, JENNIFER   Reply to e-mails from class members.                           0.20   $275    $55.00




6/25/2012    RUDNICK, JENNIFER   Reply to e-mail from class member.                             0.20   $275    $55.00




7/18/2012    RUDNICK, JENNIFER   Return call to class member.                                   0.10   $275    $27.50




7/26/2012    RUDNICK, JENNIFER   Return calls to class members.                                 0.30   $275    $82.50



7/27/2012    RUDNICK, JENNIFER   Return calls to class members.                                 0.50   $275   $137.50




8/14/2012    RUDNICK, JENNIFER   Return calls to class members.                                 0.70   $275   $192.50



9/11/2012    RUDNICK, JENNIFER   Return call to class member.                                   0.20   $275    $55.00
9/26/2012    RUDNICK, JENNIFER   Return call to class member.                                   0.20   $275    $55.00
11/1/2012    RUDNICK, JENNIFER   Reply to e-mail from class member.                             0.20   $275    $55.00
11/9/2012    RUDNICK, JENNIFER   Reply to e-mail from class member.                             0.20   $275    $55.00
12/6/2012    RUDNICK, JENNIFER   Return call to class member.                                   0.20   $275    $55.00



12/17/2012   RUDNICK, JENNIFER   Reply to e-mail from class member.                             0.20   $275    $55.00




12/18/2012   RUDNICK, JENNIFER   Reply to e-mail from class member.                             0.20   $275    $55.00




1/15/2013    RUDNICK, JENNIFER   Return calls to class members.                                 0.50   $285   $142.50
3/11/2013    RUDNICK, JENNIFER       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                 Reply to e-mails from class members.        0.30 02/17/15
                                                                                    $285   Page   37 of 244
                                                                                             $85.50




5/16/2013    RUDNICK, JENNIFER   Reply to e-mails from class members inquiring about case status.             0.80   $285   $228.00




5/21/2013    RUDNICK, JENNIFER   Return calls to class members.                                               0.40   $285   $114.00




5/22/2013    HELLER, ROGER       Call with class member.                                                      0.30   $525   $157.50



5/28/2013    RUDNICK, JENNIFER   Return calls to class members.                                               0.40   $285   $114.00




5/29/2013    RUDNICK, JENNIFER   Reply to e-mails from class members.                                         0.50   $285   $142.50




6/7/2013     RUDNICK, JENNIFER   Return call to class member.                                                 0.20   $285    $57.00




6/21/2013    RUDNICK, JENNIFER   Return calls to class members.                                               0.40   $285   $114.00



7/22/2013    RUDNICK, JENNIFER   Prepare and send response letter to class member.                            0.30   $285    $85.50




9/18/2013    RUDNICK, JENNIFER   Return call to class member.                                                 0.30   $285    $85.50



10/9/2013    RUDNICK, JENNIFER   Reply to e-mails from class members with questions about the status of the   0.70   $285   $199.50
                                 case.


10/17/2013   RUDNICK, JENNIFER   Return calls to class members.                                               0.50   $285   $142.50




10/22/2013   RUDNICK, JENNIFER   Return calls to class members re status of the case.                         0.30   $285    $85.50



10/29/2013   RUDNICK, JENNIFER   Return calls to class members.                                               0.30   $285    $85.50




11/8/2013    RUDNICK, JENNIFER   Reply to e-mail from class member.                                           0.10   $285    $28.50
11/12/2013   RUDNICK, JENNIFER       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                 Reply to e-mail from class member.          0.10 02/17/15
                                                                                    $285   Page   38 of 244
                                                                                             $28.50




11/13/2013   RUDNICK, JENNIFER   Return calls to class members.                                      0.50   $285   $142.50




11/15/2013   RUDNICK, JENNIFER   Return call to class member.                                        0.20   $285    $57.00




11/25/2013   RUDNICK, JENNIFER   Return call to class member.                                        0.10   $285    $28.50



12/4/2013    RUDNICK, JENNIFER   Return call to class member.                                        0.10   $285    $28.50




1/16/2014    RUDNICK, JENNIFER   Return calls and e-mails to class members.                          0.80   $305   $244.00




1/28/2014    RUDNICK, JENNIFER   Return call to class member.                                        0.10   $305    $30.50




1/30/2014    RUDNICK, JENNIFER   Return calls to class members.                                      0.30   $305    $91.50



2/6/2014     RUDNICK, JENNIFER   Reply to e-mails from class members                                 0.30   $305    $91.50




2/11/2014    RUDNICK, JENNIFER   Call with class member re status of case.                           0.20   $305    $61.00



2/18/2014    RUDNICK, JENNIFER   Return call to class member.                                        0.20   $305    $61.00




3/5/2014     RUDNICK, JENNIFER   Return call to class member.                                        0.20   $305    $61.00




3/12/2014    RUDNICK, JENNIFER   Reply to e-mails from class members about the status of the case.   0.60   $305   $183.00



3/13/2014    RUDNICK, JENNIFER   Return call to class member.                                        0.10   $305    $30.50




3/28/2014    RUDNICK, JENNIFER   Return call to class member.                                        0.10   $305    $30.50
4/22/2014   RUDNICK, JENNIFER       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                Return call to class member.                0.10 02/17/15
                                                                                   $305   Page   39 of 244
                                                                                            $30.50




5/5/2014    RUDNICK, JENNIFER   Return calls and e-mails to class members.     0.20   $305    $61.00




5/6/2014    RUDNICK, JENNIFER   Return call to class member.                   0.20   $305    $61.00




5/20/2014   RUDNICK, JENNIFER   Reply to e-mails from class members.           0.60   $305   $183.00



5/22/2014   RUDNICK, JENNIFER   Reply to e-mail from class member.             0.20   $305    $61.00




5/30/2014   RUDNICK, JENNIFER   Return call to class member.                   0.20   $305    $61.00




6/4/2014    RUDNICK, JENNIFER   Return call to class member.                   0.20   $305    $61.00




6/5/2014    RUDNICK, JENNIFER   Reply to e-mail from class member.             0.10   $305    $30.50



6/13/2014   RUDNICK, JENNIFER   Return call to class member.                   0.10   $305    $30.50




6/16/2014   RUDNICK, JENNIFER   Reply to e-mail from class member.             0.10   $305    $30.50



6/18/2014   RUDNICK, JENNIFER   Return call to class member.                   0.10   $305    $30.50




6/27/2014   RUDNICK, JENNIFER   Reply to e-mails from class members.           0.40   $305   $122.00




7/2/2014    RUDNICK, JENNIFER   Return call to class member.                   0.10   $305    $30.50



7/8/2014    RUDNICK, JENNIFER   Return calls to class members.                 0.30   $305    $91.50




7/9/2014    RUDNICK, JENNIFER   Return call to class member.                   0.10   $305    $30.50
7/28/2014    RUDNICK, JENNIFER       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                 Return call to class member.                0.20 02/17/15
                                                                                    $305   Page   40 of 244
                                                                                             $61.00




8/12/2014    RUDNICK, JENNIFER   Return call to class member.                   0.20   $305    $61.00




8/21/2014    RUDNICK, JENNIFER   Return calls to class members.                 0.20   $305    $61.00




9/23/2014    RUDNICK, JENNIFER   Return call to class member.                   0.10   $305    $30.50



9/30/2014    RUDNICK, JENNIFER   Return call to class member.                   0.10   $305    $30.50




10/8/2014    RUDNICK, JENNIFER   Reply to e-mail from class member.             0.20   $305    $61.00




10/10/2014   RUDNICK, JENNIFER   Return calls to class members.                 0.30   $305    $91.50




10/14/2014   RUDNICK, JENNIFER   Return call to class member.                   0.10   $305    $30.50



10/14/2014   RUDNICK, JENNIFER   Reply to e-mail from class member.             0.20   $305    $61.00




10/29/2014   RUDNICK, JENNIFER   Call with class member.                        0.10   $305    $30.50



11/14/2014   RUDNICK, JENNIFER   Reply to e-mails from class members.           0.20   $305    $61.00




11/19/2014   RUDNICK, JENNIFER   Return call to class member.                   0.10   $305    $30.50




11/20/2014   RUDNICK, JENNIFER   Return call to class member.                   0.10   $305    $30.50



11/25/2014   RUDNICK, JENNIFER   Return call to class member.                   0.10   $305    $30.50




12/1/2014    RUDNICK, JENNIFER   Return call to class member.                   0.10   $305    $30.50
1/7/2015    RUDNICK, JENNIFER       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                Reply to e-mail from class member.          0.20 02/17/15
                                                                                   $325   Page   41 of 244
                                                                                            $65.00




1/14/2015   RUDNICK, JENNIFER   Return call to class member.                                         0.10   $325      $32.50




                                                                     Totals (Net of Reductions):   125.70          $31,603.00

                                                                                   Reductions:       4.40           $1,097.00
                                        Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 42 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                                 Research

Date        Timekeeper              Narrative                                                                   Hours Billing Rate    Amount
7/7/2009    PALMERTON, MIKAELA B.   Legal research re damages.                                                   2.50     $300        $750.00




7/9/2009    HIMMELSTEIN, BARRY      Telephone conference with M. Bernstein re legal research.                    0.10     $650         $65.00




7/9/2009    PALMERTON, MIKAELA B.   Legal research on damages calculations.                                      2.50     $300        $750.00



7/9/2009    PALMERTON, MIKAELA B.   Talk with B, Himmelstein re legal research issue on damages calculations.    0.10     $300         $30.00




7/21/2009   ELIAS, JORDAN           Review of Supreme Court decision.                                            0.40     $410        $164.00



7/21/2009   PALMERTON, MIKAELA B.   Legal research re damages.                                                   1.40     $300        $420.00




7/22/2009   ELIAS, JORDAN           Review opinions, and related documents.                                      1.30     $410        $533.00



7/23/2009   ELIAS, JORDAN           Review Judge Alsup's opinions.                                               1.00     $410        $410.00




7/23/2009   ELIAS, JORDAN           Telephone call with B. Himmelstein re factual research project; review       2.60     $410       $1,066.00
                                    docket materials for same; communicate with paralegal re same.


7/23/2009   PALMERTON, MIKAELA B.   Legal research re damages, presumptions in favor of plaintiff and re         4.10     $300       $1,230.00
                                    damages.


7/24/2009   ELIAS, JORDAN           Study Supreme Court decision; analyze same.                                  0.70     $410        $287.00



7/24/2009   PALMERTON, MIKAELA B.   Legal research re damages, presumptions in favor of plaintiff.               2.50     $300        $750.00




7/27/2009   ELIAS, JORDAN           Draft memorandum re opinion.                                                 1.30     $410        $533.00
7/27/2009   PALMERTON, MIKAELA B.       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                    Legal research re damages.                  3.90 02/17/15
                                                                                       $300   Page   43 of 244
                                                                                               $1,170.00




7/28/2009   ELIAS, JORDAN           Draft and edit memorandum re opinion; send to B. Himmelstein.              1.60   $410    $656.00




7/28/2009   PALMERTON, MIKAELA B.   Legal research re damages.                                                 3.50   $300   $1,050.00




7/29/2009   PALMERTON, MIKAELA B.   Legal research re damages.                                                 5.90   $300   $1,770.00



7/30/2009   PALMERTON, MIKAELA B.   Research re damages.                                                       3.90   $300   $1,170.00




8/8/2009    PALMERTON, MIKAELA B.   Research re damages per B. Himmelstein's request.                          1.80   $300    $540.00




2/28/2010   HELLER, ROGER           Research re CLRA and overdraft fees.                                       1.30   $450    $585.00




3/16/2010   PALMERTON, MIKAELA B.   Research re reconsideration standards.                                     1.90   $325    $617.50



3/22/2010   HELLER, ROGER           Correspondence with M. Bernstein re research on contract interpretation.   1.00   $450    $450.00




3/22/2010   PALMERTON, MIKAELA B.   Research re resolving ambiguities in favor of consumer.                    4.60   $325   $1,495.00



3/23/2010   HELLER, ROGER           Correspondence with M. Bernstein re research on punitive damages.          0.50   $450    $225.00




3/23/2010   PALMERTON, MIKAELA B.   Research re punitive damages for the class.                                1.50   $325    $487.50




3/29/2010   PALMERTON, MIKAELA B.   Research re class wide punitive damages.                                   1.80   $325    $585.00



3/30/2010   PALMERTON, MIKAELA B.   Research re punitive damages.                                              0.50   $325    $162.50




4/1/2010    HELLER, ROGER           Legal research re fraud claims.                                            1.00   $450    $450.00
4/5/2010     ELGART, ALLISON             Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                                 2.00 02/17/15 Page  44 of 244
                                     Review Tobacco II decision re advertisements; research on best evidence
                                                                                        $390     $780.00
                                     rule.


4/9/2010     ELGART, ALLISON         Research on best evidence rule.                                                   2.50   $390     $975.00




4/9/2010     HELLER, ROGER           Research re use of surveys.                                                       1.50   $450     $675.00




4/12/2010    ELGART, ALLISON         Research on best evidence rule and draft brief memorandum.                        4.80   $390    $1,872.00



4/18/2010    PALMERTON, MIKAELA B.   Research re Napa ordinance.                                                       1.00   $325     $325.00




4/30/2010    SOBOL, MICHAEL          Legal research re Smith; standards of proof and preemption.                       1.20   $725     $870.00




5/6/2010     HIMMELSTEIN, BARRY      Research Wells Fargo statements from Free Checking case; instructions to          2.00   $675    $1,350.00
                                     T. Silva re same.


5/11/2010    RUDNICK, JENNIFER       Gather documents for investigation re defendants' expert Christopher              0.80   $235     $188.00
                                     James.


10/26/2012   ELIAS, JORDAN           Draft rule 28(j) letter re Garcia decisions; confer with M. Sobol re the same;    2.10   $490    $1,029.00
                                     perform related legal research.


10/26/2012   SOBOL, MICHAEL          Review Eleventh Circuit Garcia v. Wells Fargo decision. Review draft letter       1.50   $775    $1,162.50
                                     re recent decision. E-mails with R. Heller re the same.


1/3/2013     ELIAS, JORDAN           Legal research and emails with M. Sobol and E. Cabraser.                          1.10   $490     $539.00




9/13/2013    HELLER, ROGER           Research re appellate procedure.                                                  0.40   $525     $210.00

                                                                                      Totals (Net of Reductions):     76.10          $28,377.00


                                                                                                      Reductions:      8.80           $4,239.50
                                     Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 45 of 244
                                LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                              Preparation of Trial Materials

Date        Timekeeper           Narrative                                                                      Hours Billing Rate    Amount
8/4/2009    DUGAR, KIRTI         Review summary spreadsheet of video and other trial materials received          0.50     $335        $167.50
                                 from co-counsel.


8/4/2009    KHALSA, SAT KRIYA    Prepare deposition index and being to convert videotaped depositions for        4.00     $250       $1,000.00
                                 synching.


8/5/2009    KHALSA, SAT KRIYA    Convert DVDs into MPG files for synching.                                       1.20     $250        $300.00



8/6/2009    KHALSA, SAT KRIYA    Convert deposition DVDs to MPG for synching.                                    1.60     $250        $400.00




8/7/2009    KHALSA, SAT KRIYA    Convert deposition DVDs to MPG for synching.                                    1.50     $250        $375.00



8/10/2009   KHALSA, SAT KRIYA    Convert DVDs to MPGs for synching.                                              1.20     $250        $300.00




1/27/2010   SOBOL, MICHAEL       Attention to organization of exhibits and documents.                            0.80     $725        $580.00



2/1/2010    KHALSA, SAT KRIYA    Search deposition transcripts and videos.                                       0.80     $260        $208.00




2/1/2010    RUDNICK, JENNIFER    Email co-counsel re deposition transcripts and deposition exhibits.             0.10     $235         $23.50



2/10/2010   KHALSA, SAT KRIYA    Work with deposition exhibits to them together, rename the files with a         1.20     $260        $312.00
                                 proper format in preparation for loading into Summation.


2/10/2010   RUDNICK, JENNIFER    Prepare list of deposition transcripts and exhibits on P:/ drive. Email same    1.00     $235        $235.00
                                 to S. Khalsa.


2/11/2010   KHALSA, SAT KRIYA    Gather together deposition exhibits, convert TIFFs to PDFs, OCR exhibits        3.50     $260        $910.00
                                 and load them into a Summation database.


2/17/2010   KHALSA, SAT KRIYA    Index new deposition disks and copy to case hard drive.                         0.60     $260        $156.00
3/23/2010   RUDNICK, JENNIFER        Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                             1.00 02/17/15 Page
                                Locate and save defendant's new trial exhibits on P:/ drive.
                                                                                    $235         46 of 244
                                                                                              $235.00




3/24/2010   RUDNICK, JENNIFER   Locate defendant's new trial exhibits and save to P:/ drive.         1.70   $235    $399.50




3/30/2010   ALAMEDA, SCOTT      Trial preparation.                                                   1.50   $260    $390.00




3/30/2010   KHALSA, SAT KRIYA   Gather trial exhibits and prepare for printout.                      1.30   $260    $338.00



4/1/2010    ALAMEDA, SCOTT      Trial preparation.                                                   1.20   $260    $312.00




4/1/2010    RUDNICK, JENNIFER   Prepare hard copies of plaintiffs' and defendants' trial exhibits.   8.60   $235   $2,021.00




4/2/2010    RUDNICK, JENNIFER   Prepare hard copies of plaintiffs' and defendants' trial exhibits.   1.90   $235    $446.50




4/6/2010    RUDNICK, JENNIFER   Save trial exhibits to P:/ drive. Update exhibit binders.            2.50   $235    $587.50



4/7/2010    DUGAR, KIRTI        Trial preparation                                                    1.00   $345    $345.00




4/7/2010    MUGRAGE, MAJOR      Prepare materials for trial and set up war room.                     2.90   $260    $754.00



4/7/2010    RUDNICK, JENNIFER   Prepare deposition transcript binder for R. Heller.                  1.50   $235    $352.50




4/8/2010    RUDNICK, JENNIFER   Check joint exhibit list for duplicates.                             1.60   $235    $376.00




4/8/2010    RUDNICK, JENNIFER   Locate and save trial exhibits to the P:/ drive.                     2.50   $235    $587.50



4/9/2010    DUGAR, KIRTI        Trial preparation. Review of potential trial exhibits.               1.00   $345    $345.00




4/9/2010    RUDNICK, JENNIFER   Locate trial exhibits and save to P:/ drive.                         1.30   $235    $305.50
4/12/2010   DUGAR, KIRTI             Case 3:07-cv-05923-WHA Document 638-2 Filed
                                Review exhibits for trial preparation.       1.00 02/17/15
                                                                                    $345   Page  47 of 244
                                                                                              $345.00




4/13/2010   ALAMEDA, SCOTT      Trial preparation.                                                            0.60   $260    $156.00




4/13/2010   DUGAR, KIRTI        Trial preparation.                                                            1.00   $345    $345.00




4/13/2010   RUDNICK, JENNIFER   Organize trial exhibits.                                                      2.00   $235    $470.00



4/14/2010   ALAMEDA, SCOTT      Trial preparation.                                                            1.00   $260    $260.00




4/14/2010   DUGAR, KIRTI        Trial preparation conference call with R. Heller; follow up re same.          1.00   $345    $345.00




4/15/2010   ALAMEDA, SCOTT      Trial preparation.                                                            2.80   $260    $728.00




4/15/2010   RUDNICK, JENNIFER   Check all plaintiffs' exhibits for information that needs to be redacted.     1.70   $235    $399.50
                                Redact account and address information from exhibits.


4/16/2010   ALAMEDA, SCOTT      Trial preparation.                                                            6.20   $260   $1,612.00




4/16/2010   DUGAR, KIRTI        Trial preparation.                                                            3.00   $345   $1,035.00



4/16/2010   RUDNICK, JENNIFER   Print deposition transcripts and assemble binder of same.                     1.00   $235    $235.00




4/16/2010   RUDNICK, JENNIFER   Compare deposition exhibits to trial exhibits and note duplicates in chart.   1.50   $235    $352.50




4/16/2010   RUDNICK, JENNIFER   Work on finalizing trial exhibits.                                            1.00   $235    $235.00



4/19/2010   ALAMEDA, SCOTT      Trial preparation.                                                            7.00   $260   $1,820.00




4/19/2010   DUGAR, KIRTI        Trial preparation.                                                            3.00   $345   $1,035.00
4/19/2010   MUGRAGE, MAJOR           Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                             3.10 02/17/15 Page  48 of 244
                                Load exhibits to Sanction and prepare electronic presentation equipment for
                                                                                    $260      $806.00
                                trial.


4/19/2010   RUDNICK, JENNIFER   Add exhibit stickers to original trial exhibits.                                0.20   $235     $47.00




4/19/2010   RUDNICK, JENNIFER   Work with final set of plaintiffs' trial exhibits.                              2.40   $235    $564.00




4/19/2010   RUDNICK, JENNIFER   Review final electronic versions of plaintiffs' trial exhibits for accuracy.    1.10   $235    $258.50



4/20/2010   ALAMEDA, SCOTT      Trial preparation.                                                              8.00   $260   $2,080.00




4/20/2010   DUGAR, KIRTI        Trial preparation.                                                              3.00   $345   $1,035.00




4/20/2010   GRANT, ANTHONY      Assistance with creation of video clips in preparation for trial.               7.00   $260   $1,820.00




4/20/2010   MUGRAGE, MAJOR      Prepare exhibits and videotaped deposition clips for trial.                     3.30   $260    $858.00



4/20/2010   RUDNICK, JENNIFER   Check electronic versions of defendant's final trial exhibits for accuracy.     1.30   $235    $305.50
                                Email R. Heller re same.


4/20/2010   RUDNICK, JENNIFER   Discuss trial exhibits with R. Heller.                                          0.30   $235     $70.50



4/20/2010   SANFORD, JACK       Exhibit stamp request per R. Heller and order pretrial conference transcript.   1.50   $225    $337.50




4/21/2010   DUGAR, KIRTI        Trial preparation.                                                              3.00   $345   $1,035.00




4/21/2010   GRANT, ANTHONY      Assistance with creation of video clips in preparation for trial.               7.00   $260   $1,820.00



4/21/2010   MUGRAGE, MAJOR      Edit videotaped deposition clips for trial.                                     2.40   $260    $624.00




4/21/2010   RUDNICK, JENNIFER   Finalize trial exhibits.                                                        0.70   $235    $164.50
4/21/2010   RUDNICK, JENNIFER        Case 3:07-cv-05923-WHA Document 638-2 Filed
                                Review trial exhibits for accuracy.          1.00 02/17/15
                                                                                    $235   Page  49 of 244
                                                                                              $235.00




4/22/2010   DUGAR, KIRTI        Trial preparation.                                                              7.00   $345   $2,415.00




4/22/2010   GRANT, ANTHONY      Assistance with creation of video clips in preparation for trial.               7.00   $260   $1,820.00




4/22/2010   MUGRAGE, MAJOR      Prepare trial exhibits and deposition video clips.                              1.50   $260    $390.00



4/22/2010   RUDNICK, JENNIFER   Finalize trial exhibits.                                                        3.00   $235    $705.00




4/23/2010   DUGAR, KIRTI        Trial preparation.                                                              8.00   $345   $2,760.00




4/23/2010   KHARARJIAN, ARRA    Witness exhibit binder per K. Dugar.                                            3.00   $270    $810.00




4/23/2010   RUDNICK, JENNIFER   Finalize trial exhibits and arrange to have them delivered to the courthouse.   3.00   $235    $705.00



4/23/2010   RUDNICK, JENNIFER   Print and finalize sets of documents to bring to trial.                         3.70   $235    $869.50




4/23/2010   SANFORD, JACK       Trial preparation work per R. Heller.                                           9.00   $225   $2,025.00



4/24/2010   GRANT, ANTHONY      Assistance with creation of video clips in preparation for trial.               6.00   $260   $1,560.00




4/24/2010   MUGRAGE, MAJOR      Prepare exhibits and deposition videos for trial.                               4.00   $260   $1,040.00




4/25/2010   DUGAR, KIRTI        Trial preparation.                                                              3.00   $345   $1,035.00



4/25/2010   GRANT, ANTHONY      Assistance with creation of video clips in preparation for trial.               7.00   $260   $1,820.00




4/25/2010   MUGRAGE, MAJOR      Prepare exhibits and deposition videos for trial.                               4.00   $260   $1,040.00
4/25/2010   RUDNICK, JENNIFER        Case 3:07-cv-05923-WHA Document 638-2 Filed
                                Print sets of exhibits.                      4.00 02/17/15
                                                                                    $235   Page  50 of 244
                                                                                              $940.00




4/29/2010   RUDNICK, JENNIFER   Prepare copies of official trial exhibits and send via messenger to opposing   0.50   $235   $117.50
                                counsel.
5/3/2010   KHARARJIAN, ARRA       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                          1.00 02/17/15
                              Les Biller video deposition review per K. Dugar.   $270   Page  51 of 244
                                                                                           $270.00




5/5/2010   KHARARJIAN, ARRA   Video deposition review and binders per K. Dugar.                                  4.50   $270    $1,215.00




5/5/2010   MUGRAGE, MAJOR     Review deposition designations and video clips for use at trial.                   4.60   $260    $1,196.00




                                                                                 Totals (Net of Reductions):   212.40          $56,928.50


                                                                                                 Reductions:     9.20           $2,419.50
                                       Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 52 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                           Joint Motion to Modify Schedule

Date        Timekeeper             Narrative                                                                   Hours Billing Rate Amount
9/14/2009   HIMMELSTEIN, BARRY     Draft motion to modify schedule; emails re same.                             2.00    $650     $1,300.00




                                                                                 Totals (Net of Reductions):    2.00                $1,300.00


                                                                                               Reductions:      0.20                   $60.00
                                        Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 53 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                                Mediation

Date        Timekeeper              Narrative                                                                    Hours Billing Rate    Amount
3/2/2010    HIMMELSTEIN, BARRY      Emails and telephone conferences re possible settlement discussions;          2.50     $675       $1,687.50
                                    telephone conference with Richard McCune re same.


3/2/2010    SOBOL, MICHAEL          Conference and emails with B. Himmelstein, and Richard McCune re              1.60     $725       $1,160.00
                                    potential settlement discussions.


3/3/2010    HIMMELSTEIN, BARRY      Prepare and draft documents for meeting with defense counsel; conference      5.00     $675       $3,375.00
                                    with M. Sobol and Richard McCune re same; meeting.


3/3/2010    RUDNICK, JENNIFER       Prepare pleadings binders for M. Sobol, R. Heimann, and B. Himmelstein.       1.90     $235        $446.50




3/3/2010    SANFORD, JACK           Retrieve filings per M. Sobol.                                                1.00     $225        $225.00



3/3/2010    SOBOL, MICHAEL          Prepare for settlement meeting with defendants; review materials for same;    2.80     $725       $2,030.00
                                    conference with Richard McCune and B. Himmelstein re same.


3/4/2010    RUDNICK, JENNIFER       Prepare pleadings binders for M. Sobol, R. Heimann, and B. Himmelstein.       0.30     $235         $70.50



3/4/2010    SOBOL, MICHAEL          Prepare for and attend settlement conference with David Jolley and Sonya      2.40     $725       $1,740.00
                                    Winner.


3/9/2010    PALMERTON, MIKAELA B.   Review emails and letter re mediation.                                        0.20     $325         $65.00



3/9/2010    SOBOL, MICHAEL          Correspondence re mediation.                                                  0.40     $725        $290.00




3/10/2010   HIMMELSTEIN, BARRY      Conferences re mediation.                                                     0.20     $675        $135.00



3/10/2010   SOBOL, MICHAEL          Conferences and emails re mediation, binder for mediator.                     0.90     $725        $652.50




3/11/2010   RUDNICK, JENNIFER       Prepare binder for mediator.                                                  1.60     $235        $376.00
3/11/2010   RUDNICK, JENNIFER        Case 3:07-cv-05923-WHA Document 638-2 Filed
                                 Prepare pleading binders for attorneys.     3.00 02/17/15
                                                                                    $235   Page   54 of 244
                                                                                            $705.00




3/11/2010   SOBOL, MICHAEL       Conference with R. Heimann re mediation.                                         0.70   $725     $507.50




3/12/2010   HELLER, ROGER        Conference re mediation; instructions to J. Rudnick re documents.                0.80   $450     $360.00




3/15/2010   SOBOL, MICHAEL       Emails re mediation and pretrial issues. Conference re mediation and trial.      2.00   $725    $1,450.00



3/16/2010   HIMMELSTEIN, BARRY   Conference with Richard McCune and M. Sobol re trial; review mediation           1.50   $675    $1,012.50
                                 brief.


3/16/2010   RUDNICK, JENNIFER    Prepare copy of mediation binder for R. Heller.                                  0.70   $235     $164.50




3/16/2010   SOBOL, MICHAEL       Meet and confer with defendants re the same. Review and revise mediation         2.00   $725    $1,450.00
                                 brief.


3/17/2010   HELLER, ROGER        Correspondence re mediation brief; edits to the same; finalize the same.         3.50   $450    $1,575.00



3/17/2010   SOBOL, MICHAEL       Review and revise mediation brief. Emails re the same. Conferences re            1.80   $725    $1,305.00
                                 the same.


3/18/2010   HIMMELSTEIN, BARRY   Conference with M. Sobol and R. Heimann re mediation; prepare mediation          2.00   $675    $1,350.00
                                 with M. Sobol; emails re same.


3/18/2010   SOBOL, MICHAEL       Conference with R. Heimann, and B. Himmelstein re mediation. Prepare             1.70   $725    $1,232.50
                                 mediation with B. Himmelstein.


3/19/2010   HELLER, ROGER        Conference with team re mediation and trial; notes re the same.                  0.80   $450     $360.00




3/19/2010   HIMMELSTEIN, BARRY   Conference with team re mediation and trial; attend mediation with Judge         3.40   $675    $2,295.00
                                 Renfrew.


3/19/2010   SOBOL, MICHAEL       Mediation with Judge Renfrew                                                     3.00   $725    $2,175.00




                                                                                   Totals (Net of Reductions):   47.70          $28,195.00


                                                                                                 Reductions:      1.40            $940.00
                                      Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 55 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                         Cox Deposition

Date        Timekeeper            Narrative                                                                   Hours          Billing Rate    Amount
1/20/2010   RUDNICK, JENNIFER     Research re expert Alan Cox.                                                        0.50      $235         $117.50




1/21/2010   RUDNICK, JENNIFER     Research re expert Alan Cox.                                                        0.30      $235          $70.50




1/21/2010   SOBOL, MICHAEL        Research re expert Alan Cox.                                                        0.40      $725         $290.00



1/26/2010   HIMMELSTEIN, BARRY    Emails and various telephone conferences re expert deposition.                      0.30      $675         $202.50




1/26/2010   SOBOL, MICHAEL        Emails re expert depositions.                                                       0.20      $725         $145.00



1/28/2010   SOBOL, MICHAEL        Emails re defendants' experts' reports.                                             0.10      $725          $72.50




1/29/2010   SOBOL, MICHAEL        Review defendants' expert reports (responses to Arthur Olsen).                      1.30      $725         $942.50



2/1/2010    HIMMELSTEIN, BARRY    Emails and telephone conferences re Alan Cox report, review same.                   0.80      $675         $540.00




2/1/2010    SOBOL, MICHAEL        Review Alan Cox report. Emails re the same.                                         1.60      $725        $1,160.00



2/2/2010    SOBOL, MICHAEL        Conference with Art Olsen and Richard McCune. Prepare for depositions of            1.50      $725        $1,087.50
                                  experts.


2/3/2010    HIMMELSTEIN, BARRY    Review Alan Cox report; conference call with Art Olson, M. Sobol, Richard           3.00      $675        $2,025.00
                                  McCune re same.


2/3/2010    SOBOL, MICHAEL        Review expert materials. Conference with expert and co-counsel.                     1.70      $725        $1,232.50




2/4/2010    HIMMELSTEIN, BARRY    Meeting with M. Sobol and Richard McCune re expert depositions.                     1.00      $675         $675.00
2/4/2010   SOBOL, MICHAEL              Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                               1.00 02/17/15 Page
                                   Conference with B. Himmelstein and Richard McCune re expert
                                                                                      $725          56 of 244
                                                                                               $725.00
                                   depositions.


2/5/2010   HIMMELSTEIN, BARRY      Depose Dr. Alan Cox; prepare for same.                                      11.00   $675    $7,425.00




2/8/2010   PALMERTON, MIKAELA B.   Review rough deposition transcript of Alan Cox.                              0.80   $325     $260.00




                                                                                 Totals (Net of Reductions):   25.50          $16,970.50


                                                                                               Reductions:        0                $0.00
                                         Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 57 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                    McGovern Deposition

Date        Timekeeper             Narrative                                                                 Hours Billing Rate Amount
1/20/2010   RUDNICK, JENNIFER      Research re expert David McGovern.                                         0.50    $235         $117.50



1/21/2010   SOBOL, MICHAEL         Research re expert David McGovern.                                         0.40    $725         $290.00



1/26/2010   HIMMELSTEIN, BARRY     Emails and various telephone conferences re expert deposition.             0.30    $675         $202.50



1/26/2010   SOBOL, MICHAEL         Emails re expert depositions.                                              0.20    $725         $145.00



1/28/2010   SOBOL, MICHAEL         Emails re defendants' experts' reports.                                    0.10    $725          $72.50



1/29/2010   SOBOL, MICHAEL         Review defendants' expert reports (responses to Arthur Olsen).             1.20    $725         $870.00



2/1/2010    HIMMELSTEIN, BARRY     Emails and telephone conferences re David McGovern report, review          0.70    $675         $472.50
                                   same.


2/1/2010    SOBOL, MICHAEL         Review David McGovern report. Emails re the same.                          1.60    $725       $1,160.00



2/2/2010    SOBOL, MICHAEL         Conference with Art Olsen and Richard McCune. Prepare for depositions      1.50    $725       $1,087.50
                                   of experts.


2/3/2010    SOBOL, MICHAEL         Review expert materials. Conference with expert and co-counsel.            1.70    $725       $1,232.50



2/4/2010    HIMMELSTEIN, BARRY     Meeting with M. Sobol and Richard McCune re expert depositions.            0.90    $675         $607.50



2/4/2010    SOBOL, MICHAEL         Conference with B. Himmelstein and Richard McCune re expert                0.90    $725         $652.50
                                   depositions.


2/10/2010   HIMMELSTEIN, BARRY     Take deposition of David McGovern; prepare for same; emails re same.       6.00    $675       $4,050.00




                                                                               Totals (Net of Reductions):   16.00              $10,960.00


                                                                                               Reductions:       0                   $0.00
                                       Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 58 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                        Olsen Deposition

Date        Timekeeper             Narrative                                                                    Hours Billing Rate Amount
2/6/2010    HIMMELSTEIN, BARRY     Meet with Arthur Olsen and Richard McCune to prepare for Arthur Olsen         4.50    $675        $3,037.50
                                   deposition; prepare for same.


2/7/2010    HIMMELSTEIN, BARRY     Prepare for Arthur Olsen deposition.                                          3.00    $675        $2,025.00




2/8/2010    HIMMELSTEIN, BARRY     Defend Arthur Olsen deposition.                                               8.00    $675        $5,400.00



2/8/2010    SOBOL, MICHAEL         Conference with Art Olsen and Richard McCune.                                 0.40    $725         $290.00




2/22/2010   HELLER, ROGER          Prepare deposition corrections for Arthur Olsen.                              0.60    $450         $270.00




                                                                                  Totals (Net of Reductions):   16.50               $11,022.50


                                                                                                Reductions:         0                    $0.00
                                        Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 59 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                          Trial Preparation

Date        Timekeeper             Narrative                                                                     Hours Billing Rate Amount
2/8/2010    HIMMELSTEIN, BARRY     Meetings with M. Sobol and R. Heimann re trial preparation.                    0.40    $675         $270.00




2/8/2010    SOBOL, MICHAEL         Trial preparation meeting with B. Himmelstein.                                 0.40    $725         $290.00




3/9/2010    HIMMELSTEIN, BARRY     Emails and meeting with M. Sobol and R. Heller re trial preparation.           2.00    $675        $1,350.00



3/9/2010    SOBOL, MICHAEL         Correspondence re trial preparation.                                           0.40    $725         $290.00




3/12/2010   SOBOL, MICHAEL         Attention to trial preparation.                                                0.80    $725         $580.00



3/19/2010   HIMMELSTEIN, BARRY     Conference with co-counsel re trial preparation; emails.                       3.40    $675        $2,295.00




3/19/2010   SOBOL, MICHAEL         Conference with co-counsel re trial preparation. Review orders from court      1.00    $725         $725.00
                                   re trial date.


3/20/2010   SOBOL, MICHAEL         Trial preparation.                                                             1.50    $725        $1,087.50




3/22/2010   HELLER, ROGER          Review documents and testimony re representations, conference with M.          2.50    $450        $1,125.00
                                   Sobol re the same.


3/22/2010   SOBOL, MICHAEL         Trial preparation. Review Kenneth Zimmerman deposition.                        2.00    $725        $1,450.00




3/23/2010   HELLER, ROGER          Conference with team re evidentiary issues; jury demand; trial date; review    1.50    $450         $675.00
                                   documents and transcripts re evidence on sequencing.


3/25/2010   HELLER, ROGER          Conference with M. Sobol and B. Himmelstein re trial preparation.              2.70    $450        $1,215.00




3/25/2010   HIMMELSTEIN, BARRY     Conferences with M. Sobol, R. Heller, R. Heimann re trial preparation.         2.00    $675        $1,350.00
3/26/2010   RUDNICK, JENNIFER            Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                                 1.50 02/17/15
                                    Print copies of deposition transcripts for R. Heimann.
                                                                                        $235   Page   60 of 244
                                                                                                $352.50




3/26/2010   SOBOL, MICHAEL          Emails re trial preparation.                                                 1.00   $725    $725.00




3/29/2010   HIMMELSTEIN, BARRY      Trial preparation; telephone conferences; various emails.                    8.00   $675   $5,400.00




3/29/2010   SOBOL, MICHAEL          Trial preparation. Testimony preparation. Correspondence re the same.        3.50   $725   $2,537.50



3/30/2010   PALMERTON, MIKAELA B.   Meeting with M. Sobol and R. Heller re trial preparation tasks.              1.50   $325    $487.50




3/30/2010   SOBOL, MICHAEL          Trial preparation. Review deposition testimony.                              3.80   $725   $2,755.00




3/31/2010   HEIMANN, RICHARD        Prepare for trial.                                                           3.20   $850   $2,720.00




3/31/2010   HELLER, ROGER           Prepare witness binders; conference re assignment of trial tasks.            2.90   $450   $1,305.00



3/31/2010   HIMMELSTEIN, BARRY      Conferences calls re trial preparation; work on trial preparation.           5.00   $675   $3,375.00




3/31/2010   SOBOL, MICHAEL          Trial preparation conference re exhibits, witness testimony. Emails re the   6.50   $725   $4,712.50
                                    same. Review deposition testimony.


4/1/2010    HEIMANN, RICHARD        Prepare for trial.                                                           2.90   $850   $2,465.00




4/1/2010    HELLER, ROGER           Conference re trial preparation issues; prepare witness binders.             2.00   $450    $900.00




4/1/2010    SOBOL, MICHAEL          Trial preparation; review deposition testimony, witness examination          5.00   $725   $3,625.00
                                    preparation.


4/2/2010    HEIMANN, RICHARD        Prepare for trial.                                                           6.00   $850   $5,100.00




4/2/2010    SOBOL, MICHAEL          Emails re trial structure, witness production.                               6.00   $725   $4,350.00
4/4/2010   SOBOL, MICHAEL               Case 3:07-cv-05923-WHA Document 638-2 Filed
                                   Emails re trial preparation.                 0.30 02/17/15
                                                                                       $725   Page   61 of 244
                                                                                               $217.50




4/5/2010   ELGART, ALLISON         Meet with R. Heller re trial preparation projects.              0.10   $390     $39.00




4/5/2010   HELLER, ROGER           Prepare witness binders.                                        1.00   $450    $450.00




4/5/2010   PALMERTON, MIKAELA B.   Locate Kenneth Zimmerman documents from Smith v. Wells Fargo.   0.20   $325     $65.00



4/5/2010   RUDNICK, JENNIFER       Print exhibits for witness binders.                             3.40   $235    $799.00




4/5/2010   SOBOL, MICHAEL          Emails re trial preparation.                                    0.30   $725    $217.50




4/6/2010   HEIMANN, RICHARD        Prepare for trial.                                              3.20   $850   $2,720.00




4/6/2010   HELLER, ROGER           Prepare witness binders and related materials.                  2.00   $450    $900.00



4/6/2010   PALMERTON, MIKAELA B.   Review Kenneth Zimmerman documents from Smith v. Wells Fargo.   0.20   $325     $65.00




4/6/2010   SOBOL, MICHAEL          Emails re trial preparation.                                    0.30   $725    $217.50



4/7/2010   HEIMANN, RICHARD        Prepare for trial.                                              5.20   $850   $4,420.00




4/7/2010   HELLER, ROGER           Prepare witness binders and related materials.                  2.00   $450    $900.00




4/7/2010   SOBOL, MICHAEL          Emails re trial preparation, pretrial filings.                  0.20   $725    $145.00



4/8/2010   HEIMANN, RICHARD        Prepare for trial.                                              4.70   $850   $3,995.00




4/8/2010   SOBOL, MICHAEL          Emails re trial preparation. Work on witness summaries.         0.70   $725    $507.50
4/9/2010    HEIMANN, RICHARD             Case 3:07-cv-05923-WHA Document 638-2 Filed
                                    Prepare for trial.                           2.90 02/17/15
                                                                                        $850   Page    62 of 244
                                                                                               $2,465.00




4/11/2010   SOBOL, MICHAEL          Trial preparation.                                                  4.00   $725   $2,900.00




4/12/2010   HEIMANN, RICHARD        Prepare for trial.                                                  6.20   $850   $5,270.00




4/12/2010   HELLER, ROGER           Conference with M. Sobol and R. Heimann re strategy and claims.     1.70   $450    $765.00



4/12/2010   SOBOL, MICHAEL          Trial preparation. Emails re pretrial filings, trial strategy.      6.50   $725   $4,712.50




4/13/2010   HEIMANN, RICHARD        Prepare for trial.                                                  3.20   $850   $2,720.00




4/13/2010   HELLER, ROGER           Prepare for trial.                                                  4.00   $450   $1,800.00




4/13/2010   PALMERTON, MIKAELA B.   Emails and meeting with paralegals re upcoming pretrial projects.   0.20   $325     $65.00



4/13/2010   RUDNICK, JENNIFER       Meeting with M. Bernstein re upcoming pretrial projects.            0.20   $235     $47.00




4/13/2010   SOBOL, MICHAEL          Trial preparation.                                                  6.00   $725   $4,350.00



4/14/2010   HEIMANN, RICHARD        Trial preparation; team meeting.                                    2.30   $850   $1,955.00




4/14/2010   HELLER, ROGER           Prepare for trial.                                                  4.00   $450   $1,800.00




4/14/2010   HIMMELSTEIN, BARRY      Trial preparation team meeting.                                     3.00   $675   $2,025.00



4/14/2010   HIMMELSTEIN, BARRY      Team meeting; trial preparation.                                    4.50   $675   $3,037.50




4/14/2010   PALMERTON, MIKAELA B.   Wells Fargo trial prep team meeting.                                2.80   $325    $910.00
4/14/2010   RUDNICK, JENNIFER        Case 3:07-cv-05923-WHA Document 638-2 Filed
                                Attend meeting re trial preparation.         3.00 02/17/15
                                                                                    $235   Page   63 of 244
                                                                                            $705.00




4/14/2010   SANFORD, JACK       Trial preparation meeting.                                         2.50   $225    $562.50




4/14/2010   SOBOL, MICHAEL      Trial preparation; meeting with team, prepare witness testimony,   8.50   $725   $6,162.50
                                demonstratives, exhibits. Emails re the same.


4/15/2010   HELLER, ROGER       Prepare for trial.                                                 3.00   $450   $1,350.00



4/15/2010   RUDNICK, JENNIFER   Prepare binder of pretrial submissions.                            3.50   $235    $822.50




4/15/2010   SOBOL, MICHAEL      Trial preparation.                                                 7.50   $725   $5,437.50




4/16/2010   HEIMANN, RICHARD    Trial preparation.                                                 3.20   $850   $2,720.00




4/16/2010   HELLER, ROGER       Prepare for trial.                                                 5.50   $450   $2,475.00



4/16/2010   SOBOL, MICHAEL      Trial preparation.                                                 6.70   $725   $4,857.50




4/17/2010   HELLER, ROGER       Correspondence re trial preparation issues.                        0.20   $450     $90.00



4/17/2010   HELLER, ROGER       Prepare schedule for trial preparation.                            1.40   $450    $630.00




4/17/2010   SOBOL, MICHAEL      Trial preparation; witness testimony preparation.                  5.50   $725   $3,987.50




4/18/2010   SOBOL, MICHAEL      Trial preparation; witness testimony preparation.                  7.50   $725   $5,437.50



4/19/2010   HEIMANN, RICHARD    Trial preparation.                                                 1.00   $850    $850.00




4/19/2010   HELLER, ROGER       Prepare for trial.                                                 7.70   $450   $3,465.00
4/19/2010   PALMERTON, MIKAELA B.        Case 3:07-cv-05923-WHA Document 638-2 Filed
                                    Compile list of super hot documents.         0.80 02/17/15
                                                                                        $325   Page   64 of 244
                                                                                                $260.00




4/19/2010   PALMERTON, MIKAELA B.   Review exhibits to determine order of drafts per R. Heimann's request.           0.90   $325    $292.50




4/19/2010   PALMERTON, MIKAELA B.   Team meeting re hot documents.                                                   2.20   $325    $715.00




4/19/2010   SANFORD, JACK           Trial preparation work per R. Heller.                                            3.50   $225    $787.50



4/19/2010   SOBOL, MICHAEL          Trial preparation; meeting with trial team.                                      2.30   $725   $1,667.50




4/20/2010   HEIMANN, RICHARD        Prepare for trial.                                                               4.90   $850   $4,165.00




4/20/2010   HELLER, ROGER           Prepare for trial.                                                               9.50   $450   $4,275.00




4/20/2010   PALMERTON, MIKAELA B.   Prepare for trial (research re class wide proof of misrepresentation,            7.00   $325   $2,275.00
                                    demonstratives, deposition testimony laying out foundation for exhibits,
                                    proposed order re motions in limine.).

4/20/2010   SOBOL, MICHAEL          Trial preparation.                                                               2.00   $725   $1,450.00




4/21/2010   HEIMANN, RICHARD        Prepare for trial.                                                               7.20   $850   $6,120.00



4/21/2010   HELLER, ROGER           Prepare for trial.                                                               7.50   $450   $3,375.00




4/21/2010   PALMERTON, MIKAELA B.   Prepare for trial (demonstratives, deposition testimony laying foundation for    8.80   $325   $2,860.00
                                    exhibits, review trial exhibits, emails.).


4/21/2010   SOBOL, MICHAEL          Trial preparation.                                                               8.50   $725   $6,162.50



4/22/2010   HEIMANN, RICHARD        Prepare for trial.                                                               7.00   $850   $5,950.00




4/22/2010   HELLER, ROGER           Prepare for trial.                                                              12.00   $450   $5,400.00
4/22/2010   PALMERTON, MIKAELA B.        Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                                10.90 02/17/15 Page    65 of 244
                                    Prepare for trial (demonstratives, review trial exhibits, emails, draft
                                                                                        $325   $3,542.50
                                    memorandum re witness communications, team meetings, interrogatory
                                    designations.)

4/22/2010   RUDNICK, JENNIFER       Prepare top exhibit binders.                                                    0.80   $235    $188.00




4/22/2010   RUDNICK, JENNIFER       Attend trial preparation meeting.                                               1.20   $235    $282.00




4/22/2010   SANFORD, JACK           Trial preparation work per R. Heller.                                           3.00   $225    $675.00



4/22/2010   SOBOL, MICHAEL          Trial preparation; team meetings.                                               4.00   $725   $2,900.00




4/23/2010   GRANT, ANTHONY          Meeting re preparation for trial.                                               2.00   $260    $520.00




4/23/2010   HEIMANN, RICHARD        Prepare for trial.                                                              7.50   $850   $6,375.00




4/23/2010   HELLER, ROGER           Prepare for trial.                                                             12.50   $450   $5,625.00



4/23/2010   PALMERTON, MIKAELA B.   Prepare for trial (demonstratives, emails, memorandum re witness                9.20   $325   $2,990.00
                                    communications, review filings and orders, meet and confer, team meetings
                                    interrogatory designations.).

4/23/2010   SOBOL, MICHAEL          Trial preparation.                                                             10.50   $725   $7,612.50



4/24/2010   HELLER, ROGER           Prepare for trial; review exhibits.                                             4.90   $450   $2,205.00




4/24/2010   PALMERTON, MIKAELA B.   Prepare for trial (organize trial binder, review deposition testimony, legal    3.90   $325   $1,267.50
                                    research, load computer with crucial documents for trial.)


4/24/2010   SOBOL, MICHAEL          Trial preparation.                                                              9.00   $725   $6,525.00



4/25/2010   HEIMANN, RICHARD        Trial preparation.                                                              7.00   $850   $5,950.00




4/25/2010   HELLER, ROGER           Prepare for trial.                                                             10.00   $450   $4,500.00
4/25/2010   PALMERTON, MIKAELA B.        Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                                12.00 02/17/15 Page    66 of 244
                                    Prepare for trial (team meetings, draft response to administrative motion,
                                                                                        $325   $3,900.00
                                    objections to deposition designations, prepare for first day of trial.).


4/25/2010   RUDNICK, JENNIFER       Collect and assemble additional documents for R. Heimann's witness            4.50   $235   $1,057.50
                                    examination. Collect and organize documents for trial.


4/25/2010   SOBOL, MICHAEL          Trial preparation.                                                           12.00   $725   $8,700.00




4/26/2010   HEIMANN, RICHARD        Trial preparation.                                                            4.00   $850   $3,400.00



4/26/2010   HELLER, ROGER           Prepare for trial.                                                            6.00   $450   $2,700.00




4/26/2010   PALMERTON, MIKAELA B.   Trial preparation (team meetings, objections to deposition designations.      4.00   $325   $1,300.00




4/26/2010   RUDNICK, JENNIFER       Attend prep meeting with trial team.                                          2.00   $235    $470.00




4/26/2010   SANFORD, JACK           Witness exhibit binder project per R. Heller.                                 4.00   $225    $900.00



4/26/2010   SOBOL, MICHAEL          Prepare further for trial.                                                    3.50   $725   $2,537.50




4/27/2010   HEIMANN, RICHARD        Trial preparation.                                                            4.00   $850   $3,400.00



4/27/2010   HELLER, ROGER           Prepare for trial.                                                            6.50   $450   $2,925.00




4/27/2010   PALMERTON, MIKAELA B.   Trial preparation (team meetings, research.)                                  5.00   $325   $1,625.00




4/27/2010   RUDNICK, JENNIFER       Attend post-trial team meeting.                                               1.50   $235    $352.50



4/27/2010   RUDNICK, JENNIFER       Prepare documents for trial tomorrow.                                         2.00   $235    $470.00




4/27/2010   SANFORD, JACK           Trial preparation.                                                            3.50   $225    $787.50
4/27/2010   SOBOL, MICHAEL               Case 3:07-cv-05923-WHA Document 638-2 Filed
                                    Trial preparation.                           6.00 02/17/15
                                                                                        $725   Page    67 of 244
                                                                                               $4,350.00




4/28/2010   HEIMANN, RICHARD        Trial preparation.                                                           1.00   $850    $850.00




4/28/2010   HELLER, ROGER           Prepare for trial.                                                           8.00   $450   $3,600.00




4/28/2010   PALMERTON, MIKAELA B.   Trial preparation (Team meeting; review memo re claims; research re dates    5.00   $325   $1,625.00
                                    of deposition; review news articles; review testimony outlines).


4/28/2010   RUDNICK, JENNIFER       Attend trial team prep meeting.                                              1.50   $235    $352.50




4/28/2010   SANFORD, JACK           Witness exhibit binder project per R. Heller.                                3.50   $225    $787.50




4/28/2010   SOBOL, MICHAEL          Trial preparation.                                                           5.00   $725   $3,625.00




4/29/2010   HEIMANN, RICHARD        Trial preparation.                                                           4.00   $850   $3,400.00



4/29/2010   HELLER, ROGER           Prepare for trial.                                                           8.00   $450   $3,600.00




4/29/2010   PALMERTON, MIKAELA B.   Trial preparation: (admitted exhibits list; team meeting; legal research).   6.10   $325   $1,982.50



4/29/2010   RUDNICK, JENNIFER       Print and prepare various documents for trial preparation.                   0.50   $235    $117.50




4/29/2010   RUDNICK, JENNIFER       Attend trial team prep meeting.                                              1.50   $235    $352.50




4/29/2010   SANFORD, JACK           Search for possible Edward Kadletz exhibits per M. Sobol.                    1.50   $225    $337.50



4/29/2010   SANFORD, JACK           Witness exhibit binder project per R. Heller.                                2.00   $225    $450.00




4/29/2010   SOBOL, MICHAEL          Trial preparation and correspondence.                                        5.50   $725   $3,987.50
4/30/2010   HELLER, ROGER                Case 3:07-cv-05923-WHA Document 638-2 Filed
                                    Prepare for trial.                           3.00 02/17/15
                                                                                        $450   Page    68 of 244
                                                                                               $1,350.00




4/30/2010   SOBOL, MICHAEL          Trial preparation.                                                             1.30   $725    $942.50




5/1/2010    SOBOL, MICHAEL          Trial preparation.                                                             5.00   $725   $3,625.00




5/2/2010    HELLER, ROGER           Prepare for trial.                                                             6.00   $450   $2,700.00



5/2/2010    PALMERTON, MIKAELA B.   Trial preparation.                                                             2.50   $325    $812.50




5/2/2010    SOBOL, MICHAEL          Trail preparation.                                                             5.50   $725   $3,987.50




5/3/2010    HEIMANN, RICHARD        Trial preparation.                                                             6.00   $850   $5,100.00




5/3/2010    HELLER, ROGER           Prepare for trial.                                                            12.00   $450   $5,400.00



5/3/2010    PALMERTON, MIKAELA B.   Team meetings and emails, research re admissibility of hearsay to impeach      3.50   $325   $1,137.50
                                    expert witness.


5/3/2010    RUDNICK, JENNIFER       Print and prepare copies of documents for trial preparation. Create folders    2.20   $235    $517.00
                                    for official trial exhibits.


5/3/2010    SANFORD, JACK           Witness binder project per R. Heller.                                          3.00   $225    $675.00




5/3/2010    SOBOL, MICHAEL          Trial preparation.                                                             8.50   $725   $6,162.50




5/4/2010    HEIMANN, RICHARD        Trial preparation.                                                             4.00   $850   $3,400.00



5/4/2010    HELLER, ROGER           Prepare for trial.                                                             2.00   $450    $900.00




5/4/2010    RUDNICK, JENNIFER       Print and prepare copies of documents for trial preparation.                   4.00   $235    $940.00
5/4/2010   SANFORD, JACK                Case 3:07-cv-05923-WHA Document 638-2 Filed
                                   Review exhibits per M. Bernstein.            2.00 02/17/15
                                                                                       $225   Page   69 of 244
                                                                                               $450.00




5/4/2010   SANFORD, JACK           Binder project per R. Heller.                                                  4.00   $225      $900.00




5/4/2010   SOBOL, MICHAEL          Trial preparation.                                                             8.50   $725     $6,162.50




5/5/2010   HELLER, ROGER           Prepare for trial.                                                             7.30   $450     $3,285.00



5/5/2010   PALMERTON, MIKAELA B.   Trial preparation; team meetings.                                              4.20   $325     $1,365.00




5/5/2010   RUDNICK, JENNIFER       Attend trial team prep meeting.                                                0.50   $235      $117.50




5/5/2010   RUDNICK, JENNIFER       Pull documents to prepare for trial.                                           0.70   $235      $164.50




5/5/2010   SANFORD, JACK           Binder project per R. Heller.                                                  3.50   $225      $787.50



5/5/2010   SOBOL, MICHAEL          Trial preparation.                                                             8.50   $725     $6,162.50




5/6/2010   HEIMANN, RICHARD        Trial preparation.                                                             4.00   $850     $3,400.00



5/6/2010   HELLER, ROGER           Prepare for trial.                                                             7.00   $450     $3,150.00




5/6/2010   PALMERTON, MIKAELA B.   Timeline, team meetings.                                                       8.20   $325     $2,665.00




5/6/2010   RUDNICK, JENNIFER       Print and make copies documents to prepare for trial.                          0.70   $235      $164.50



5/6/2010   SOBOL, MICHAEL          Trial preparation.                                                             4.50   $725     $3,262.50




5/7/2010   HELLER, ROGER           Prepare for trial.                                                             1.50   $450      $675.00




                                                                                  Totals (Net of Reductions):   669.10          $374,761.00
Case 3:07-cv-05923-WHA Document 638-2 Filed
                            Reductions: 1.00 02/17/15 Page   70 of 244
                                                       $430.00
                                      Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 71 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                  Plaintiffs' Daubert Motion

Date        Timekeeper            Narrative                                                                    Hours Billing Rate    Amount
2/10/2010   HIMMELSTEIN, BARRY    Begin drafting motion to exclude experts.                                     2.00     $675       $1,350.00




2/10/2010   SOBOL, MICHAEL        Review deposition testimony.                                                  1.70     $725       $1,232.50




2/11/2010   HELLER, ROGER         Research re admissibility of expert testimony.                                0.50     $450        $225.00



2/11/2010   HELLER, ROGER         Conference with M. Sobol re expert testimony issues; review materials and     2.50     $450       $1,125.00
                                  research re same; follow up conference with M. Sobol re same.


2/11/2010   HIMMELSTEIN, BARRY    Emails re expert issues.                                                      1.50     $675       $1,012.50



2/11/2010   SOBOL, MICHAEL        Review and research Daubert standards respecting economic experts.            2.00     $725       $1,450.00




2/12/2010   HELLER, ROGER         Research re admissibility of expert testimony.                                5.40     $450       $2,430.00



2/12/2010   SANFORD, JACK         Create expert report binder per M. Sobol.                                     2.50     $225        $562.50




2/12/2010   SOBOL, MICHAEL        Research re expert witness standards.                                         0.70     $725        $507.50



2/16/2010   HELLER, ROGER         Conference with M. Sobol and B. Himmelstein re expert admissibility           8.00     $450       $3,600.00
                                  issues; research re same.


2/16/2010   HIMMELSTEIN, BARRY    Legal research for upcoming motion; emails with Dr. Cowan; draft motion to    3.00     $675       $2,025.00
                                  exclude experts.


2/16/2010   SOBOL, MICHAEL        Research re expert issues. Conference with R. Heller.                         3.00     $725       $2,175.00




2/17/2010   HELLER, ROGER         Research re expert testimony admissibility.                                   5.00     $450       $2,250.00
2/17/2010   HELLER, ROGER            Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                             5.00 02/17/15 Page   72 of 244
                                 Draft arguments re expert exclusion; correspondence re same; call with
                                                                                    $450     $2,250.00
                                 team re same.


2/17/2010   HIMMELSTEIN, BARRY   Conference calls and emails re admissibility of expert testimony.              1.50   $675   $1,012.50




2/17/2010   HIMMELSTEIN, BARRY   Research and review possible arguments re expert testimony admissibility;      2.00   $675   $1,350.00
                                 telephone conference with R. Heller.


2/17/2010   SOBOL, MICHAEL       Work on motion to strike experts. Emails re the same.                          2.50   $725   $1,812.50



2/18/2010   HELLER, ROGER        Motion to seal and related documents.                                          1.00   $450    $450.00




2/18/2010   HELLER, ROGER        Conference with co-counsel re brief and supporting documents.                  1.40   $450    $630.00




2/18/2010   HELLER, ROGER        Research case law and draft portions of motion to exclude; draft and          10.00   $450   $4,500.00
                                 prepare supporting documents.


2/18/2010   HIMMELSTEIN, BARRY   Motion to exclude; emails to team re same; telephone conferences re edits      8.00   $675   $5,400.00
                                 and supporting documents.


2/18/2010   SOBOL, MICHAEL       Review and revise memorandum to exclude defense experts. Emails and            7.50   $725   $5,437.50
                                 conferences re the same.


2/19/2010   HELLER, ROGER        Review Daubert briefs re confidentiality issues; update co-counsel re same.    1.00   $450    $450.00



2/19/2010   RUDNICK, JENNIFER    Assist with sending out chambers copies.                                       0.40   $235     $94.00




2/19/2010   SANFORD, JACK        Organize and send chambers copies of recent pleadings.                         0.50   $225    $112.50




3/5/2010    HEIMANN, RICHARD     Review motions re experts.                                                     1.10   $850    $935.00



3/5/2010    HELLER, ROGER        Conference with B. Himmelstein and M. Sobol re Daubert and reply, review       1.10   $450    $495.00
                                 opposition brief.


3/5/2010    HIMMELSTEIN, BARRY   Meeting and calls with M. Sobol and R. Heller re Daubert; emails re expert     3.00   $675   $2,025.00
                                 damage briefing.
3/5/2010   RUDNICK, JENNIFER       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                           1.00 02/17/15 Page  73 of 244
                               Prepare pleadings binder for M. Sobol, R. Heimann, and B. Himmelstein.
                                                                                  $235      $235.00




3/5/2010   SOBOL, MICHAEL      Email re expert damage briefing. Conference with B. Himmelstein re the   1.00   $725   $725.00
                               same. Review briefing.
3/8/2010    HEIMANN, RICHARD         Case 3:07-cv-05923-WHA Document 638-2 Filed
                                 Review briefs re motions.                   0.40 02/17/15
                                                                                    $850   Page  74 of 244
                                                                                              $340.00




3/8/2010    SOBOL, MICHAEL       Review expert briefing.                                                      1.10   $725    $797.50




3/9/2010    HELLER, ROGER        Draft motion to strike Mark Lentz declaration; research for the same.        1.40   $450    $630.00




3/10/2010   HELLER, ROGER        Conference with M. Sobol and B. Himmelstein re reply on Daubert motion       0.80   $450    $360.00
                                 and research needed.


3/10/2010   HIMMELSTEIN, BARRY   Conferences with M. Sobol, R. Heller, M. Bernstein re additional research.   0.80   $675    $540.00




3/11/2010   ELGART, ALLISON      Research on damages expert.                                                  4.50   $390   $1,755.00




3/11/2010   HELLER, ROGER        Draft objection to Mark Lentz declaration and supporting papers.             2.00   $450    $900.00




3/11/2010   HELLER, ROGER        Correspondence re reply on Daubert; research for Daubert reply;              6.40   $450   $2,880.00
                                 correspondence re same; finalize same.


3/11/2010   SOBOL, MICHAEL       Reply briefing on expert evidence.                                           2.00   $725   $1,450.00




3/12/2010   RUDNICK, JENNIFER    Prepare chambers copies for judge and cover letter.                          0.40   $235     $94.00
3/12/2010   SOBOL, MICHAEL            Case 3:07-cv-05923-WHA Document 638-2 Filed
                                 Review reply briefing on experts.            0.80 02/17/15
                                                                                     $725   Page  75 of 244
                                                                                               $580.00




3/15/2010   HEIMANN, RICHARD     Review plaintiffs' reply brief.                                                0.60   $850     $510.00




3/15/2010   HIMMELSTEIN, BARRY   Emails and telephone conferences re reply brief in support of motion to        1.80   $675    $1,215.00
                                 exclude Wells Fargo's experts.


3/23/2010   SOBOL, MICHAEL       Conference and emails re hearing on expert evidence. Review documents.         2.10   $725    $1,522.50



3/24/2010   HEIMANN, RICHARD     Prepare for hearing; hearing re motion.                                        2.10   $850    $1,785.00




3/24/2010   HIMMELSTEIN, BARRY   Hearing on expert motions; emails and conferences re same.                     3.30   $675    $2,227.50




3/24/2010   RUDNICK, JENNIFER    Pull documents for attorneys to prepare for hearing.                           0.20   $235      $47.00




3/24/2010   SOBOL, MICHAEL       Prepare for hearing on expert motions. Hearing re the same. Emails and         1.70   $725    $1,232.50
                                 conference re the same.



                                                                                Totals (Net of Reductions):   118.20          $66,725.00


                                                                                                Reductions:     2.30            $565.00
                                   Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 76 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                    WF Daubert Motion

Date        Timekeeper              Narrative                                                                    Hours Billing Rate Amount
2/19/2010   HIMMELSTEIN, BARRY      Meeting with M. Sobol re draft opposition to Wells Fargo's motion re          1.00    $675         $675.00
                                    experts.


2/19/2010   SOBOL, MICHAEL          Attention to expert evidence. Conference with B. Himmelstein re draft         1.30    $725         $942.50
                                    opposition to Wells Fargo motion re experts.


2/25/2010   HELLER, ROGER           Legal research re admissibility of damages expert testimony.                  1.00    $450         $450.00



2/25/2010   SOBOL, MICHAEL          Review research for briefing on damages experts.                              0.40    $725         $290.00




3/2/2010    HELLER, ROGER           Conference re Daubert opposition.                                             0.20    $450          $90.00



3/4/2010    HELLER, ROGER           Conference with M. Sobol re opposition brief.                                 1.00    $450         $450.00




3/4/2010    HELLER, ROGER           Research for Daubert opposition.                                              3.50    $450        $1,575.00



3/4/2010    HELLER, ROGER           Review and revise Daubert opposition brief.                                   4.00    $450        $1,800.00




3/4/2010    SOBOL, MICHAEL          Work on opposition to motion to strike plaintiff expert Art Olsen opinion.    2.30    $725        $1,667.50



3/5/2010    HEIMANN, RICHARD        Review motions re experts.                                                    1.20    $850        $1,020.00




3/5/2010    SOBOL, MICHAEL          Email re expert damage briefing. Conference with B. Himmelstein re the        0.90    $725         $652.50
                                    same. Review briefing.
3/8/2010    HEIMANN, RICHARD     Case
                                  Review3:07-cv-05923-WHA
                                        briefs re motions. Document 638-2 Filed 02/17/15
                                                                                0.30  $850 Page 77  of 244
                                                                                                $255.00




3/12/2010   HELLER, ROGER         Review reply brief from Wells Fargo.                                          0.80   $450     $360.00




3/16/2010   HELLER, ROGER         Conference re Daubert motion.                                                 0.50   $450     $225.00




3/24/2010   HEIMANN, RICHARD      Prepare for hearing; hearing re motion.                                       2.10   $850    $1,785.00



3/24/2010   HELLER, ROGER         Prepare for hearing; attend hearing; conference with M. Sobol, B.             5.00   $450    $2,250.00
                                  Himmelstein and Richard McCune re hearing.


3/24/2010   HIMMELSTEIN, BARRY    Hearing on expert motions; emails and conferences re same.                    3.20   $675    $2,160.00




3/24/2010   RUDNICK, JENNIFER     Pull documents for attorneys to prepare for hearing.                          0.20   $235      $47.00




3/24/2010   SOBOL, MICHAEL        Prepare for hearing on expert motions. Hearing re the same. Emails and        1.70   $725    $1,232.50
                                  conference re the same.


3/26/2010   SOBOL, MICHAEL        Review and revise post-hearing submission. Review court's orders.             3.00   $725    $2,175.00




                                                                                 Totals (Net of Reductions):   33.60          $20,102.00


                                                                                                 Reductions:    1.20            $515.00
                                       Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 78 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                             WF Administrative Motion to Take Hearing Off Calendar

Date        Timekeeper             Narrative                                                                    Hours Billing Rate Amount
2/22/2010   HELLER, ROGER          Conference and correspondence re response to administrative motion.           0.50    $450         $225.00




2/22/2010   HIMMELSTEIN, BARRY     Review administrative motion; emails and telephone conferences to team re     1.30    $675         $877.50
                                   same.


2/22/2010   SOBOL, MICHAEL         Review administrative motion; emails and conferences re opposition hereto.    1.00    $725         $725.00




                                                                                 Totals (Net of Reductions):     2.80                $1,827.50


                                                                                                Reductions:         0                   $0.00
                                         Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 79 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                 Motions in Limine (Pre-trial)

Date        Timekeeper              Narrative                                                                    Hours Billing Rate   Amount
3/10/2010   HIMMELSTEIN, BARRY      Conferences re motions in limine.                                             0.40     $675        $270.00




3/10/2010   SOBOL, MICHAEL          Review motions in limine.                                                     0.90     $725        $652.50




3/11/2010   SOBOL, MICHAEL          Attention to trial preparation (motions in limine).                           1.00     $725        $725.00



3/15/2010   PALMERTON, MIKAELA B.   Review motions in limine.                                                     2.90     $325        $942.50




3/16/2010   SOBOL, MICHAEL          Conference with Richard McCune and B. Himmelstein re motion in limine,        2.00     $725       $1,450.00
                                    exhibits for trial.


3/20/2010   SOBOL, MICHAEL          Emails re research issues, evidence.                                          1.50     $725       $1,087.50




3/24/2010   HELLER, ROGER           Conference re motion in limine.                                               2.00     $450        $900.00



3/25/2010   HELLER, ROGER           Draft and revise motions in limine, correspondence re the same; conference    2.50     $450       $1,125.00
                                    with M. Bernstein re motions in limine.


3/25/2010   HIMMELSTEIN, BARRY      Conferences re: motions in limine; telephone conferences and emails re        3.00     $675       $2,025.00
                                    same.


3/25/2010   PALMERTON, MIKAELA B.   Research for motions in limine.                                               1.00     $325        $325.00




3/25/2010   SOBOL, MICHAEL          Review and revise motions in limine.                                          1.50     $725       $1,087.50



3/26/2010   HELLER, ROGER           Draft and finalize motions in limine; review orders and correspondence re     5.00     $450       $2,250.00
                                    the same.


3/26/2010   RUDNICK, JENNIFER       Prepare declarations of Richard McCune in support of motions in limine for    1.20     $235        $282.00
                                    e-filing.
3/30/2010   HELLER, ROGER               Case 3:07-cv-05923-WHA Document 638-2 Filed
                                    Correspondence re motions in limine.        1.60 02/17/15
                                                                                       $450   Page   80 of 244
                                                                                               $720.00




3/30/2010   HIMMELSTEIN, BARRY      Emails; voicemail to R. Heller re motions in limine.                          1.20   $675    $810.00




3/30/2010   PALMERTON, MIKAELA B.   Coordinate motions in limine binders; revise Richard McCune declaration       1.50   $325    $487.50
                                    and B. Himmelstein declaration.


3/31/2010   ELIAS, JORDAN           Telephone conference with M. Sobol; review email re court orders and          0.30   $430    $129.00
                                    motion in limine.


3/31/2010   HELLER, ROGER           Revise motion in limine; conference re motion in limine limit;                2.00   $450    $900.00
                                    correspondence re the same.


4/5/2010    ELIAS, JORDAN           Confer with R. Heller; review motions in limine; perform research for         2.30   $430    $989.00
                                    opposition to motion in limine.


4/5/2010    HELLER, ROGER           Outline oppositions to motions in limine, review materials for the same.      5.00   $450   $2,250.00




4/6/2010    ELIAS, JORDAN           Study motions in limine; research and draft opposition to motion in limine;   5.70   $430   $2,451.00
                                    confer with R. Heller re same.


4/6/2010    HELLER, ROGER           Prepare oppositions to motions in limine.                                     2.00   $450    $900.00




4/7/2010    ELIAS, JORDAN           Study motion in limine; research and draft opposition to motion in limine;    6.80   $430   $2,924.00
                                    confer with R. Heller re same.


4/7/2010    HELLER, ROGER           Prepare oppositions to motion in limine.                                      5.00   $450   $2,250.00




4/7/2010    PALMERTON, MIKAELA B.   Legal research re qualifications of experts per R. Heller's request.          1.40   $325    $455.00
4/8/2010    ELGART, ALLISON             Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                                4.80 02/17/15 Page
                                    Draft sections on hearsay for opposition to motion in limine.
                                                                                       $390           81 of 244
                                                                                              $1,872.00




4/8/2010    HELLER, ROGER           Prepare oppositions to motions in limine.                                       8.00   $450    $3,600.00




4/8/2010    RUDNICK, JENNIFER       Prepare PDFs of declarations related to motions in limine with exhibits.        0.60   $235     $141.00




4/9/2010    HELLER, ROGER           Draft opposition to motions in limine.                                          5.00   $450    $2,250.00



4/11/2010   HELLER, ROGER           Research re evidentiary issues for MIL; instructions re filing and follow up    2.00   $450     $900.00
                                    evidentiary research.


4/11/2010   SOBOL, MICHAEL          Review motions in limine.                                                       1.50   $725    $1,087.50




4/12/2010   RUDNICK, JENNIFER       Assist with e-filing motions in limine and supporting documents.                2.00   $235     $470.00




4/16/2010   PALMERTON, MIKAELA B.   Research re plaintiffs' motion in limine No. 1; meet and discuss with M.        1.80   $325     $585.00
                                    Sobol and R. Heller.



                                                                                     Totals (Net of Reductions):   85.40          $39,293.00


                                                                                                     Reductions:    1.70            $444.50
                                        Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 82 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                        WF Motion to Reconsider Preemption

Date        Timekeeper              Narrative                                                                   Hours Billing Rate    Amount
3/15/2010   ELIAS, JORDAN           Review Wells Fargo's motion for reconsideration.                             1.50     $430        $645.00




3/15/2010   PALMERTON, MIKAELA B.   Review Wells Fargo's motion for reconsideration and supporting               1.50     $325        $487.50
                                    documents.


3/15/2010   SOBOL, MICHAEL          Review defendants motion for leave to file motion to reconsider.             2.00     $725       $1,450.00



3/16/2010   ELIAS, JORDAN           Draft opposition to motion for reconsideration.                              3.40     $430       $1,462.00




3/16/2010   HELLER, ROGER           Conference re preemption.                                                    1.00     $450        $450.00



3/16/2010   HELLER, ROGER           Conference re draft mediation brief, review documents for the same.          1.00     $450        $450.00




3/16/2010   HIMMELSTEIN, BARRY      Telephone conferences with M. Sobol and R. Heimann; research and edits       6.50     $675       $4,387.50
                                    to opposition to motion to reconsider; emails re same.


3/16/2010   PALMERTON, MIKAELA B.   Meeting with M. Sobol, J. Elias and Richard McCune re motion for             0.50     $325        $162.50
                                    reconsideration.


3/16/2010   SOBOL, MICHAEL          Review and revise opposition to motion to reconsider, emails re the same.    2.00     $725       $1,450.00



3/19/2010   ELIAS, JORDAN           Draft and edit response to motion for reconsideration.                       1.30     $430        $559.00
3/19/2010   HELLER, ROGER        Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                         0.60 02/17/15
                             Review draft preemption opposition; notes re the same.
                                                                                $450   Page   83 of 244
                                                                                        $270.00




3/19/2010   SOBOL, MICHAEL   Review opposition to motion to reconsider.                                     1.00   $725     $725.00




3/20/2010   SOBOL, MICHAEL   Review orders re: motion for reconsideration.                                  0.40   $725     $290.00




3/22/2010   ELIAS, JORDAN    Edit response to motion for reconsideration; confer with M. Sobol re same.     0.70   $430     $301.00



3/22/2010   HELLER, ROGER    Review and conference with M. Sobol re preemption opposition.                  2.50   $450    $1,125.00




3/22/2010   SOBOL, MICHAEL   Revise opposition to motion for reconsideration. Review preemption             3.00   $725    $2,175.00
                             argument, research.


3/23/2010   HELLER, ROGER    Review preemption brief; instructions re filing the same; prepare for          5.00   $450    $2,250.00
                             argument re preemption.


3/23/2010   SOBOL, MICHAEL   Revise opposition to motion to reconsider.                                     2.20   $725    $1,595.00



3/25/2010   HELLER, ROGER    Review and conference re reply submission by Wells Fargo.                      0.50   $450     $225.00




3/26/2010   ELIAS, JORDAN    Review and create written summary of Judge Alsup's decision on                 0.70   $430     $301.00
                             preemption.



                                                                             Totals (Net of Reductions):   37.30          $20,760.50


                                                                                             Reductions:    1.60            $737.50
                                         Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 84 of 244
                                LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                  Trial Exhibits & Objections

Date        Timekeeper              Narrative                                                                       Hours Billing Rate Amount
3/19/2010   HELLER, ROGER           Correspondence re exhibit list, review documents, revise exhibit list;           2.00    $450         $900.00
                                    conference with M. Sobol re the same.


3/19/2010   SOBOL, MICHAEL          Review revised trial Exhibit list.                                               0.60    $725         $435.00




3/22/2010   RUDNICK, JENNIFER       Compare defendant's previous trial exhibit list and witness list with newly      2.80    $235         $658.00
                                    updated lists. Gather defendant's new trial exhibits and save as PDFs on
                                    the P:/ drive.

3/25/2010   HELLER, ROGER           Instructions to J. Rudnick re exhibits; correspondence re exhibits.              1.00    $450         $450.00




3/25/2010   RUDNICK, JENNIFER       Prepare list of defendant's exhibits that are missing and email to R. Heller.    0.40    $235          $94.00



3/25/2010   SOBOL, MICHAEL          Attention to exhibits added to defendants' list.                                 1.50    $725        $1,087.50




3/30/2010   PALMERTON, MIKAELA B.   Review memorandum re pretrial objections to exhibits, send to B.                 0.10    $325          $32.50
                                    Himmelstein.


4/1/2010    SOBOL, MICHAEL          Review potential exhibits.                                                       2.50    $725        $1,812.50




4/2/2010    SOBOL, MICHAEL          Team meeting re plaintiffs' exhibits.                                            1.50    $725        $1,087.50



4/6/2010    ELGART, ALLISON         Research on best evidence rule and hearsay exceptions for exhibits; meet         3.70    $390        $1,443.00
                                    with R. Heller re the same.


4/6/2010    HELLER, ROGER           Prepare for meet and confer re objections.                                       3.00    $450        $1,350.00



4/6/2010    RUDNICK, JENNIFER       Review Wells Fargo's objections to plaintiff exhibits designated as              2.70    $235         $634.50
                                    duplicates for accuracy. Discuss same with R. Heller.


4/7/2010    HELLER, ROGER           Prepare for meet and confer re objections; attend meet and confer re             3.00    $450        $1,350.00
                                    objections.
4/8/2010    HELLER, ROGER                Case 3:07-cv-05923-WHA Document 638-2 Filed
                                    Notes re objections and trial strategy.      1.00 02/17/15
                                                                                        $450   Page   85 of 244
                                                                                                $450.00




4/9/2010    RUDNICK, JENNIFER       Check latest version of joint exhibit list for duplicates and accuracy.          3.00   $235     $705.00




4/11/2010   HELLER, ROGER           Review exhibit list; edits to the same; correspondence re the same.              2.00   $450     $900.00




4/14/2010   RUDNICK, JENNIFER       Prepare chart re self-authenticating documents. Review plaintiffs' and           0.60   $235     $141.00
                                    defendants' objections to exhibits and email information to M. Bernstein.


4/18/2010   PALMERTON, MIKAELA B.   Research re checking savings and more brochure.                                  1.90   $325     $617.50




5/1/2010    PALMERTON, MIKAELA B.   Research re admissibility of surveys.                                            2.90   $325     $942.50




5/2/2010    PALMERTON, MIKAELA B.   Research re admissibility of surveys.                                            2.60   $325     $845.00




5/11/2010   HELLER, ROGER           Review admitted exhibits list and updates to the same; organize exhibits.        1.00   $450     $450.00



5/11/2010   PALMERTON, MIKAELA B.   Update admitted exhibits list.                                                   1.70   $325     $552.50




5/12/2010   RUDNICK, JENNIFER       Print exhibits and prepare admitted exhibit binders.                             4.50   $235    $1,057.50



5/13/2010   RUDNICK, JENNIFER       Print exhibits and prepare admitted exhibit binders.                             6.30   $235    $1,480.50




5/14/2010   RUDNICK, JENNIFER       Finalize admitted exhibit binders.                                               2.00   $235     $470.00




5/14/2010   SOBOL, MICHAEL          Attention to trial exhibits.                                                     0.30   $725     $217.50



5/17/2010   PALMERTON, MIKAELA B.   Emails re admitted exhibits list.                                                0.10   $325      $32.50




5/17/2010   RUDNICK, JENNIFER       Compare our admitted exhibit list with the list filed by the court.              0.50   $235     $117.50




                                                                                      Totals (Net of Reductions):   55.20          $20,313.50
Case 3:07-cv-05923-WHA Document 638-2 Filed
                            Reductions: 2.50 02/17/15 Page   86 of 244
                                                       $587.50
                                    Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 87 of 244
                             LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                Statement re Trial Date

Date        Timekeeper         Narrative                                                         Hours Billing Rate Amount
3/23/2010   HELLER, ROGER      Draft response re trial date.                                      1.00    $450         $450.00




3/23/2010   SOBOL, MICHAEL     Draft trial date statement.                                        2.20    $725        $1,595.00




                                                                   Totals (Net of Reductions):    3.20                $2,045.00


                                                                                 Reductions:      0.20                  $90.00
                                         Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 88 of 244
                               LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                   Proposed Pre-Trial Order

Date        Timekeeper              Narrative                                                                      Hours     Billing Rate   Amount
3/26/2010   HELLER, ROGER           Instructions and correspondence re stipulated facts and exhibits.                 2.00      $450         $900.00




3/26/2010   PALMERTON, MIKAELA B.   Research and draft stipulated facts.                                              2.50      $325         $812.50




3/27/2010   PALMERTON, MIKAELA B.   Research and draft stipulated facts.                                              2.80      $325         $910.00



3/29/2010   PALMERTON, MIKAELA B.   Work on joint stipulation of facts; email R. Heller.                              0.50      $325         $162.50




3/30/2010   HELLER, ROGER           Conference re pretrial proposed order and related tasks.                          1.00      $450         $450.00



3/30/2010   PALMERTON, MIKAELA B.   Research for key witness summaries; email to Richard McCune.                      1.20      $325         $390.00




3/31/2010   HELLER, ROGER           Draft witness summaries.                                                          1.00      $450         $450.00



3/31/2010   PALMERTON, MIKAELA B.   Research for key witness summaries; emails to M. Sobol.                           3.20      $325        $1,040.00




4/1/2010    HELLER, ROGER           Instructions re exhibits; stipulated facts.                                       1.30      $450         $585.00



4/1/2010    PALMERTON, MIKAELA B.   Research for joint stipulation of facts.                                          1.00      $325         $325.00




4/2/2010    HELLER, ROGER           Pretrial preparation conference; correspondence re witnesses and exhibits.        7.00      $450        $3,150.00



4/2/2010    PALMERTON, MIKAELA B.   Research for joint stipulation of facts.                                          1.30      $325         $422.50




4/4/2010    HELLER, ROGER           Prepare pretrial filings, organize tasks for the same; correspondence re the      1.30      $450         $585.00
                                    same.
4/4/2010    SOBOL, MICHAEL               Case 3:07-cv-05923-WHA Document 638-2 Filed
                                    Pretrial filings.                            0.20 02/17/15
                                                                                        $725   Page   89 of 244
                                                                                                $145.00




4/5/2010    HELLER, ROGER           Prepare pretrial papers; conference with B. Himmelstein re the same;           3.00   $450   $1,350.00
                                    instructions to J. Elias, M. Bernstein and A. Elgart re the same.


4/5/2010    HIMMELSTEIN, BARRY      Conference with R. Heller.                                                     1.50   $675   $1,012.50




4/5/2010    PALMERTON, MIKAELA B.   Research and draft stipulation of facts; meet with R. Heller.                  4.50   $325   $1,462.50



4/5/2010    SOBOL, MICHAEL          Emails re pretrial filings.                                                    0.20   $725    $145.00




4/6/2010    HELLER, ROGER           Prepare pretrial papers; instructions re pretrial papers; conference re        2.50   $450   $1,125.00
                                    pretrial papers.


4/6/2010    PALMERTON, MIKAELA B.   Research and draft stipulation of facts; emails with R. Heller.                5.50   $325   $1,787.50




4/6/2010    SOBOL, MICHAEL          Emails re pretrial filings.                                                    0.20   $725    $145.00



4/7/2010    HELLER, ROGER           Prepare pretrial papers; instructions re pretrial papers; conference re        4.00   $450   $1,800.00
                                    pretrial papers.


4/7/2010    SOBOL, MICHAEL          Emails re trial preparation, pretrial filings.                                 0.30   $725    $217.50



4/8/2010    HELLER, ROGER           Prepare pretrial papers, instructions re pretrial papers; conference re        5.00   $450   $2,250.00
                                    pretrial papers.


4/8/2010    SOBOL, MICHAEL          Emails re pretrial filings.                                                    0.30   $725    $217.50




4/9/2010    HELLER, ROGER           Prepare documents for pretrial filing; instructions re the same; conference    6.00   $450   $2,700.00
                                    re pretrial papers and strategy issues; review exhibits and duplicate lists;
                                    instructions re the same.

4/12/2010   HELLER, ROGER           Prepare pretrial papers; correspondence and conference re the same;            5.50   $450   $2,475.00
                                    instructions re filing.


4/12/2010   PALMERTON, MIKAELA B.   Compile key pleadings.                                                         1.10   $325    $357.50
4/12/2010   SOBOL, MICHAEL       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                         4.00 02/17/15 Page    90 of 244
                             Revise final pretrial conference statement (stipulated facts, witness
                                                                                $725   $2,900.00
                             summaries, statement of case).



                                                                              Totals (Net of Reductions):   69.90   $30,272.50


                                                                                              Reductions:    2.90     $833.50
                                   Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 91 of 244
                             LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                           Status Report re Trial Date

Date        Timekeeper         Narrative                                                                  Hours     Billing Rate   Amount
3/31/2010   SOBOL, MICHAEL     Review and revise status conference statement.                                1.50      $725        $1,087.50




                                                                            Totals (Net of Reductions):      1.50                  $1,087.50


                                                                                          Reductions:        0.10                    $32.50
                                        Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 92 of 244
                               LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                          Trial Subpoenas

Date        Timekeeper              Narrative                                                                        Hours     Billing Rate   Amount
4/5/2010    ELGART, ALLISON         Draft trial subpoenas and notices to produce witnesses at trial.                    2.00      $390         $780.00




4/5/2010    HELLER, ROGER           Review draft subpoenas and comments re the same.                                    1.00      $450         $450.00




4/7/2010    ELGART, ALLISON         Work on subpoenas.                                                                  2.50      $390         $975.00



4/9/2010    ELGART, ALLISON         Work on drafting and revising subpoenas.                                            2.50      $390         $975.00




4/16/2010   ELGART, ALLISON         Send subpoena drafts to M. Bernstein.                                               0.10      $390          $39.00



4/16/2010   PALMERTON, MIKAELA B.   Draft cover letter and witness subpoenas for Kenneth Zimmerman and                  1.10      $325         $357.50
                                    Deborah Tolstedt.



                                                                                    Totals (Net of Reductions):         9.20                  $3,576.50


                                                                                                       Reductions:      2.00                   $780.00
                                        Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 93 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                               Proposed Pre-Trial Findings

Date        Timekeeper             Narrative                                                                       Hours       Billing Rate   Amount
4/10/2010   HELLER, ROGER          Prepare pretrial papers; correspondence re the same; call with B.                  2.00        $450         $900.00
                                   Himmelstein re the same.


4/10/2010   HIMMELSTEIN, BARRY     Telephone conference with R. Heller re: Findings                                   0.40        $675         $270.00




4/11/2010   HELLER, ROGER          Conference re pretrial papers; prepare papers for filing.                          4.00        $450        $1,800.00



4/11/2010   SOBOL, MICHAEL         Draft findings of fact. Attention to strategy of claims, witness order and         2.00        $725        $1,450.00
                                   order of proof.


4/12/2010   HELLER, ROGER          Prepare pretrial papers; correspondence and conference re the same;                5.50        $450        $2,475.00
                                   instructions re filing.


4/13/2010   SOBOL, MICHAEL         Review and revise findings of fact and conclusions of law.                         2.50        $725        $1,812.50




                                                                                    Totals (Net of Reductions):      16.40                    $8,707.50


                                                                                                     Reductions:           0                     $0.00
                                         Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 94 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                       Pre-Trial Conference

Date        Timekeeper              Narrative                                                               Hours     Billing Rate   Amount
4/13/2010   HELLER, ROGER           Prepare for pretrial conference.                                           4.00      $450        $1,800.00




4/14/2010   HELLER, ROGER           Prepare for pretrial conference.                                           4.00      $450        $1,800.00




4/14/2010   HIMMELSTEIN, BARRY      Prepare for final pretrial conference.                                     4.00      $675        $2,700.00



4/14/2010   RUDNICK, JENNIFER       Prepare motion in limine and pretrial document binder for R. Heimann.      2.00      $235         $470.00




4/15/2010   HELLER, ROGER           Prepare for pretrial conference.                                           3.00      $450        $1,350.00



4/16/2010   HELLER, ROGER           Prepare for pretrial conference.                                           5.50      $450        $2,475.00




4/16/2010   PALMERTON, MIKAELA B.   Team meeting re pretrial conference.                                       1.50      $325         $487.50



4/16/2010   RUDNICK, JENNIFER       Prepare motions in limine binders and pretrial document binders.           2.50      $235         $587.50




4/16/2010   SANFORD, JACK           Binder project per R. Heller.                                              3.00      $225         $675.00



4/16/2010   SOBOL, MICHAEL          Meeting with trial team re: hearing.                                       1.50      $725        $1,087.50




4/17/2010   HELLER, ROGER           Correspondence re pretrial conference.                                     0.30      $450         $135.00



4/17/2010   HELLER, ROGER           Prepare for pretrial conference.                                           1.40      $450         $630.00




4/18/2010   HELLER, ROGER           Prepare for pretrial conference.                                          10.00      $450        $4,500.00
4/19/2010   HEIMANN, RICHARD            Case 3:07-cv-05923-WHA Document 638-2 Filed
                                    Pretrial conference.                        3.00 02/17/15
                                                                                       $850   Page    95 of 244
                                                                                              $2,550.00




4/19/2010   HELLER, ROGER           Attend pretrial conference; conference with team re the same.                  4.00   $450    $1,800.00




4/19/2010   HIMMELSTEIN, BARRY      Prepare for and attend final re-trial conference, post-hearing conference      7.00   $675    $4,725.00
                                    call.


4/19/2010   PALMERTON, MIKAELA B.   Attend Wells Fargo final pretrial conference.                                  4.00   $325    $1,300.00



4/19/2010   SOBOL, MICHAEL          Final pretrial conference.                                                     4.00   $725    $2,900.00




                                                                                    Totals (Net of Reductions):   64.70          $31,972.50


                                                                                                    Reductions:      0                $0.00
                                         Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 96 of 244
                                LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                        Motion re WF Authenticity Objections

Date        Timekeeper              Narrative                                                                       Hours       Billing Rate   Amount
4/12/2010   PALMERTON, MIKAELA B.   Research re authentication of documents via deposition testimony.                  8.10        $325        $2,632.50




4/13/2010   PALMERTON, MIKAELA B.   Research re authentication of documents via deposition testimony.                  5.40        $325        $1,755.00




4/14/2010   PALMERTON, MIKAELA B.   Research and draft plaintiffs' administrative motion concerning Wells              4.20        $325        $1,365.00
                                    Fargo's authenticity objections; supporting documents.


4/14/2010   PALMERTON, MIKAELA B.   Research re authentication of documents via deposition testimony.                  1.20        $325         $390.00




4/15/2010   PALMERTON, MIKAELA B.   Research and draft plaintiffs' administrative motion concerning Wells              6.50        $325        $2,112.50
                                    Fargo's authenticity objections; supporting documents.


4/15/2010   RUDNICK, JENNIFER       Information to MB re: of objections of plaintiffs and defendants for brief re      0.30        $235          $70.50
                                    authenticity of documents.


4/16/2010   PALMERTON, MIKAELA B.   Finalize and file plaintiffs' administrative motion concerning Wells Fargo's       3.20        $325        $1,040.00
                                    authenticity objections; supporting documents.



                                                                                      Totals (Net of Reductions):     28.90                    $9,365.50


                                                                                                      Reductions:           0                     $0.00
                                         Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 97 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                       Trial Demonstratives

Date        Timekeeper              Narrative                                                                        Hours     Billing Rate Amount
4/15/2010   PALMERTON, MIKAELA B.   Draft demonstrative for Wells Fargo's posting order.                                1.50      $325         $487.50



4/19/2010   SOBOL, MICHAEL          Revise and draft demonstratives.                                                    2.20      $725        $1,595.00



4/20/2010   SOBOL, MICHAEL          Prepare demonstratives.                                                             3.00      $725        $2,175.00



4/21/2010   MUGRAGE, MAJOR          Edit demonstrative exhibits.                                                        2.40      $260         $624.00



4/22/2010   HIMMELSTEIN, BARRY      Telephone conference with K. Dugar re demonstratives.                               0.50      $675         $337.50



4/22/2010   MUGRAGE, MAJOR          Edit demonstrative timeline for use at trial.                                       3.20      $260         $832.00



5/6/2010    MUGRAGE, MAJOR          Edit timeline demonstrative exhibit for use at trial.                               1.30      $260         $338.00




                                                                                       Totals (Net of Reductions):     14.10                  $6,389.00


                                                                                                     Reductions:        8.30                  $2,697.50
                                   Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 98 of 244
                             LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                Designations for Trial
Date        Timekeeper         Narrative                                                                 Hours       Billing Rate   Amount


4/20/2010   SANFORD, JACK      Interrogatory designations per R. Heller.                                    3.00        $225         $675.00




4/20/2010   SOBOL, MICHAEL     Deposition designations.                                                     6.00        $725        $4,350.00




4/22/2010   SOBOL, MICHAEL     Review testimony, counter designations.                                      4.00        $725        $2,900.00




                                                                           Totals (Net of Reductions):     13.00                    $7,925.00


                                                                                         Reductions:             0                     $0.00
                                  Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 99 of 244
                            LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                Briefing re Consultation with Witnesses

Date        Timekeeper        Narrative                                                                      Hours       Billing Rate   Amount
4/21/2010   ELIAS, JORDAN     Perform legal research re issue of whether witnesses are permitted to, or         2.00        $430         $860.00
                              may be prohibited from, conferring with counsel during trial breaks; follow-
                              up with M. Sobol and R. Heller re same.

                                                                              Totals (Net of Reductions):       2.00                     $860.00


                                                                                               Reductions:           0                     $0.00
                                       Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 100 of 244
                               LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                Motion in Limine re: Schminke

Date        Timekeeper              Narrative                                                                      Hours       Billing Rate Amount
4/26/2010   ELGART, ALLISON         Meet with M. Sobol; emails and discussions with M. Bernstein; review              2.30        $390         $897.00
                                    exemplars and draft for opposition to motion in limine.


4/26/2010   PALMERTON, MIKAELA B.   Research for opposition to motion to exclude Marshall Schminke.                   4.00        $325        $1,300.00




4/27/2010   ELGART, ALLISON         Research for opposition to motion in limine; confer with M. Bernstein re the      2.00        $390         $780.00
                                    same.


4/27/2010   PALMERTON, MIKAELA B.   Draft opposition to motion to exclude Marshall Schminke, prepare oral             5.00        $325        $1,625.00
                                    argument.)


4/28/2010   PALMERTON, MIKAELA B.   Trial preparation; prepare for oral argument                                      1.00        $325         $325.00




                                                                                    Totals (Net of Reductions):      14.30                    $4,927.00


                                                                                                    Reductions:            0                     $0.00
                                   Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 101 of 244
                             LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                           Trial Presentation (Technical)

Date        Timekeeper         Narrative                                                          Hours     Billing Rate   Amount
4/23/2010   MUGRAGE, MAJOR     Set up presentation hardware in courtroom and prepare for trial.      8.00      $260        $2,080.00




4/26/2010   DUGAR, KIRTI       Attend trial and preparation for trial presentation.                  9.50      $345        $3,277.50




4/26/2010   MUGRAGE, MAJOR     Prepare for and trial presentation.                                  11.50      $260        $2,990.00



4/27/2010   DUGAR, KIRTI       Attend trial and trial presentation.                                  9.50      $345        $3,277.50




4/27/2010   GRANT, ANTHONY     Assistance with trial presentation.                                   9.00      $260        $2,340.00



4/27/2010   MUGRAGE, MAJOR     Attend trial and prepare videotaped deposition clips.                 6.00      $260        $1,560.00




4/28/2010   DUGAR, KIRTI       Attend trial and trial presentation.                                 11.00      $345        $3,795.00



4/28/2010   GRANT, ANTHONY     Assistance with trial presentation.                                   9.00      $260        $2,340.00




4/28/2010   MUGRAGE, MAJOR     Attend trial and prepare videotaped deposition clips.                 8.00      $260        $2,080.00
4/29/2010   DUGAR, KIRTI         Case 3:07-cv-05923-WHA Document 638-2 Filed
                             Attend trial and trial presentation.        10.50 02/17/15
                                                                                  $345  Page    102 of 244
                                                                                         $3,622.50




4/29/2010   GRANT, ANTHONY   Assistance with trial presentation.                                             9.00   $260    $2,340.00




4/29/2010   MUGRAGE, MAJOR   Attend trial and prepare videotaped deposition clips.                           7.00   $260    $1,820.00




4/30/2010   DUGAR, KIRTI     Attend trial and trial presentation.                                            9.00   $345    $3,105.00



5/3/2010    DUGAR, KIRTI     Trial presentation.                                                             4.00   $345    $1,380.00




5/4/2010    DUGAR, KIRTI     Trial presentation and attend trial.                                           10.00   $345    $3,450.00




5/5/2010    DUGAR, KIRTI     Trial presentation and attend trial.                                           10.00   $345    $3,450.00




5/6/2010    DUGAR, KIRTI     Trial presentation and attend trial.                                           10.00   $345    $3,450.00




                                                                             Totals (Net of Reductions):   151.00          $46,357.50


                                                                                           Reductions:       9.00           $3,190.00
                                        Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 103 of 244
                                LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                      Trial

Date        Timekeeper              Narrative                                  Hours     Billing Rate Amount
4/26/2010   HEIMANN, RICHARD        Trial.                                        6.00      $850        $5,100.00




4/26/2010   HELLER, ROGER           Attend trial.                                 6.00      $450        $2,700.00




4/26/2010   PALMERTON, MIKAELA B.   Trial.                                        6.00      $325        $1,950.00



4/26/2010   RUDNICK, JENNIFER       Attend trial.                                 6.50      $235        $1,527.50




4/26/2010   SOBOL, MICHAEL          Trial, day one.                               6.00      $725        $4,350.00



4/27/2010   HEIMANN, RICHARD        Trial.                                        6.00      $850        $5,100.00




4/27/2010   HELLER, ROGER           Attend trial.                                 6.00      $450        $2,700.00



4/27/2010   PALMERTON, MIKAELA B.   Trial.                                        6.00      $325        $1,950.00




4/27/2010   RUDNICK, JENNIFER       Attend trial.                                 6.50      $235        $1,527.50



4/27/2010   SANFORD, JACK           Trial                                         6.00      $225        $1,350.00




4/27/2010   SOBOL, MICHAEL          Attend trial.                                 6.00      $725        $4,350.00



4/28/2010   ELIAS, JORDAN           Attend trial.                                 4.00      $430        $1,720.00




4/28/2010   HEIMANN, RICHARD        Trial.                                        6.00      $850        $5,100.00
4/28/2010   HELLER, ROGER               Case 3:07-cv-05923-WHA Document 638-2 Filed
                                    Attend trial.                                6.00 02/17/15
                                                                                         $450  Page    104 of 244
                                                                                                $2,700.00




4/28/2010   PALMERTON, MIKAELA B.   Trial                                            6.00   $325   $1,950.00




4/28/2010   RUDNICK, JENNIFER       Attend trial.                                    6.50   $235   $1,527.50




4/28/2010   SOBOL, MICHAEL          Attend trial.                                    6.00   $725   $4,350.00



4/29/2010   HEIMANN, RICHARD        Trial.                                           6.00   $850   $5,100.00




4/29/2010   HELLER, ROGER           Attend trial.                                    6.00   $450   $2,700.00




4/29/2010   PALMERTON, MIKAELA B.   Trial.                                           6.00   $325   $1,950.00




4/29/2010   RUDNICK, JENNIFER       Attend trial.                                    6.50   $235   $1,527.50



4/29/2010   SOBOL, MICHAEL          Attend trial.                                    6.00   $725   $4,350.00




4/30/2010   HEIMANN, RICHARD        Trial.                                           7.00   $850   $5,950.00



4/30/2010   HELLER, ROGER           Attend trial.                                    6.00   $450   $2,700.00




4/30/2010   PALMERTON, MIKAELA B.   Trial.                                           6.00   $325   $1,950.00




4/30/2010   RUDNICK, JENNIFER       Attend trial.                                    6.00   $235   $1,410.00



4/30/2010   SOBOL, MICHAEL          Trial.                                           6.00   $725   $4,350.00




5/4/2010    HEIMANN, RICHARD        Trial                                            6.00   $850   $5,100.00
5/4/2010   HELLER, ROGER               Case 3:07-cv-05923-WHA Document 638-2 Filed
                                   Attend trial                                 2.00 02/17/15
                                                                                        $450  Page   105 of 244
                                                                                                $900.00




5/4/2010   RUDNICK, JENNIFER       Attend trial.                                               6.50   $235     $1,527.50




5/4/2010   SOBOL, MICHAEL          Attend trial.                                               6.00   $725     $4,350.00




5/5/2010   PALMERTON, MIKAELA B.   Trial.                                                      6.00   $325     $1,950.00



5/5/2010   RUDNICK, JENNIFER       Attend trial.                                               6.50   $235     $1,527.50




5/5/2010   SOBOL, MICHAEL          Attend trial                                                6.00   $725     $4,350.00




5/6/2010   HEIMANN, RICHARD        Trial.                                                      6.00   $850     $5,100.00




5/6/2010   HELLER, ROGER           Attend trial.                                               6.00   $450     $2,700.00



5/6/2010   RUDNICK, JENNIFER       Attend trial.                                               6.50   $235     $1,527.50




5/6/2010   SOBOL, MICHAEL          Attend trial.                                               6.00   $725     $4,350.00



5/7/2010   HEIMANN, RICHARD        Trial.                                                      7.00   $850     $5,950.00




5/7/2010   HELLER, ROGER           Attend trial.                                               7.00   $450     $3,150.00




5/7/2010   RUDNICK, JENNIFER       Attend trial.                                               7.00   $235     $1,645.00



5/7/2010   SOBOL, MICHAEL          Attend trial.                                               8.50   $725     $6,162.50




                                                               Totals (Net of Reductions):   256.00          $132,230.00


                                                                             Reductions:         0                 $0.00
                                       Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 106 of 244
                                  LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                Review and Flagging of Complaint Records (Ex. 127)

Date        Timekeeper              Narrative                                                                     Hours       Billing Rate   Amount
4/30/2010   PALMERTON, MIKAELA B.   Review of Exhibit 127.                                                           3.20        $325        $1,040.00




4/30/2010   RUDNICK, JENNIFER       Review and flag customer complaints (Trial Exhibit 127).                         4.50        $235        $1,057.50




4/30/2010   SANFORD, JACK           Wells Fargo customer complaint flagging project.                                 7.00        $225        $1,575.00



5/3/2010    PALMERTON, MIKAELA B.   Review Exhibits 126 and 127.                                                     3.60        $325        $1,170.00




5/3/2010    RUDNICK, JENNIFER       Review and flag customer complaints (trial Exhibits 126 and 127).                2.70        $235         $634.50



5/3/2010    SANFORD, JACK           Review customer complaints at the courthouse.                                    3.00        $225         $675.00




                                                                                    Totals (Net of Reductions):     24.00                    $6,152.00


                                                                                                  Reductions:             0                     $0.00
                                      Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 107 of 244
                              LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                           WF's Mid-Trial Rule 52(c) Motion

Date       Timekeeper              Narrative                                                                     Hours       Billing Rate   Amount
5/3/2010   PALMERTON, MIKAELA B.   Research for response to motion for judgment on partial findings.                7.20        $325         $2,340.00




5/4/2010   HELLER, ROGER           Prepare response to Rule 52(c) motion.                                          10.00        $450         $4,500.00




5/4/2010   PALMERTON, MIKAELA B.   Research for opposition to motion for partial judgment.                          7.10        $325         $2,307.50



5/5/2010   HELLER, ROGER           Prepare response to Rule 52(c) motion.                                           7.20        $450         $3,240.00




5/5/2010   PALMERTON, MIKAELA B.   Research and draft opposition to motion for partial judgment.                    4.20        $325         $1,365.00




                                                                                   Totals (Net of Reductions):     35.70                    $13,752.50


                                                                                                   Reductions:           0                       $0.00
                                       Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 108 of 244
                               LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                       Plaintiff's Proposed Post-Trial Findings

Date        Timekeeper              Narrative                                                                    Hours     Billing Rate   Amount
5/8/2010    SOBOL, MICHAEL          Review trial transcripts for proposed findings.                                 1.50      $725        $1,087.50




5/10/2010   SOBOL, MICHAEL          Work on findings of fact, conclusions of law.                                   2.30      $725        $1,667.50




5/11/2010   HELLER, ROGER           Review trial transcript; notes re the same; conference re next steps and        0.50      $450         $225.00
                                    proposed findings.


5/11/2010   PALMERTON, MIKAELA B.   Meeting re proposed findings of fact and conclusions of law.                    1.10      $325         $357.50




5/11/2010   SOBOL, MICHAEL          Work on findings of fact and conclusions of law. Conference with Arthur         3.50      $725        $2,537.50
                                    Olsen.


5/12/2010   HELLER, ROGER           Conference re proposed findings and conclusions; instructions re exhibits;      4.50      $450        $2,025.00
                                    review trial transcripts and notes re the same.


5/12/2010   PALMERTON, MIKAELA B.   Draft proposed findings of fact and conclusions of law.                         3.70      $325        $1,202.50



5/12/2010   SOBOL, MICHAEL          Work on findings and conclusions.                                               2.50      $725        $1,812.50




5/13/2010   HELLER, ROGER           Review trial transcripts, notes re the same; prepare proposed findings;         9.00      $450        $4,050.00
                                    conference with team re the same.


5/13/2010   PALMERTON, MIKAELA B.   Draft proposed findings of fact and conclusions of law.                         9.20      $325        $2,990.00




5/13/2010   SOBOL, MICHAEL          Work on findings and conclusions. Conference with R. Heller and M.              2.00      $725        $1,450.00
                                    Bernstein re the same.


5/14/2010   HELLER, ROGER           Review trial transcripts, notes re the same; prepare proposed findings;         8.00      $450        $3,600.00
                                    conference with team re the same.


5/14/2010   PALMERTON, MIKAELA B.   Draft proposed findings of fact and conclusions of law.                         8.50      $325        $2,762.50
5/14/2010   SOBOL, MICHAEL             Case 3:07-cv-05923-WHA Document 638-2 Filed
                                    Emails re findings and conclusions.         0.30 02/17/15
                                                                                        $725  Page   109 of 244
                                                                                                $217.50




5/15/2010   HELLER, ROGER           Review trial transcripts, notes re the same; insert citations and prepare         5.70   $450   $2,565.00
                                    proposed findings.


5/15/2010   SOBOL, MICHAEL          Work on findings and conclusions.                                                 1.50   $725   $1,087.50




5/16/2010   HELLER, ROGER           Review proposed findings; review exhibits and insert exhibit citations for the    2.00   $450    $900.00
                                    same; correspondence re the same.


5/16/2010   HIMMELSTEIN, BARRY      Draft proposed findings re damages.                                              10.00   $675   $6,750.00




5/16/2010   PALMERTON, MIKAELA B.   Draft proposed findings of fact and conclusions of law.                           3.10   $325   $1,007.50




5/16/2010   SOBOL, MICHAEL          Revise findings and conclusions.                                                  2.80   $725   $2,030.00




5/17/2010   HELLER, ROGER           Review and revise proposed findings; add citations; conference re the             8.50   $450   $3,825.00
                                    same.


5/17/2010   HIMMELSTEIN, BARRY      Draft proposed findings re damages.                                               8.00   $675   $5,400.00




5/17/2010   PALMERTON, MIKAELA B.   Proposed findings of fact and conclusions of law; emails and team meeting.        8.50   $325   $2,762.50



5/17/2010   SOBOL, MICHAEL          Review and revise findings and conclusions.                                       6.00   $725   $4,350.00




5/18/2010   ELIAS, JORDAN           Legal research re punitive damages for proposed findings.                         0.20   $430     $86.00




5/18/2010   HEIMANN, RICHARD        Review findings/conclusions.                                                      0.90   $850    $765.00



5/18/2010   HELLER, ROGER           Review and revise proposed findings; conference and correspondence re            10.00   $450   $4,500.00
                                    the same.


5/18/2010   HELLER, ROGER           Review research re damages and restitution; legal research re the same.           0.50   $450    $225.00
5/18/2010   PALMERTON, MIKAELA B.      Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                                9.50 02/17/15 Page
                                    Proposed findings of fact and conclusions of law; emails and team
                                                                                        $325          110 of 244
                                                                                               $3,087.50
                                    conference.


5/18/2010   RUDNICK, JENNIFER       Cite check findings of fact and conclusions of law brief.                        4.40   $235    $1,034.00




5/18/2010   SANFORD, JACK           Cite checking project per M. Bernstein.                                          3.00   $225     $675.00




5/18/2010   SOBOL, MICHAEL          Work on proposed findings and conclusions. Conference with Rich McCune           4.50   $725    $3,262.50
                                    re the same.


5/19/2010   HELLER, ROGER           Review and revise proposed findings; conference and correspondence re            3.50   $450    $1,575.00
                                    the same.


5/19/2010   HIMMELSTEIN, BARRY      Review/edit findings and conclusions; emails; telephone conference with M.       2.50   $675    $1,687.50
                                    Sobol re same.


5/19/2010   PALMERTON, MIKAELA B.   Proposed findings of fact and conclusions of law; emails.                        3.50   $325    $1,137.50




5/19/2010   RUDNICK, JENNIFER       Cite check findings of fact and conclusions of law brief.                        2.00   $235     $470.00



5/19/2010   SOBOL, MICHAEL          Review and revising findings and conclusions.                                    2.00   $725    $1,450.00




5/26/2010   HELLER, ROGER           Review defendant's response to proposed findings; correspondence re the          2.00   $450     $900.00
                                    same; notes re the same.


5/26/2010   SOBOL, MICHAEL          Review defendants responses to plaintiff's proposed findings and                 1.50   $725    $1,087.50
                                    conclusions.



                                                                                     Totals (Net of Reductions):   162.70          $78,605.00


                                                                                                   Reductions:       0.50            $225.00
                                       Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 111 of 244
                               LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                       Post-Trial Stipulation re: Posting Order

Date        Timekeeper              Narrative                                                                      Hours       Billing Rate   Amount
5/10/2010   PALMERTON, MIKAELA B.   Emails re chronology of posting order.                                            0.30        $325          $97.50




5/10/2010   SOBOL, MICHAEL          Work on stipulation re ordering of posting transactions. Emails re the same.      2.20        $725        $1,595.00




5/11/2010   HEIMANN, RICHARD        Telephone conference with Wells Fargo counsel; review proposed                    1.20        $850        $1,020.00
                                    stipulation.


5/11/2010   SOBOL, MICHAEL          Work on stipulated posting order.                                                 2.00        $725        $1,450.00




                                                                                   Totals (Net of Reductions):        5.70                    $4,162.50


                                                                                                   Reductions:             0                     $0.00
                                       Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 112 of 244
                                LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                Response to WF Proposed Post-Trial Findings

Date        Timekeeper              Narrative                                                                    Hours     Billing Rate     Amount
5/19/2010   PALMERTON, MIKAELA B.   Responses to defendants' proposed findings of fact and conclusions of law.      4.50      $325        $1,462.50




5/19/2010   SOBOL, MICHAEL          Review Wells Fargo's findings and conclusions.                                  2.00      $725        $1,450.00




5/20/2010   HELLER, ROGER           Review defendants proposed findings; notes and correspondence re the            2.50      $450        $1,125.00
                                    same.


5/20/2010   PALMERTON, MIKAELA B.   Responses to defendants' proposed findings of fact and conclusions of law.      9.80      $325        $3,185.00




5/20/2010   RUDNICK, JENNIFER       Pull customer complaint documents for M. Bernstein.                             0.20      $235        $47.00



5/20/2010   RUDNICK, JENNIFER       Read posting order sections of agreements and report back to M. Bernstein       1.00      $235        $235.00
                                    re the language.


5/20/2010   SOBOL, MICHAEL          Conferences and emails response to Wells Fargo's proposed findings and          0.50      $725        $362.50
                                    conclusions.


5/21/2010   HELLER, ROGER           Team conference re response to defendant's proposed findings; review            6.50      $450        $2,925.00
                                    proposed findings and prepare response to sections of the same;
                                    correspondence re response.

5/21/2010   PALMERTON, MIKAELA B.   Responses to defendants' proposed findings of fact and conclusions of law.      9.10      $325        $2,957.50



5/21/2010   SOBOL, MICHAEL          Work on response to findings and conclusions.                                   4.00      $725        $2,900.00




5/22/2010   HELLER, ROGER           Draft response to defendant's proposed findings; correspondence re the          8.00      $450        $3,600.00
                                    same.


5/22/2010   PALMERTON, MIKAELA B.   Responses to defendants' proposed findings of fact and conclusions of law.      5.80      $325        $1,885.00




5/22/2010   SOBOL, MICHAEL          Work on response to defendants findings and conclusions.                        1.50      $725        $1,087.50
5/23/2010   HELLER, ROGER              Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                                6.00 02/17/15   Page 113 of 244
                                    Draft response to defendant's proposed findings; correspondence re the
                                                                                        $450  $2,700.00
                                    same.


5/23/2010   PALMERTON, MIKAELA B.   Responses to defendants' proposed findings of fact and conclusions of law.    6.50   $325   $2,112.50




5/23/2010   SOBOL, MICHAEL          Review and revise responses to defendant's proposed findings and              1.50   $725   $1,087.50
                                    conclusions.


5/24/2010   HEIMANN, RICHARD        Review findings/conclusion response.                                          0.90   $850   $765.00



5/24/2010   HELLER, ROGER           Draft response to defendant's proposed findings; correspondence re the       10.00   $450   $4,500.00
                                    same.


5/24/2010   SOBOL, MICHAEL          Revise responses to defendants' proposed findings and conclusions.            9.50   $725   $6,887.50




5/25/2010   HELLER, ROGER           Finalize response to defendant's proposed findings.                           2.50   $450   $1,125.00




5/25/2010   SOBOL, MICHAEL          Revise and finalize response to findings and conclusions.                     3.00   $725   $2,175.00




                                                                                   Totals (Net of Reductions):   95.30            $44,574.50


                                                                                                  Reductions:     0.50               $225.00
                                      Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 114 of 244
                                LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                       Closing Argument

Date       Timekeeper              Narrative                                                                  Hours     Billing Rate   Amount
7/7/2010   HEIMANN, RICHARD        Prepare for closing argument.                                                 6.00      $850        $5,100.00




7/7/2010   HELLER, ROGER           Team conference re closing argument, locate documents in preparation for      3.00      $450        $1,350.00
                                   the same; instructions to J. Rudnick and K. Dugar re the same; call with
                                   opposing counsel and correspondence re presentation equipment.




7/7/2010   HIMMELSTEIN, BARRY      Draft memorandum for oral argument re: damages; miscellaneous emails.         3.00      $675        $2,025.00




7/7/2010   PALMERTON, MIKAELA B.   Team emails re chronology of transactions.                                    0.20      $325          $65.00




7/7/2010   RUDNICK, JENNIFER       Attend team meeting re preparation for closing argument.                      1.00      $235         $235.00



7/7/2010   RUDNICK, JENNIFER       Pull documents for R. Heimann and M. Sobol to use in preparation for          1.00      $235         $235.00
                                   closing argument.


7/7/2010   SOBOL, MICHAEL          Conference with R. Heimann. Prepare materials for closing argument.           3.50      $725        $2,537.50



7/8/2010   ALAMEDA, SCOTT          Review and organize documents for closing statement.                          3.60      $260         $936.00




7/8/2010   DUGAR, KIRTI            Prepare for closing arguments; meetings with R. Heimann re same; prepare      8.00      $345        $2,760.00
                                   and revise PowerPoint; meetings with staff for same.


7/8/2010   GRANT, ANTHONY          Assist with creation of PowerPoint.                                           7.00      $260        $1,820.00




7/8/2010   HEIMANN, RICHARD        Prepare for closing argument.                                                 7.50      $850        $6,375.00




7/8/2010   HELLER, ROGER           Meet with team re closing argument and presentation; retrieve and review      1.70      $450         $765.00
                                   materials for the same.


7/8/2010   KHARARJIAN, ARRA        Closing arguments preparation per K. Dugar.                                   6.00      $270        $1,620.00
7/8/2010   RUDNICK, JENNIFER          Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                               1.40 02/17/15 Page   115 of 244
                                   Pull exhibits and other documents in preparation for closing argument.
                                                                                       $235    $329.00




7/8/2010   SOBOL, MICHAEL          Prepare materials for closing argument meeting re the same.                      4.40   $725    $3,190.00




7/9/2010   DUGAR, KIRTI            Prepare for closing arguments; review and revise PowerPoint; assist R.           5.00   $345    $1,725.00
                                   Heimann at presentation for closing arguments for case.




7/9/2010   GRANT, ANTHONY          Assist with closing argument technical support.                                  5.00   $260    $1,300.00




7/9/2010   HELLER, ROGER           Attend closing arguments; prepare for the same.                                  2.50   $450    $1,125.00




7/9/2010   PALMERTON, MIKAELA B.   Attend closing arguments.                                                        3.50   $325    $1,137.50




7/9/2010   RUDNICK, JENNIFER       Attend trial's closing arguments.                                                3.20   $235     $752.00




7/9/2010   SOBOL, MICHAEL          Closing argument.                                                                3.50   $725    $2,537.50




                                                                                     Totals (Net of Reductions):   80.00          $37,919.50


                                                                                                   Reductions:      6.10           $1,882.50
                                       Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 116 of 244
                                LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                        Supplemental Brief re: Smith Release

Date        Timekeeper              Narrative                                                                        Hours     Billing Rate   Amount
7/20/2010   HELLER, ROGER           Review request for briefing, correspondence re the same, review materials           1.80      $450         $810.00
                                    re Smith case for the same.


7/21/2010   HELLER, ROGER           Correspondence re request for further briefing, identify and review                 0.90      $450         $405.00
                                    documents, transcripts for the same.


7/21/2010   PALMERTON, MIKAELA B.   Research re Smith release and settlement.                                           3.50      $325        $1,137.50



7/22/2010   HELLER, ROGER           Legal research for brief on effect of Smith release, correspondence re the          2.00      $450         $900.00
                                    same, call with B. Himmelstein re the same.


7/22/2010   HELLER, ROGER           Review materials for Wells Fargo admissions re Smith case and release;              1.50      $450         $675.00
                                    correspondence with team re the same.


7/22/2010   PALMERTON, MIKAELA B.   Research for brief re Smith settlement; emails and discussion with R.               4.10      $325        $1,332.50
                                    Heller.


7/22/2010   RUDNICK, JENNIFER       Compile list of Wells Fargo's references to related Smith v. Wells Fargo            2.50      $235         $587.50
                                    case.


7/23/2010   HELLER, ROGER           Conference with team re brief re Smith release; draft brief; legal research re      4.20      $450        $1,890.00
                                    the same.


7/23/2010   PALMERTON, MIKAELA B.   Research for brief re Smith settlement.                                             2.10      $325         $682.50



7/23/2010   RUDNICK, JENNIFER       Look through defendants' answers and motions to dismiss for references to           1.00      $235         $235.00
                                    Smith v. Wells Fargo.


7/23/2010   RUDNICK, JENNIFER       Print pleading and flag reference to Smith v. Wells Fargo.                          0.10      $235          $23.50



7/23/2010   SOBOL, MICHAEL          Work on brief in response to Court's order re Smith. Conferences and                2.00      $725        $1,450.00
                                    emails re the same.


7/24/2010   HELLER, ROGER           Draft brief re Smith release, legal research re the same; correspondence re         8.50      $450        $3,825.00
                                    the same.
7/24/2010   SOBOL, MICHAEL             Case 3:07-cv-05923-WHA Document 638-2 Filed
                                    Work on brief re Smith.                     0.70 02/17/15
                                                                                        $725  Page   117 of 244
                                                                                                $507.50




7/25/2010   HELLER, ROGER           Draft brief re Smith release, legal research re the same; correspondence re     4.50   $450    $2,025.00
                                    the same.


7/25/2010   SOBOL, MICHAEL          Work on brief re Smith release; conference and emails re same.                  1.00   $725     $725.00




7/26/2010   HELLER, ROGER           Correspondence re brief re Smith release, review and finalize the same for      3.70   $450    $1,665.00
                                    filing, instructions re filing.


7/26/2010   HELLER, ROGER           Review Wells Fargo brief re Smith release, update to M. Sobol re the same.      0.60   $450     $270.00




7/26/2010   PALMERTON, MIKAELA B.   Cite check brief re: Smith.                                                     2.50   $325     $812.50




7/26/2010   PALMERTON, MIKAELA B.   Review Wells Fargo's filings re Smith; discuss with R. Heller; research.        2.30   $325     $747.50




7/26/2010   RUDNICK, JENNIFER       Prepare and send courtesy copies of memorandum re release in the Smith          0.30   $235      $70.50
                                    v. Wells Fargo case and supporting declaration.


7/26/2010   SOBOL, MICHAEL          Work on brief re Smith release; conference and emails re same.                  1.50   $725    $1,087.50




7/27/2010   HELLER, ROGER           Conference with B. Himmelstein re response to brief re Smith case; draft        4.00   $450    $1,800.00
                                    response, research for the same.


7/27/2010   PALMERTON, MIKAELA B.   Research for reply re Smith; emails with R. Heller.                             5.10   $325    $1,657.50




7/27/2010   SOBOL, MICHAEL          Conferences and emails re filing of brief on scope of Smith release.            1.20   $725     $870.00




7/28/2010   HEIMANN, RICHARD        Review/revise brief.                                                            0.60   $850     $510.00



7/28/2010   HELLER, ROGER           Draft response brief re Smith case, research re the same, finalize the same     3.30   $450    $1,485.00
                                    and instructions re filing; review filing by Wells Fargo and update M. Sobol
                                    re the same.

7/28/2010   PALMERTON, MIKAELA B.   Research for reply re Smith; emails with R. Heller; e-file.                     3.90   $325    $1,267.50




                                                                                     Totals (Net of Reductions):   69.40          $29,454.00
Case 3:07-cv-05923-WHA Document 638-2 Filed
                             Reductions: 1.90 02/17/15 Page   118 of 244
                                                         $491.50
                                       Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 119 of 244
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                                    WF Notice of Potential Jurisdictional Defect

Date        Timekeeper              Narrative                                                                      Hours     Billing Rate   Amount
7/21/2010   PALMERTON, MIKAELA B.   Review notice of potential jurisdictional defect; research; discuss with R.       1.90      $325         $617.50
                                    Heller.


7/21/2010   SOBOL, MICHAEL          Review Cappuccitti, emails and conference re the same.                            2.00      $725        $1,450.00




7/22/2010   ELIAS, JORDAN           Strategize re Cappuccitti response brief.                                         2.40      $430        $1,032.00



7/22/2010   HEIMANN, RICHARD        Review new case re jurisdiction.                                                  0.40      $850         $340.00




7/22/2010   HELLER, ROGER           Review Cappuccitti decisions and Wells Fargo response re the same;                0.60      $450         $270.00
                                    correspondence re response.


7/24/2010   ELIAS, JORDAN           Email re Cappuccitti brief.                                                       0.70      $430         $301.00




7/24/2010   SOBOL, MICHAEL          Work on brief re subject matter jurisdiction. Emails and conferences re the       0.80      $725         $580.00
                                    same.


7/25/2010   ELIAS, JORDAN           Draft, research and edit Cappuccitti response brief; email with M. Sobol and      2.60      $430        $1,118.00
                                    B. Himmelstein re same.


7/25/2010   SOBOL, MICHAEL          Work on brief re subject matter jurisdiction, conference re same.                 1.00      $725         $725.00



7/26/2010   ELIAS, JORDAN           Attention to Cappuccitti response; confer with R. Heimann re same.                1.50      $430         $645.00
7/26/2010   HEIMANN, RICHARD      Case 3:07-cv-05923-WHA Document 638-2 Filed
                               Review/revise brief.                        0.50 02/17/15
                                                                                   $850  Page   120 of 244
                                                                                           $425.00




7/26/2010   HELLER, ROGER      Review brief re Cappuccitti and correspondence re the same.                    0.30   $450    $135.00




7/26/2010   SOBOL, MICHAEL     Work on brief re subject matter jurisdiction, emails re same.                  1.50   $725   $1,087.50




7/27/2010   ELIAS, JORDAN      Finalize Cappuccitti response; confer with E. Cabraser re same; supervise      1.80   $430    $774.00
                               filing of same.


8/5/2010    SOBOL, MICHAEL     Order re jurisdiction. Emails re the same.                                     0.30   $725    $217.50




8/9/2010    HELLER, ROGER      Review Wells Fargo pleading re jurisdiction, correspondence re the same.       0.20   $450     $90.00




                                                                               Totals (Net of Reductions):   18.50          $9,807.50


                                                                                               Reductions:    0.80           $260.00
                                       Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 121 of 244
                               LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                 Court's Findings After Trial

Date        Timekeeper              Narrative                                                                    Hours       Billing Rate   Amount
8/10/2010   ELIAS, JORDAN           Review Judge Alsup's findings of fact and conclusions of law; confer with       1.80        $430         $774.00
                                    M. Sobol and R. Heller re next steps.


8/10/2010   HEIMANN, RICHARD        Review opinion.                                                                 3.20        $850        $2,720.00




8/10/2010   HELLER, ROGER           Review findings after trial; correspondence with team re the same.              3.00        $450        $1,350.00



8/10/2010   PALMERTON, MIKAELA B.   Review Judge Alsup's findings and conclusions; emails with team; calendar       1.80        $325         $585.00
                                    deadlines.


8/10/2010   SOBOL, MICHAEL          Review Court's findings and conclusions. Emails and conferences re the          4.40        $725        $3,190.00
                                    same.


8/13/2010   ELIAS, JORDAN           Discuss next steps with M. Sobol and R. Heller; study Judge Alsup's order.      1.40        $430         $602.00




                                                                                   Totals (Net of Reductions):     15.60                    $9,221.00


                                                                                                   Reductions:           0                     $0.00
                                       Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 122 of 244
                               LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                Joint Recommendations (2010)

Date        Timekeeper              Narrative                                                                  Hours     Billing Rate Amount
8/10/2010   ELIAS, JORDAN           Perform legal research and send email to team re possible avenues for         1.70      $430         $731.00
                                    extending restitution up until the present.


8/11/2010   HELLER, ROGER           Conference with M. Sobol and team re findings and next step, extending        1.10      $450         $495.00
                                    restitution and related issues.


8/11/2010   PALMERTON, MIKAELA B.   Research re expanding class period.                                           4.40      $325        $1,430.00



8/11/2010   SOBOL, MICHAEL          Emails and conferences re post judgment strategy.                             3.30      $725        $2,392.50




8/12/2010   HELLER, ROGER           Conference with team re extending restitution and related issues.             0.30      $450         $135.00



8/13/2010   HELLER, ROGER           Research re prejudgment interest; conference with M. Sobol re the same.       0.70      $450         $315.00




8/13/2010   SOBOL, MICHAEL          Research re prejudgment interest, class extension and notice issues.          1.10      $725         $797.50



8/16/2010   SOBOL, MICHAEL          Research; emails re prejudgment interest; research, emails re scope of        2.00      $725        $1,450.00
                                    damages.


8/17/2010   SOBOL, MICHAEL          Legal research re prejudgment interest, scope of class.                       0.80      $725         $580.00



8/18/2010   ELIAS, JORDAN           Discuss post-trial strategy memo with M. Sobol; research and draft same.      2.30      $430         $989.00




8/18/2010   HELLER, ROGER           Research re prejudgment interest.                                             0.70      $450         $315.00



8/18/2010   SOBOL, MICHAEL          Research re scope of class definition.                                        0.70      $725         $507.50




8/19/2010   ELIAS, JORDAN           Research and draft post-trial strategy memo.                                  0.60      $430         $258.00
8/20/2010   ELIAS, JORDAN         Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                           3.50 02/17/15 Page
                               Research and draft post-trial strategy memo; send to M. Sobol.
                                                                                   $430          123 of 244
                                                                                          $1,505.00




8/21/2010   ELIAS, JORDAN      Research, draft and edit post-trial strategy memo.                               3.20   $430   $1,376.00




8/22/2010   ELIAS, JORDAN      Research, draft and edit post-trial strategy memo.                               0.70   $430    $301.00




8/23/2010   ELIAS, JORDAN      Research, draft and edit post-trial strategy memo.                               3.60   $430   $1,548.00



8/23/2010   HELLER, ROGER      Research re prejudgment interest.                                                0.90   $450    $405.00




8/23/2010   SOBOL, MICHAEL     Research re collateral estoppel, amendment pleading. Conference re               1.50   $725   $1,087.50
                               same.


8/24/2010   ELIAS, JORDAN      Research, draft, and edit post-trial strategy memo; discuss same with M.         2.40   $430   $1,032.00
                               Sobol; review email from R. Heimann re same.


8/24/2010   HEIMANN, RICHARD   Confer with M. Sobol; review memo.                                               0.90   $850    $765.00



8/24/2010   SOBOL, MICHAEL     Research re collateral estoppel; motion to amend.                                1.00   $725    $725.00




8/25/2010   HELLER, ROGER      Research re prejudgment interest.                                                1.30   $450    $585.00



8/25/2010   SOBOL, MICHAEL     Research re collateral estoppel.                                                 0.50   $725    $362.50




8/27/2010   STOCKING, ALISON   Research related to application of offensive collateral estoppel; preparation   11.00   $370   $4,070.00
                               of related memo.


8/30/2010   HEIMANN, RICHARD   Review memorandum re collateral estoppel.                                        0.30   $850    $255.00



8/30/2010   HELLER, ROGER      Research re separate judgment option.                                            1.00   $450    $450.00




9/3/2010    HELLER, ROGER      Research re prejudgment interest.                                                1.00   $450    $450.00
9/3/2010    HELLER, ROGER          Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                            0.70 02/17/15 Page   124 of 244
                                Review documents re Wells Fargo disclosure; update M. Sobol re the
                                                                                    $450    $315.00
                                same; instructions to J. Rudnick re the same.


9/3/2010    RUDNICK, JENNIFER   Print website information for R. Heller. Review Wells Fargo account         0.30   $235     $70.50
                                brochure for language about debit cards.


9/7/2010    HELLER, ROGER       Research re separate judgment; notes re the same.                           1.80   $450    $810.00




9/8/2010    ELIAS, JORDAN       Study memorandum from co-counsel re options for extending restitution       2.00   $430    $860.00
                                post-trial; conference re same with M. Sobol and R. Heller.


9/8/2010    HEIMANN, RICHARD    Review Richard McCune memorandum.                                           0.30   $850    $255.00




9/8/2010    HELLER, ROGER       Research re prejudgment interest.                                           0.20   $450     $90.00




9/8/2010    HELLER, ROGER       Research re separate judgment; notes re the same.                           0.70   $450    $315.00




9/8/2010    SOBOL, MICHAEL      Work on post judgment issues. Emails and research re the same.              3.00   $725   $2,175.00



9/9/2010    HELLER, ROGER       Draft notes re issues for expansion of restitution issues.                  1.00   $450    $450.00




9/9/2010    SOBOL, MICHAEL      Conference with R. McCune re post judgment strategy. Emails and             1.50   $725   $1,087.50
                                research re the same.


9/15/2010   HELLER, ROGER       Research re rule 54(b) separate judgment, draft outline re options re       1.60   $450    $720.00
                                expansion of restitution.


9/15/2010   SOBOL, MICHAEL      Review research for meet and confer.                                        1.00   $725    $725.00




9/16/2010   HEIMANN, RICHARD    Team meeting; meeting with defense counsel.                                 3.20   $850   $2,720.00



9/16/2010   HELLER, ROGER       Conference with M. Sobol re post trial issues, joint recommendation, team   4.00   $450   $1,800.00
                                meeting re the same, meet with Wells Fargo re the same.


9/16/2010   HELLER, ROGER       Research re cy pres distribution of residual restitution amounts,           0.50   $450    $225.00
                                correspondence with M. Bernstein re the same.
9/16/2010   PALMERTON, MIKAELA B.      Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                                3.00 02/17/15
                                    Research re cy pres; draft e-mail to M. Sobol.      $325  Page   125 of 244
                                                                                                $975.00




9/16/2010   PALMERTON, MIKAELA B.   Team meeting re meet and confer.                                              2.00   $325    $650.00




9/16/2010   SOBOL, MICHAEL          Meeting with Richard McCune. Meeting with Richard McCune, R. Heimann          4.00   $725   $2,900.00
                                    and R. Heller. Meet and confer with defense counsel. Review order, filings.


9/22/2010   SOBOL, MICHAEL          Work on form of judgment; legal research for the same.                        1.50   $725   $1,087.50



9/23/2010   SOBOL, MICHAEL          Work on form of judgment; joint recommendation.                               1.50   $725   $1,087.50




9/24/2010   SOBOL, MICHAEL          Work on post judgment papers. Legal research for the same.                    2.00   $725   $1,450.00




9/27/2010   SOBOL, MICHAEL          Conferences re notice and claims administrators. Emails and research re       2.20   $725   $1,595.00
                                    Rule 54(b), and prejudgment interest.


9/28/2010   HELLER, ROGER           Conference with M. Sobol re proposed form of judgment.                        0.30   $450    $135.00



9/28/2010   SOBOL, MICHAEL          Work on proposed judgment. Conference with Rust Consulting and Garden         2.00   $725   $1,450.00
                                    City re: Class Administration.


9/29/2010   HELLER, ROGER           Conference with M. Sobol re joint recommendation, drafting same.              2.00   $450    $900.00



9/29/2010   SOBOL, MICHAEL          Work on joint recommendation, conferences with administrators re post-        2.50   $725   $1,812.50
                                    judgment claims.


9/30/2010   HELLER, ROGER           Draft joint recommendation, conference with M. Sobol re the same.             6.80   $450   $3,060.00




9/30/2010   SOBOL, MICHAEL          Work on joint recommendation.                                                 1.50   $725   $1,087.50



10/1/2010   HELLER, ROGER           Draft joint recommendations, conference with M. Sobol and call with M.        2.00   $450    $900.00
                                    Sobol and Rich McCune re the same.


10/1/2010   SOBOL, MICHAEL          Work on joint recommendation.                                                 2.00   $725   $1,450.00
10/6/2010    HELLER, ROGER         Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                            3.00 02/17/15 Page
                                Draft joint recommendation, conference with M. Sobol re the same.
                                                                                    $450          126 of 244
                                                                                           $1,350.00




10/6/2010    SOBOL, MICHAEL     Work on joint recommendation.                                                2.00   $725   $1,450.00




10/7/2010    HELLER, ROGER      Conference with M. Sobol re joint recommendation, edits to the same, draft   2.50   $450   $1,125.00
                                proposed scheduling order and proposed form of judgment.


10/7/2010    SOBOL, MICHAEL     Work on joint recommendation.                                                4.00   $725   $2,900.00



10/8/2010    HEIMANN, RICHARD   Review proposed judgment, etc.                                               0.80   $850    $680.00




10/8/2010    HELLER, ROGER      Revisions to Joint recommendation and related documents, conference with     0.40   $450    $180.00
                                M. Sobol re the same.


10/11/2010   HELLER, ROGER      Conference with M. Sobol re joint recommendation and follow up research      0.30   $450    $135.00
                                for the same.


10/11/2010   SOBOL, MICHAEL     Emails re class administration.                                              0.50   $725    $362.50



10/12/2010   SOBOL, MICHAEL     Proposed judgment on injunctive relief. Emails re restitution.               1.00   $725    $725.00




10/13/2010   HELLER, ROGER      Correspondence re payment of administrator costs, revise proposed            1.50   $450    $675.00
                                judgment re the same, review Wells Fargo proposals for joint
                                recommendation, conference with M. Sobol re extension of restitution.

10/13/2010   SOBOL, MICHAEL     Work on joint recommendation and related filings. Emails re same.            3.00   $725   $2,175.00




10/14/2010   HELLER, ROGER      Phone call with M. Sobol and Rich McCune re joint recommendation, follow     1.00   $450    $450.00
                                up re the same.


10/14/2010   SOBOL, MICHAEL     Review and revise joint recommendation; emails re the same. Review law       1.50   $725   $1,087.50
                                on Rule 54(b), prejudgment interest.


10/15/2010   HELLER, ROGER      Research re payment of administrative costs of notice and distribution of    0.70   $450    $315.00
                                restitution.


10/15/2010   SOBOL, MICHAEL     Emails and work on joint recommendation research for the same.               2.50   $725   $1,812.50
10/17/2010   SOBOL, MICHAEL         Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                             1.00 02/17/15
                                 Work on joint recommendation; emails re the same.   $725  Page   127 of 244
                                                                                             $725.00




10/18/2010   HELLER, ROGER       Review and revisions to joint recommendation, calls with Rich McCune and     6.00   $450    $2,700.00
                                 with opposing counsel re the same.


10/18/2010   SOBOL, MICHAEL      Work on joint recommendation. Conference with Emily Henn.                    5.50   $725    $3,987.50




10/19/2010   HELLER, ROGER       Review and revisions to joint recommendation and proposed                    4.20   $450    $1,890.00
                                 judgments/scheduling order, correspondence with opposing counsel re the
                                 same, conference with M. Sobol re the same, finalize the same and
                                 instructions re filing.

10/19/2010   SOBOL, MICHAEL      Work on joint recommendation. Conference and emails re the same.             4.50   $725    $3,262.50




10/20/2010   RUDNICK, JENNIFER   Prepare and send chambers copies to Judge.                                   0.40   $235      $94.00




10/20/2010   SOBOL, MICHAEL      Review joint recommendation filings.                                         1.00   $725     $725.00




10/25/2010   HELLER, ROGER       Review order re joint recommendation; correspondence re the same.            0.50   $450     $225.00




10/25/2010   SOBOL, MICHAEL      Review court order and judgment. Conference with R. Heimann.                 0.80   $725     $580.00




                                                                              Totals (Net of Reductions):   158.20          $88,082.00


                                                                                             Reductions:      2.30            $957.50
                                        Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 128 of 244
                                LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                     WF Notice of Appeal (2010) / Bond Research

Date         Timekeeper              Narrative                                                                    Hours     Billing Rate Amount
9/8/2010     HELLER, ROGER           Correspondence re notice of appeal.                                             0.20      $450          $90.00




9/8/2010     PALMERTON, MIKAELA B.   Review notice of appeal; e-mails with team; e-mails with calendar; e-mails      0.70      $325         $227.50
                                     with records.


9/9/2010     PALMERTON, MIKAELA B.   Research re Bond.                                                               1.50      $325         $487.50



9/10/2010    PALMERTON, MIKAELA B.   Research and memorandum re posting bond on appeal.                              6.70      $325        $2,177.50




9/10/2010    SOBOL, MICHAEL          Emails re bond issue.                                                           0.80      $725         $580.00



9/14/2010    PALMERTON, MIKAELA B.   Research and e-mail to M. Sobol and R. Heller re supersedes bond.               4.00      $325        $1,300.00




10/22/2010   HELLER, ROGER           Research re bond issue.                                                         0.30      $450         $135.00




                                                                                    Totals (Net of Reductions):     14.20                  $4,997.50


                                                                                                    Reductions:      2.30                   $699.00
                                        Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 129 of 244
                                LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                   Mediation Questionnaires

Date         Timekeeper              Narrative                                                                      Hours     Billing Rate Amount
11/1/2010    PALMERTON, MIKAELA B.   E-mails re conference with Ninth Circuit mediator; e-mail mediator.               0.30      $325          $97.50




11/10/2010   HELLER, ROGER           Call with Ninth Circuit mediator.                                                 0.40      $450         $180.00




12/3/2010    HELLER, ROGER           Draft mediation questionnaire.                                                    0.50      $450         $225.00



12/6/2010    HELLER, ROGER           Finalize mediation questionnaire, instructions re filing the same.                0.80      $450         $360.00




6/18/2013    HELLER, ROGER           Conference with M. Sobol re appeal mediation questionnaire and related            0.30      $525         $157.50
                                     issues.


6/18/2013    SOBOL, MICHAEL          Review Wells Fargo Ninth Circuit mediation questionnaire. Research re             1.00      $800         $800.00
                                     same.


9/3/2013     HELLER, ROGER           Draft mediation questionnaire.                                                    0.50      $525         $262.50



9/3/2013     SOBOL, MICHAEL          Review draft mediation questionnaire.                                             0.30      $800         $240.00




9/4/2013     HELLER, ROGER           Revise mediation questionnaire and instructions re filing.                        0.50      $525         $262.50



9/4/2013     SOBOL, MICHAEL          Correspondence re circuit court of appeal mediation.                              0.40      $800         $320.00




                                                                                      Totals (Net of Reductions):      5.00                  $2,905.00


                                                                                                      Reductions:      1.80                   $761.00
                                        Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 130 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                 WF Motion to Amend Findings (Norwest Study)

Date         Timekeeper              Narrative                                                                       Hours          Billing Rate   Amount
9/30/2010    HELLER, ROGER           Review motion to amend findings, correspondence re the same, review                     0.90      $450          $405.00
                                     Norwest study and notes re the same.


9/30/2010    PALMERTON, MIKAELA B.   Review Wells Fargo's motion to amend findings and the Norwest study.                    0.40      $325          $130.00




9/30/2010    SOBOL, MICHAEL          Review filing from Wells Fargo re the Norwest study.                                    3.00      $725         $2,175.00
10/1/2010    HEIMANN, RICHARD        Review Wells Fargo motion re Norwest report.                                            1.20      $850         $1,020.00
10/1/2010    HELLER, ROGER           Review pleadings on motion to amend fact findings, conference with team                 4.70      $450         $2,115.00
                                     re the same, review record for opposition re the same, call with team re the
                                     same.
10/1/2010    PALMERTON, MIKAELA B.   Emails re Wells Fargo's motion to amend findings and the Norwest study.                 0.10      $325           $32.50

10/1/2010    RUDNICK, JENNIFER       Search for references to Norwest study in trial transcripts. Compile list of            1.10      $235          $258.50
                                     cites and email to M. Sobol and R. Heller.
10/1/2010    SOBOL, MICHAEL          Work on response to motion to amend findings and conclusions.                           2.00      $725         $1,450.00
10/2/2010    PALMERTON, MIKAELA B.   Research for opposition to Wells Fargo's motion to amend findings; email to             1.90      $325          $617.50
                                     R. Heller.
10/3/2010    HELLER, ROGER           Draft opposition to motion to amend findings, research and correspondence               5.50      $450         $2,475.00
                                     re the same.
10/4/2010    HELLER, ROGER           Draft opposition to motion to amend findings, research for the same,                    8.50      $450         $3,825.00
                                     conference with M. Sobol re the same.
10/4/2010    PALMERTON, MIKAELA B.   Research for opposition to Wells Fargo's motion to amend findings; emails               4.70      $325         $1,527.50
                                     to R. Heller.
10/4/2010    RUDNICK, JENNIFER       Search for specific trial exhibits and email to M. Sobol.                               0.30      $235           $70.50
10/4/2010    SOBOL, MICHAEL          Work on opposition to Rule 52, 59 motion to amend findings.                             3.00      $725         $2,175.00
10/5/2010    HEIMANN, RICHARD        Review/revise brief re motion.                                                          0.90      $850          $765.00
10/5/2010    HELLER, ROGER           Draft and revisions to opposition to motion to amend findings, research re              6.50      $450         $2,925.00
                                     the same, conference with M. Sobol re the same.
10/5/2010    SOBOL, MICHAEL          Work on brief re Norwest study.                                                         6.50      $725         $4,712.50
10/6/2010    HELLER, ROGER           Revisions to opposition to motion to amend findings, finalize the same,                 3.00      $450         $1,350.00
                                     research for the same.
10/6/2010    RUDNICK, JENNIFER       Cite check opposition to Wells Fargo's motion to amend findings of fact.                1.00      $235          $235.00

10/6/2010    RUDNICK, JENNIFER       Prepare and send chambers copies to Judge.                                              0.40      $235           $94.00
10/8/2010    HELLER, ROGER           Review Wells Fargo reply on motion to amend findings, correspondence                    0.30      $450          $135.00
                                     with team re the same.
10/8/2010    SOBOL, MICHAEL          Review Wells Fargo reply motion to amend findings. Emails re the same.                  1.00      $725          $725.00

10/18/2010   HELLER, ROGER           Review order re motion to amend findings, conference with M. Sobol re the               0.40      $450          $180.00
                                     same.
10/18/2010   SOBOL, MICHAEL          Review order on motion to amend findings. Emails re the same.                           0.50      $725          $362.50
                                                                                      Totals (Net of Reductions):        57.80                     $29,760.50


                                                                                                       Reductions:           0.50                    $117.50
                                  Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 131 of 244
                             LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                    Appeal Transcript Designation (2010)

Date         Timekeeper        Narrative                                                                      Hours          Billing Rate   Amount
10/5/2010    HELLER, ROGER     Review docket and correspondence re additional transcripts to designate,               0.80      $450         $360.00
                               correspondence with opposing counsel re the same.


12/22/2010   HELLER, ROGER     Prepare transcript order form, research re the same, call with clerk re the            2.00      $450         $900.00
                               same, conference with M. Sobol re the same.



                                                                               Totals (Net of Reductions):            2.80                  $1,260.00


                                                                                                Reductions:           0.30                   $135.00
                                    Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 132 of 244
                              LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                          Fee Motion / Bill of Costs (2010)

Date         Timekeeper         Narrative                                                                        Hours     Billing Rate Amount
11/19/2010   SOBOL, MICHAEL     Conference with Emily Henn re costs.                                                0.20      $725         $145.00




12/3/2010    HELLER, ROGER      Review court order on bill of costs, review authorities and Judge bench trial       0.80      $450         $360.00
                                guidelines for the same; correspondence with team re the same.


12/3/2010    SOBOL, MICHAEL     Work on bill of cost motion to amend.                                               1.00      $725         $725.00



12/6/2010    SOBOL, MICHAEL     Bill of cost motion to amend, e-mails re the same.                                  0.50      $725         $362.50




12/7/2010    HELLER, ROGER      Review draft motion re amend bill costs, coordinate with Eddie Kim re the           0.30      $450         $135.00
                                same.


12/8/2010    HELLER, ROGER      Review pleadings re bill of cost motion to amend and draft motion re the            0.30      $450         $135.00
                                same.


12/9/2010    HELLER, ROGER      Edits to bill of cost motion to amend, review additional edits to motion, call      0.90      $450         $405.00
                                with Eddie Kim re the same.


12/10/2010   HELLER, ROGER      Revisions to bill of cost motion to amend, correspondence re the same.              0.30      $450         $135.00




12/20/2010   HELLER, ROGER      Review opposition re bill of costs and correspondence re the same,                  0.50      $450         $225.00
                                conference with M. Sobol re the same.


12/21/2010   HELLER, ROGER      Revisions to reply brief on bill of costs, correspondence re the same.              0.70      $450         $315.00




12/21/2010   SOBOL, MICHAEL     Attention to bill of costs motion.                                                  0.50      $725         $362.50



1/13/2011    HELLER, ROGER      Review updated order re bill of costs, conference with M. Sobol re the              0.90      $475         $427.50
                                same, draft clarification re the same.


                                                                                  Totals (Net of Reductions):       6.90                  $3,732.50

                                                                                                  Reductions:     179.40                $91,647.50
                                      Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 133 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                         WF Motion to Stay Execution (2010)

Date         Timekeeper            Narrative                                                                         Hours     Billing Rate Amount
10/28/2010   ELIAS, JORDAN         Attention to appeal bond issue; confer with M. Sobol re same; perform legal          5.30      $430        $2,279.00
                                   research.


10/28/2010   SOBOL, MICHAEL        Work on bond motion. Conferences, emails and research re same.                       2.50      $725        $1,812.50




10/29/2010   ELIAS, JORDAN         Attention to appeal bond issue; draft and research brief re same; discuss            7.10      $430        $3,053.00
                                   same with M. Sobol.


10/29/2010   SOBOL, MICHAEL        Work on bond motion. Legal research re bonds against national banks.                 2.40      $725        $1,740.00




11/1/2010    ELIAS, JORDAN         Draft, edit, and research brief opposition Wells Fargo's motion for relief from      5.70      $430        $2,451.00
                                   supersedeas bond; phone call and e-mail with M. Sobol re same.


11/1/2010    HELLER, ROGER         Review brief re need to post bond, suggested edits re the same.                      0.40      $450         $180.00




11/2/2010    ELIAS, JORDAN         Draft, edit, and research opposition to Wells Fargo's motion for stay of             6.60      $430        $2,838.00
                                   execution of judgment without posting supersedeas bond; e-mail re same
                                   with M. Sobol, R. Heller and co-counsel.

11/2/2010    HELLER, ROGER         Research re bond issue; review and edits to opposition to motion to stay             1.30      $450         $585.00
                                   execution of judgment; correspondence with team re the same.


11/3/2010    ELIAS, JORDAN         Draft, edit, research, and finalize opposition to Wells Fargo's motion for stay      3.60      $430        $1,548.00
                                   of execution of judgment without posting supersedeas bond; e-mail re same
                                   with M. Sobol, R. Heller and co-counsel.

11/3/2010    RUDNICK, JENNIFER     Prepare and send courtesy copies to Judge.                                           0.20      $235          $47.00
11/10/2010   HELLER, ROGER          Case 3:07-cv-05923-WHA Document 638-2 Filed
                                 Conference re order on motion for stay.     0.10 02/17/15
                                                                                     $450  Page  134 of 244
                                                                                             $45.00




11/16/2010   SOBOL, MICHAEL      Attention to bond issue, legal research for the same.                          1.00   $725     $725.00




11/17/2010   HELLER, ROGER       Review and draft response to Wells Fargo supplemental filing re assets and     2.00   $450     $900.00
                                 bond requirement, conference with M. Sobol re the same, research re the
                                 same.

11/17/2010   SOBOL, MICHAEL      Review response re bond. Prepare response.                                     1.50   $725    $1,087.50



11/18/2010   HELLER, ROGER       Correspondence re bond and correspondence re order re the same.                0.50   $450     $225.00




11/18/2010   RUDNICK, JENNIFER   Prepare and send chambers copies to Judge.                                     0.20   $235      $47.00




                                                                                 Totals (Net of Reductions):   40.40          $19,563.00


                                                                                               Reductions:      1.80            $782.50
                                      Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 135 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                               Notice of Cross-Appeal (2010)

Date         Timekeeper            Narrative                                                                      Hours     Billing Rate Amount
11/22/2010   HELLER, ROGER         Conference with M. Sobol re cross-appeal, review rules and authorities re         1.00      $450         $450.00
                                   the same.


11/23/2010   HELLER, ROGER         Draft notice of cross appeal and related documents, research re the same,         2.00      $450         $900.00
                                   conference with M. Sobol re the same, finalize the same for filing.


11/24/2010   HELLER, ROGER         Prepare materials for notice of cross-appeal, instructions re the same.           1.80      $450         $810.00



11/24/2010   RUDNICK, JENNIFER     Call clerk re filing notice of cross-appeal. Prepare documents for filing         1.70      $235         $399.50
                                   notice of cross-appeal. Serve parties on proof of service documents for
                                   notice cross-appeal.

12/6/2010    HELLER, ROGER         Review rules re perfecting appeals, designating record for cross appeal,          2.00      $450         $900.00
                                   draft letter to opposing counsel re the same;conference with M. Sobol re the
                                   same.

12/20/2010   HELLER, ROGER         Conference with M. Sobol re perfecting cross-appeal and notice to clerk;          0.40      $450         $180.00
                                   research re the same.



                                                                                   Totals (Net of Reductions):       8.90                  $3,639.50


                                                                                                    Reductions:      1.90                   $661.50
                                  Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 136 of 244
                             LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                    Motion to Consolidate (First Appeal)

Date        Timekeeper         Narrative                                                                     Hours Billing Rate    Amount
1/26/2011   HELLER, ROGER      Review motion for extension, correspondence re the same, review                0.50 $475            $237.50
                               declaration and draft M. Sobol declaration for the same.


1/26/2011   SOBOL, MICHAEL     E-mails re appeal schedule.                                                    0.50 $750            $375.00




1/27/2011   HELLER, ROGER      Revise declaration for extension, correspondence re the same.                  0.50 $475            $237.50



1/27/2011   SOBOL, MICHAEL     Attention to correspondence re appeal schedule.                                0.50 $750            $375.00




                                                                             Totals (Net of Reductions):      2.00                $1,225.00


                                                                                               Reductions:       0                   $0.00
                                     Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 137 of 244
                                LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                Appeal Brief (First Appeal)

Date        Timekeeper            Narrative                                                                         Hours     Billing Rate Amount
2/28/2011   HELLER, ROGER         Conference with M. Sobol and A. Stocking re appeal brief and research                1.50      $475         $712.50
                                  issues; review documents re the same.


2/28/2011   HELLER, ROGER         Review deposition testimony re posting order.                                        0.50      $475         $237.50




2/28/2011   STOCKING, ALISON      Meet with M. Sobol and R. Heller to discuss Ninth Circuit appeal; review             4.30      $415        $1,784.50
                                  appellate brief and related materials.


3/2/2011    HELLER, ROGER         Review appeal brief and materials; review docket entries for the same;               4.00      $475        $1,900.00
                                  correspondence with team re the same.


3/3/2011    STOCKING, ALISON      Review of Record on Appeal                                                           4.10      $415        $1,701.50




3/4/2011    RUDNICK, JENNIFER     Prepare binder of excerpts of record for A. Stocking.                                0.50      $260         $130.00




3/4/2011    STOCKING, ALISON      Review findings of fact and conclusions of law and other trial court rulings in      3.00      $415        $1,245.00
                                  preparation for appellate filing.


3/7/2011    HELLER, ROGER         Conference with M. Sobol and A. Stocking re preemption issues, review                1.00      $475         $475.00
                                  brief re the same.



3/7/2011    STOCKING, ALISON      Research related to preemption.                                                      2.50      $415        $1,037.50



3/8/2011    HELLER, ROGER         Correspondence re opposition to appeal, preemption issues; notes re                  0.70      $475         $332.50
                                  preemption issues.


3/9/2011    HELLER, ROGER         Review argument re preemption, legal research re the same, meet with A>              3.50      $475        $1,662.50
                                  Stocking re preemption section.


3/9/2011    STOCKING, ALISON      Discussion of appellate brief and case background with R. Heller; review of          2.00      $415         $830.00
                                  documents in record relevant to preemption.
3/10/2011   STOCKING, ALISON      Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                           3.50 02/17/15
                               Research and draft preemption section of appellate brief.
                                                                                   $415  Page    138 of 244
                                                                                          $1,452.50




3/11/2011   STOCKING, ALISON   Research and draft preemption section of appellate brief.                        4.00   $415   $1,660.00




3/14/2011   STOCKING, ALISON   Research and draft preemption section of appellate brief.                        4.00   $415   $1,660.00




3/15/2011   STOCKING, ALISON   Research and draft preemption section of appellate brief.                        2.10   $415    $871.50



3/18/2011   STOCKING, ALISON   Research and draft preemption section of appellate brief.                        2.00   $415    $830.00




3/21/2011   STOCKING, ALISON   Research and draft preemption section of appellate brief.                        3.00   $415   $1,245.00




3/22/2011   STOCKING, ALISON   Research and draft preemption section of appellate brief.                        5.00   $415   $2,075.00




3/24/2011   ELIAS, JORDAN      Discuss UCL section with M. Sobol and R. Heller; study defendants'               0.70   $475    $332.50
                               opening brief.


3/24/2011   HELLER, ROGER      Call with M. Sobol and J. Elias re response brief, conference with J. Elias re   0.60   $475    $285.00
                               UCL section.


3/24/2011   STOCKING, ALISON   Research and draft section of appellate brief.                                   4.20   $415   $1,743.00



3/25/2011   ELIAS, JORDAN      Review defendants' opening brief.                                                0.30   $475    $142.50




3/25/2011   HELLER, ROGER      Correspondence with A. Stocking re preemption section, update M. Sobol           0.20   $475     $95.00
                               re the same.


3/25/2011   STOCKING, ALISON   Research and draft section of appellate brief.                                   2.50   $415   $1,037.50



3/27/2011   SOBOL, MICHAEL     Work on appellate brief.                                                         2.00   $750   $1,500.00




3/27/2011   STOCKING, ALISON   Research and draft section of appellate brief.                                   7.00   $415   $2,905.00
3/28/2011   ELIAS, JORDAN          Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                            1.40 02/17/15 Page   139 of 244
                                Study Wells Fargo's and opposing amicus' briefs; confer with R. Heller re
                                                                                    $475    $665.00
                                same.


3/28/2011   HELLER, ROGER       Conference with A. Stocking re preemption section; conference with J. elias      1.30   $475    $617.50
                                re UCL section; gather materials re UCL section.


3/28/2011   RUDNICK, JENNIFER   Review deposition transcripts for discussion re preemption. E-mail A.            0.60   $260    $156.00
                                Stocking re same.


3/28/2011   STOCKING, ALISON    Draft appellate brief section on preemption.                                    15.00   $415   $6,225.00



3/29/2011   ELIAS, JORDAN       Study Wells Fargo's and opposing amicus' briefs; study trial court materials;    5.20   $475   $2,470.00
                                research and draft appellate opposition brief.


3/30/2011   ELIAS, JORDAN       Research and draft appellate opposition brief; discuss same with M. Sobol        6.10   $475   $2,897.50
                                and R. Heller.


3/30/2011   HELLER, ROGER       Conference with M. Sobol re preemption section, review draft preemption          2.00   $475    $950.00
                                section, conference with A. Stocking re the same.


3/30/2011   STOCKING, ALISON    Discussion with R. Heller re appellate brief.                                    0.50   $415    $207.50



3/31/2011   ELIAS, JORDAN       Research and draft appellate opposition brief; discuss same with R. Heller.      6.40   $475   $3,040.00




3/31/2011   HELLER, ROGER       Conference re appeal brief, review materials and correspondence re the           1.50   $475    $712.50
                                same.


3/31/2011   SOBOL, MICHAEL      Correspondence re excerpts of record on appeal.                                  0.20   $750    $150.00




4/1/2011    ELIAS, JORDAN       Research and draft appellate opposition brief; discuss same with M. Sobol,       7.30   $475   $3,467.50
                                A. Stocking and R. Heller.

4/1/2011    HELLER, ROGER       Team conference re appeal brief, review record for the same, retrieve            2.50   $475   $1,187.50
                                materials for the same.


4/1/2011    SOBOL, MICHAEL      Conferences and e-mails re standard for review for preemption after trial.       1.00   $750    $750.00



4/1/2011    STOCKING, ALISON    Discussion of appellate brief with M. Sobol and litigation team;                 1.70   $415    $705.50
                                correspondence with J. Elias regarding relevant materials.


4/4/2011    ELIAS, JORDAN       Draft, edit and research appeal; discuss same with R. Heller and A.              7.80   $475   $3,705.00
                                Stocking.
4/5/2011    ELIAS, JORDAN          Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                            7.20 02/17/15 Page
                               Draft, edit and research appeal; discuss same with R. Heller.
                                                                                    $475          140 of 244
                                                                                           $3,420.00




4/5/2011    HELLER, ROGER      Conference with J. Elias re appeal brief issues.                                  0.40   $475    $190.00




4/5/2011    HELLER, ROGER      Draft facts section of appeal brief.                                              7.00   $475   $3,325.00




4/6/2011    ELIAS, JORDAN      Draft, edit and research re: appeal brief; discuss same with R. Heller.           8.30   $475   $3,942.50



4/6/2011    HELLER, ROGER      Draft fact section, review draft sections.                                        8.00   $475   $3,800.00




4/6/2011    STOCKING, ALISON   Research and draft appellate brief.                                               6.00   $415   $2,490.00




4/7/2011    ELIAS, JORDAN      Draft, edit and research appeal; email re same with R. Heller and M. Sobol.       4.70   $475   $2,232.50




4/7/2011    HELLER, ROGER      Draft facts section and procedural history section, correspondence re brief       7.00   $475   $3,325.00
                               issues, call with M. Sobol re the same, conference with A. Stocking re
                               preemption section.

4/7/2011    STOCKING, ALISON   Research and draft appellate brief.                                              17.00   $415   $7,055.00




4/8/2011    ELIAS, JORDAN      Draft, edit and research for appeal brief; discuss same with M. Sobol, R.         6.50   $475   $3,087.50
                               Heller and A. Stocking.


4/8/2011    HELLER, ROGER      Draft facts section and review, draft other sections of appeal brief, team        6.00   $475   $2,850.00
                               conference re appeal brief.


4/8/2011    SOBOL, MICHAEL     Review draft UCL sections for appellate response brief. Attention to              4.50   $750   $3,375.00
                               correspondence re amicus brief. Review draft preemption section.
                               Correspondence re the same.

4/8/2011    STOCKING, ALISON   Meeting with M. Sobol, R. Heller and J. Elias regarding draft appellate brief;    5.50   $415   $2,282.50
                               research and drafting of brief.


4/9/2011    STOCKING, ALISON   Research and drafting of appellate brief.                                         4.50   $415   $1,867.50




4/10/2011   HELLER, ROGER      Draft and revise sections for appeal brief.                                       8.00   $475   $3,800.00
4/10/2011   STOCKING, ALISON      Case 3:07-cv-05923-WHA Document 638-2 Filed
                               Research and drafting of appellate brief.  14.00 02/17/15
                                                                                   $415  Page    141 of 244
                                                                                          $5,810.00




4/11/2011   ELIAS, JORDAN      Draft, edit, and research appellate opposition.                                  4.30   $475   $2,042.50




4/11/2011   HELLER, ROGER      Draft and revise sections of appeal brief, team conference re the same.          9.00   $475   $4,275.00




4/11/2011   SOBOL, MICHAEL     Conferences and e-mails re preemption argument. Review Wells Fargo               2.50   $750   $1,875.00
                               opening brief.


4/11/2011   STOCKING, ALISON   Research and drafting of appellate brief; meeting with briefing team.            5.20   $415   $2,158.00




4/12/2011   ELIAS, JORDAN      Draft, edit, and research appellate opposition.                                  8.50   $475   $4,037.50




4/12/2011   HELLER, ROGER      Draft and revise sections of appeal brief, conference with J. Elias re the       8.50   $475   $4,037.50
                               same, correspondence re research for the same, review record for the
                               same, instructions to Word Processing re formatting.

4/12/2011   SOBOL, MICHAEL     Conference and e-mails re status of draft of response brief.                     0.50   $750    $375.00



4/12/2011   STOCKING, ALISON   Review of UCL section of appellate brief and related section submitted by        2.20   $415    $913.00
                               defense.


4/13/2011   ELIAS, JORDAN      Draft, edit, and research appellate opposition.                                 13.20   $475   $6,270.00



4/13/2011   HELLER, ROGER      Draft and revise appeal brief sections, conference with J. Elias re the same,    7.00   $475   $3,325.00
                               conference with A. Stocking re the same.


4/13/2011   SOBOL, MICHAEL     E-mails re response brief drafting status. Work on response brief. Review        4.50   $750   $3,375.00
                               case law re preemption.


4/13/2011   STOCKING, ALISON   Research related to standard of review; review of trial transcript.              4.50   $415   $1,867.50



4/14/2011   ELIAS, JORDAN      Draft, edit, and research appellate opposition; telephone call with M. Sobol     6.20   $475   $2,945.00
                               re same.


4/14/2011   HELLER, ROGER      Review guidelines re filing and call with M. Sobol re the same, notes re         0.90   $475    $427.50
                               guidelines and correspondence with J. Elias re the same.
4/14/2011   HELLER, ROGER          Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                            7.00 02/17/15 Page    142 of 244
                                Revisions to appeal brief, conference with J. Elias re brief, call with M.
                                                                                    $475   $3,325.00
                                Sobol re the same, review trial record and exhibits for citations.


4/14/2011   SOBOL, MICHAEL      Legal research. Review and revise preemption argument for response brief         8.00   $750   $6,000.00
                                on appeal. E-mails and conference re the same.


4/14/2011   STOCKING, ALISON    Review appellate brief and prepare suggested revisions; research related to      6.50   $415   $2,697.50
                                suggested revisions.


4/15/2011   ELIAS, JORDAN       Draft, edit, and research appellate Opposition; meeting with M. Sobol, R.        9.40   $475   $4,465.00
                                Heller, and A. Stocking.


4/15/2011   HELLER, ROGER       Conference with M. sobol and team re appeal brief, revise sections, review       7.00   $475   $3,325.00
                                record for citations for the brief.


4/15/2011   HELLER, ROGER       Research rules re appeal briefs.                                                 0.50   $475    $237.50




4/15/2011   SOBOL, MICHAEL      Draft and revise appellate response brief. Emails and conference re the          5.00   $750   $3,750.00
                                same.


4/16/2011   HELLER, ROGER       Review record and edits to appeal brief.                                         7.50   $475   $3,562.50



4/16/2011   SOBOL, MICHAEL      Work on appellate response brief.                                                2.00   $750   $1,500.00




4/17/2011   HELLER, ROGER       Review record and edits to appeal brief, research, draft additional sections;   10.00   $475   $4,750.00
                                call with M. Sobol.


4/17/2011   SOBOL, MICHAEL      Review and revise draft of plaintiffs' response brief.                           2.00   $750   $1,500.00




4/17/2011   STOCKING, ALISON    Cite checking preemption section; review current draft and prepare               5.00   $415   $2,075.00
                                suggested revisions; research regarding standard of review.




4/18/2011   HELLER, ROGER       Conference re appeal brief, review and revise the same, research for the        12.00   $475   $5,700.00
                                same; draft supporting papers and excerpts; instructions to J. Rudnick re
                                the same; conference with M. Sobol and A. Stocking re the same.

4/18/2011   RUDNICK, JENNIFER   Discuss excerpts of record project with R. Heller.                               0.10   $260     $26.00



4/18/2011   RUDNICK, JENNIFER   Prepare excerpts of record for filing with appeal brief.                         6.00   $260   $1,560.00
4/18/2011   SOBOL, MICHAEL         Case 3:07-cv-05923-WHA Document 638-2 Filed
                                Work on appellate brief.                    8.50 02/17/15
                                                                                    $750  Page    143 of 244
                                                                                           $6,375.00




4/18/2011   STOCKING, ALISON    Additional research related to standard of review and revision of that          14.00   $415   $5,810.00
                                section; cite check preemption section; suggest additional edits throughout
                                brief; work with M. Sobol and R. Heller to edit preemption section.

4/19/2011   ELIAS, JORDAN       Edit motion for word limit extension; review revised appellate opposition;       1.40   $475    $665.00
                                review and respond to emails from co-counsel re same.


4/19/2011   HELLER, ROGER       Correspondence re suggested edits to brief; conference re brief and related     14.00   $475   $6,650.00
                                documents; prepare and revise brief and related documents; instructions re
                                filing and excerpts; review exhibits and other excerpts.

4/19/2011   RUDNICK, JENNIFER   Prepare excerpts of record and index for filing with appeal brief.              11.00   $260   $2,860.00




4/19/2011   SOBOL, MICHAEL      Work on appellate response brief.                                                8.50   $750   $6,375.00




4/19/2011   STOCKING, ALISON    Update cite checks and suggested edits; propose edits and cuts to section       11.50   $415   $4,772.50
                                of brief discussing regulations; prepare motion to file oversize brief and
                                related documents; prepare motion to file under seal and related
                                documents; research and draft language addressing bank’s arguments
4/20/2011   ELIAS, JORDAN       Draft, edit and research appellate Opposition; confer with M. Sobol, R.          6.80   $475   $3,230.00
                                Heller and A. Stocking re same.


4/20/2011   HEIMANN, RICHARD    Review and revise opposition brief.                                              3.70   $875   $3,237.50



4/20/2011   HELLER, ROGER       Revise and finalize appeal brief, comments and incorporate comments,            10.50   $475   $4,987.50
                                prepare and finalize supporting documents, instructions re filing, service
                                and preparation of supporting documents.

4/20/2011   RUDNICK, JENNIFER   Prepare and finalize excerpts of record for appeal brief. Assist with            6.60   $260   $1,716.00
                                preparing copies of excerpts of record. Draft proof of service and letter to
                                the clerk.

4/20/2011   SOBOL, MICHAEL      Work on appellate response brief.                                                9.50   $750   $7,125.00



4/20/2011   STOCKING, ALISON    Meeting on plans for filing brief; gather materials for filing under seal and    9.70   $415   $4,025.50
                                motion for oversize brief; follow-up disclosure research; prepare addendum
                                of authorities for inclusion in brief; cite check UCL section of brief.



4/21/2011   HELLER, ROGER       Correspondence with J. Elias re appeal brief and related issues.                 0.50   $475    $237.50
4/22/2011   ELIAS, JORDAN           Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                             0.50 02/17/15 Page   144 of 244
                                Review Wells Fargo's opposition to motion for word limit extension; discuss
                                                                                     $475    $237.50
                                same with R. Heller; email re same; research re same.


4/22/2011   HELLER, ROGER       Correspondence re motion for additional pages.                                      0.40   $475      $190.00




4/27/2011   ELIAS, JORDAN       File reply brief in support of motion for page limit extension; confer with         1.10   $475      $522.50
                                team re same.


4/27/2011   HELLER, ROGER       Correspondence re reply on motion for larger brief, review draft of same and        0.50   $475      $237.50
                                comments re same.


5/12/2011   HELLER, ROGER       Draft certification and instructions to J. Rudnick re copies and filing, review     0.70   $475      $332.50
                                rules re same.


5/12/2011   RUDNICK, JENNIFER   Check appellate brief for accuracy to confim what was e-filed. Print and give       0.50   $260      $130.00
                                to Services for copies to submit to court.


5/13/2011   RUDNICK, JENNIFER   Prepare cover letter and send out copies of appellate brief to the court via        0.30   $260       $78.00
                                messenger.


7/18/2011   ELIAS, JORDAN       Email with M. Sobol re potential 28(j letter).                                      0.10   $475       $47.50



8/2/2011    ELIAS, JORDAN       Review and circulate Ninth Circuit opinion.                                         0.30   $475      $142.50




8/2/2011    STOCKING, ALISON    Review of recent relevant Ninth Circuit case law,.                                  0.40   $415      $166.00



8/11/2011   ELIAS, JORDAN       Telephone call with R. Heller; draft proposed Rule 28(j) letter; emails with        0.80   $475      $380.00
                                M. Sobol and R. Heller re appeal strategy.


8/11/2011   SOBOL, MICHAEL      Review FRAP 28(j) letter. E-mails re appellate briefing.                            1.00   $750      $750.00




                                                                                  Totals (Net of Reductions):     531.60          $254,319.50


                                                                                                   Reductions:     12.90            $8,013.00
                                    Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 145 of 244
                               LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                               WF Motion to Vacate and Remand (Arbitration)

Date        Timekeeper           Narrative                                                                    Hours     Billing Rate   Amount
5/24/2011   HELLER, ROGER        Review motion to remand, research re procedure for response, legal              3.00      $475        $1,425.00
                                 research and notes re the same; correspondence with team re the same;
                                 conference with A. Stocking re arguments and follow up research.



5/25/2011   HELLER, ROGER        Research re waiver and arbitration issues, correspondence re same and           2.00      $475         $950.00
                                 correspondence re extension of time for filing response.


5/26/2011   HELLER, ROGER        Draft motion for time extension, correspondence re same, instructions re        1.50      $475         $712.50
                                 filing same.


5/26/2011   HELLER, ROGER        Instructions to A. Stocking re research.                                        0.70      $475         $332.50




5/27/2011   HELLER, ROGER        Research re waiver, conference with M. Sobol re opposition to motion to         1.00      $475         $475.00
                                 vacate.


5/27/2011   SOBOL, MICHAEL       Attention to e-mail re motion to remand. Conference with Richard McCune         0.70      $750         $525.00
                                 re same.


5/27/2011   STOCKING, ALISON     Research related to waiver of motion to compel arbitration.                     2.50      $415        $1,037.50




5/29/2011   STOCKING, ALISON     Research related to waiver of motion to compel arbitration and prepare          6.00      $415        $2,490.00
                                 memorandum.


5/30/2011   SOBOL, MICHAEL       Attention to e-mails re motion to remand.                                       0.30      $750         $225.00




5/30/2011   STOCKING, ALISON     Research related to waiver of motion to compel arbitration and prepare          9.00      $415        $3,735.00
                                 memorandum.


5/31/2011   ELIAS, JORDAN        Telephone conference with M. Sobol and R. Heller re arbitration motion and      0.50      $475         $237.50
                                 related issues.


5/31/2011   HELLER, ROGER        Review memorandum re waiver, conference re same.                                0.60      $475         $285.00




6/1/2011    HELLER, ROGER        Review research re waiver, review transcript of hearing on arbitration          1.00      $475         $475.00
                                 motions from MDL.
6/3/2011    HELLER, ROGER        Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                          1.60 02/17/15 Page   146 of 244
                             Conference with M. Sobol re deadline for response, call with clerk re same,
                                                                                  $475    $760.00
                             draft notice of opposition to motion to remand, edits to same.


6/3/2011    SOBOL, MICHAEL   Work on opposition to motion to remand. Research for the same. Outline           1.50   $750   $1,125.00
                             opposition points. E-mail re same.


6/6/2011    HELLER, ROGER    Research re waiver and other issues re arbitration motion.                       1.50   $475    $712.50




6/6/2011    SOBOL, MICHAEL   Legal research re laches and arbitration.                                        1.00   $750    $750.00



6/7/2011    ELIAS, JORDAN    Discussion with M. Sobol and R. Heller re strategy for arbitration opposition.   0.30   $475    $142.50




6/7/2011    HELLER, ROGER    Research re waiver, late arbitration requests and other issues, conference       2.20   $475   $1,045.00
                             with team re opposition.


6/7/2011    SOBOL, MICHAEL   Arbitration research (laches).                                                   1.20   $750    $900.00




6/8/2011    ELIAS, JORDAN    Perform legal research for arbitration opposition; email with M. Sobol and R.    0.90   $475    $427.50
                             Heller re same.


6/10/2011   HELLER, ROGER    Research for opposition brief re: arbitration notes re outline and arguments     2.00   $475    $950.00
                             for same.


6/13/2011   HELLER, ROGER    Research and draft opposition to motion to remand.                               5.00   $475   $2,375.00



6/14/2011   HELLER, ROGER    Draft opposition to motion to vacate.                                            4.20   $475   $1,995.00




6/15/2011   HELLER, ROGER    Legal research and draft opposition brief.                                       5.00   $475   $2,375.00




6/16/2011   HELLER, ROGER    Draft opposition brief.                                                          4.50   $475   $2,137.50



6/16/2011   HELLER, ROGER    Review case law for opposition brief.                                            0.30   $475    $142.50




6/17/2011   ELIAS, JORDAN    Discuss arbitration appeal brief and strategy re same with M. Sobol and R.       5.20   $475   $2,470.00
                             Heller; draft, research, and edit section of opposition brief concerning
                             prejudice to the class; circulate same.
6/17/2011   HELLER, ROGER       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                         5.40 02/17/15 Page    147 of 244
                             Draft opposition brief, research re the same, conference with team re same.
                                                                                 $475   $2,565.00




6/19/2011   HELLER, ROGER    Draft opposition brief, research for the same.                                  7.00   $475   $3,325.00




6/20/2011   ELIAS, JORDAN    Draft, edit and research opposition to Wells Fargo's motion for arbitration;    6.20   $475   $2,945.00
                             confer with M. Sobol and R. Heller re same.


6/20/2011   HELLER, ROGER    Draft opposition brief, conference with team re same.                           6.50   $475   $3,087.50



6/20/2011   SOBOL, MICHAEL   Work on opposition to motion to remand. Conference and e-mails re same.         3.00   $750   $2,250.00
                             Legal research for same.


6/21/2011   ELIAS, JORDAN    Draft, edit and research opposition to Wells Fargo's motion for arbitration;    7.40   $475   $3,515.00
                             confer with M. Sobol and R. Heller re same.


6/21/2011   HELLER, ROGER    Research for opposition brief, conference with team re the same, review         3.00   $475   $1,425.00
                             revised brief, notes re the same.


6/21/2011   SOBOL, MICHAEL   Review and revise opposition to motion to remand.                               1.50   $750   $1,125.00



6/22/2011   ELIAS, JORDAN    Draft, edit and research opposition to Wells Fargo's motion for arbitration;    1.60   $475    $760.00
                             confer with M. Sobol and R. Heller re same.


6/22/2011   HELLER, ROGER    Research for opposition brief, conference with M. Sobol and arguments,          3.50   $475   $1,662.50
                             review draft and comments re the same.


6/22/2011   SOBOL, MICHAEL   Review and revise opposition to motion to remand.                               1.50   $750   $1,125.00




6/23/2011   ELIAS, JORDAN    Draft, edit and research opposition to Wells Fargo's motion for arbitration;    0.90   $475    $427.50
                             confer with M. Sobol and R. Heller re same.


6/23/2011   HELLER, ROGER    Research and edits to opposition brief, conference with J. Elias re the         5.00   $475   $2,375.00
                             same.


6/23/2011   SOBOL, MICHAEL   Review and revise opposition to motion to remand. E-mails and                   6.50   $750   $4,875.00
                             conferences re the same.


6/24/2011   ELIAS, JORDAN    Edit and research opposition to Wells Fargo's motion for arbitration; review.   0.80   $475    $380.00
6/24/2011   HELLER, ROGER          Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                            7.90 02/17/15 Page    148 of 244
                                Revise and review opposition brief, finalize the same and instructions re
                                                                                    $475   $3,752.50
                                filing.


6/24/2011   RUDNICK, JENNIFER   Cite check opposition to motion to vacate.                                      5.20   $260    $1,352.00




6/24/2011   SOBOL, MICHAEL      Review and revise opposition to motion to remand.                               6.00   $750    $4,500.00




7/11/2011   ELIAS, JORDAN       Review reply brief in support of arbitration motion; emails re same with M.     0.80   $475     $380.00
                                Sobol and R. Heller.



                                                                                Totals (Net of Reductions):   144.90          $73,039.50


                                                                                                Reductions:     0.30            $142.50
                                  Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 149 of 244
                             LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                    Appeal Sur-reply Brief (First Appeal)

Date        Timekeeper         Narrative                                                                       Hours          Billing Rate Amount
8/8/2011    HELLER, ROGER      Conference with M. Sobol and correspondence re timing of appellate                      0.50      $475         $237.50
                               briefing and possible request for time extension.


8/9/2011    ELIAS, JORDAN      Strategy discussion with M. Sobol and R. Heller re; Appeal Brief.                       0.80      $475         $380.00




8/9/2011    HELLER, ROGER      Review materials re waiver and futility arguments; update team re the                   2.20      $475        $1,045.00
                               same.


8/9/2011    SOBOL, MICHAEL     Conference re appellate briefing.                                                       1.00      $750         $750.00




8/10/2011   ELIAS, JORDAN      Emails with M. Sobol and R. Heller re appeal strategy.                                  0.60      $475         $285.00



8/10/2011   HELLER, ROGER      Correspondence and research re motion for more pages/time extension.                    0.60      $475         $285.00




8/10/2011   SOBOL, MICHAEL     Review materials re arbitration brief, emails re the same.                              1.20      $750         $900.00



8/11/2011   HELLER, ROGER      Call with J. Elias re possible stipulation on page limits and time extension,           1.00      $475         $475.00
                               call to procedural motion department re the same; call to David Jolley re
                               request for more words.

8/11/2011   HELLER, ROGER      Correspondence re possible letter re recent decisions.                                  0.30      $475         $142.50



8/15/2011   ELIAS, JORDAN      Study Wells Fargo's appellate reply brief; strategize re same with R. Heller;           5.20      $475        $2,470.00
                               study regulations and compose email summarizing same.


8/15/2011   HELLER, ROGER      Review Wells Fargo brief, conference with J. Elias re arbitration arguments             2.00      $475         $950.00
                               and related issues.


8/15/2011   SOBOL, MICHAEL     Review Wells Fargo appellate brief.                                                     1.50      $750        $1,125.00




8/16/2011   ELIAS, JORDAN      Draft, research, and edit appellate arbitration opposition; communications re           5.50      $475        $2,612.50
                               same with team.
8/16/2011   HELLER, ROGER        Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                          1.00 02/17/15 Page   150 of 244
                             Conference with J. Elias re response to arbitration issue, review draft re the
                                                                                  $475    $475.00
                             same, notes re the same.


8/17/2011   ELIAS, JORDAN    Draft, research, and edit appellate arbitration opposition.                      1.30   $475    $617.50




8/17/2011   HELLER, ROGER    Notes re arbitration argument.                                                   1.00   $475    $475.00




8/18/2011   HELLER, ROGER    Notes re arbitration argument, research re the same.                             1.80   $475    $855.00



8/19/2011   HELLER, ROGER    Research re arbitration argument, notes re argument.                             1.00   $475    $475.00




8/22/2011   ELIAS, JORDAN    Draft, edit and research appellate arbitration opposition; discuss same with     4.10   $475   $1,947.50
                             R. Heller.


8/22/2011   HELLER, ROGER    Review draft arbitration argument, conference with J. Elias re the same.         0.70   $475    $332.50




8/23/2011   ELIAS, JORDAN    Draft, edit and research appellate arbitration opposition.                       1.10   $475    $522.50



8/23/2011   HELLER, ROGER    Review draft of arbitration argument, research re the same.                      1.00   $475    $475.00




8/24/2011   ELIAS, JORDAN    Edit arbitration opposition brief; research re same.                             0.70   $475    $332.50



8/24/2011   HELLER, ROGER    Notes re arbitration argument.                                                   0.40   $475    $190.00




8/25/2011   ELIAS, JORDAN    Edit arbitration opposition brief; research re same.                             0.40   $475    $190.00




8/25/2011   HELLER, ROGER    Conference with J. elias re arbitration argument.                                0.20   $475     $95.00



8/26/2011   SOBOL, MICHAEL   Conference and e-mails re appellate briefing.                                    0.50   $750    $375.00




8/29/2011   ELIAS, JORDAN    Edit arbitration opposition.                                                     0.80   $475    $380.00
8/30/2011   HELLER, ROGER          Case 3:07-cv-05923-WHA Document 638-2 Filed
                               Conference re arbitration issues.            0.40 02/17/15
                                                                                    $475  Page   151 of 244
                                                                                            $190.00




9/6/2011    ELIAS, JORDAN      Research and edit appellate arbitration opposition.                             2.40   $475   $1,140.00




9/7/2011    ELIAS, JORDAN      Research and edit appellate arbitration opposition; communications with M.      3.50   $475   $1,662.50
                               Sobol re same.


9/7/2011    SOBOL, MICHAEL     Work on fourth appellate brief. Conference re the same.                         2.00   $750   $1,500.00



9/8/2011    ELIAS, JORDAN      Draft, edit, and research arbitration opposition; discuss same with R.          5.10   $475   $2,422.50
                               Heimann; emails with M. Sobol and R. Heller re same.


9/8/2011    HEIMANN, RICHARD   Review new cases re arbitration; research/analyze re brief.                     5.20   $875   $4,550.00




9/8/2011    HELLER, ROGER      Correspondence with team re waiver and other issues; conference with J.         1.40   $475    $665.00
                               Elias re the same, research re the same.


9/8/2011    SOBOL, MICHAEL     E-mails and work on fourth appellate brief. Review case law.                    1.50   $750   $1,125.00



9/9/2011    ELIAS, JORDAN      Draft, edit, and research arbitration opposition; emails with M. Sobol and R.   2.70   $475   $1,282.50
                               Heller re same.


9/9/2011    HELLER, ROGER      Research re arbitration issues, conference with J. Elias and                    1.60   $475    $760.00
                               correspondence re the same.


9/11/2011   ELIAS, JORDAN      Draft, edit, and research arbitration opposition; circulate same to R.          2.80   $475   $1,330.00
                               Heimann, M. Sobol, and R. Heller.


9/12/2011   ELIAS, JORDAN      Edit arbitration opposition.                                                    0.50   $475    $237.50




9/12/2011   HEIMANN, RICHARD   Review/revise brief; conference with M. Sobol and R. Heller.                    3.70   $875   $3,237.50



9/12/2011   HELLER, ROGER      Conference with M. Sobol and R. Heimann re arbitration argument, follow         2.20   $475   $1,045.00
                               up conference with M. sobol re the same, draft motion for time extension.


9/12/2011   SOBOL, MICHAEL     E-mails and conference re appellate brief. Work on the same.                    2.50   $750   $1,875.00
9/14/2011   SOBOL, MICHAEL         Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                            1.70 02/17/15
                               Work on arbitration issues for appellate brief.      $750  Page    152 of 244
                                                                                           $1,275.00




9/15/2011   ELIAS, JORDAN      Edit arbitration opposition.                                                1.40   $475    $665.00




9/16/2011   ELIAS, JORDAN      Edit arbitration opposition; discuss same with M. Sobol.                    0.80   $475    $380.00




9/19/2011   SOBOL, MICHAEL     Work on appellate brief.                                                    1.50   $750   $1,125.00



9/21/2011   ELIAS, JORDAN      Edit arbitration appellate opposition.                                      0.60   $475    $285.00




9/21/2011   SOBOL, MICHAEL     Review draft appeal brief.                                                  1.00   $750    $750.00




9/22/2011   ELIAS, JORDAN      Discuss arbitration appellate opposition.                                   0.70   $475    $332.50




9/23/2011   ELIAS, JORDAN      Edit and circulate arbitration appellate opposition.                        0.80   $475    $380.00



9/26/2011   ELIAS, JORDAN      Edit arbitration appellate opposition.                                      1.20   $475    $570.00




9/26/2011   HELLER, ROGER      Correspondence re arbitration issue.                                        0.50   $475    $237.50



9/27/2011   SOBOL, MICHAEL     Review appellate brief.                                                     2.00   $750   $1,500.00




9/28/2011   SOBOL, MICHAEL     Work on appellate brief. Conference with R. Heller and A. Stocking re the   2.50   $750   $1,875.00
                               same.


9/29/2011   STOCKING, ALISON   Correspond with Research regarding pulling decisions on motions to          0.30   $415    $124.50
                               compel arbitration.


10/4/2011   SOBOL, MICHAEL     Work on appeal brief.                                                       1.50   $750   $1,125.00




10/5/2011   ELIAS, JORDAN      Edit appellate arbitration opposition.                                      0.80   $475    $380.00
10/5/2011    HEIMANN, RICHARD      Case 3:07-cv-05923-WHA Document 638-2 Filed
                                Review/revise brief.                        1.20 02/17/15
                                                                                    $875  Page    153 of 244
                                                                                           $1,050.00




10/6/2011    HELLER, ROGER      Conference with M. Sobol and A. Stocking re arbitration.                         0.40   $475    $190.00




10/6/2011    SOBOL, MICHAEL     Work on appeal brief.                                                            2.00   $750   $1,500.00




10/6/2011    STOCKING, ALISON   Review of chart of decision addressing motion to compel arbitration and          0.50   $415    $207.50
                                correspondence with R. Heller and T. Carnam.


10/10/2011   SOBOL, MICHAEL     Work on appellate brief.                                                         1.00   $750    $750.00




10/11/2011   ELIAS, JORDAN      Edit appellate arbitration opposition.                                           0.40   $475    $190.00




10/11/2011   SOBOL, MICHAEL     Work on appellate brief.                                                         1.50   $750   $1,125.00




10/12/2011   ELIAS, JORDAN      Edit appellate arbitration opposition.                                           0.30   $475    $142.50



10/12/2011   SOBOL, MICHAEL     Work on appellate brief. Legal research for the same.                            4.00   $750   $3,000.00




10/12/2011   STOCKING, ALISON   Meeting with M. Sobol to discuss brief.                                          0.70   $415    $290.50



10/13/2011   HEIMANN, RICHARD   Conference with M. Sobol re brief.                                               0.40   $875    $350.00




10/13/2011   HELLER, ROGER      Conference with M. Sobol re brief, arbitration issues, review record for cites   2.50   $475   $1,187.50
                                for the same.


10/13/2011   SOBOL, MICHAEL     Legal research. Work on appellate brief. Conference with R. Heimann.             7.50   $750   $5,625.00



10/13/2011   STOCKING, ALISON   Research related to res judicata, law of the case, and other theories            5.40   $415   $2,241.00
                                supporting conclusion that cannot send case back for adjudication before
                                arbitrator after it has already been tried to final judgment in court.

10/14/2011   HELLER, ROGER      Draft sections of brief, conference with M. Sobol re the same.                   6.00   $475   $2,850.00
10/14/2011   SOBOL, MICHAEL        Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                            9.00 02/17/15 Page
                                Work on fourth appellate brief, legal research for the same.
                                                                                    $750          154 of 244
                                                                                           $6,750.00




10/16/2011   HELLER, ROGER      Revise and draft sections of brief.                                                7.50   $475   $3,562.50




10/16/2011   SOBOL, MICHAEL     Legal research, review and revise brief.                                           3.50   $750   $2,625.00




10/17/2011   HEIMANN, RICHARD   Review/revise Ninth Circuit brief; conference with M. Sobol.                       5.30   $875   $4,637.50



10/17/2011   HELLER, ROGER      Review and conference with M. Sobol re brief.                                      1.70   $475    $807.50




10/17/2011   SOBOL, MICHAEL     Review and revise appellate brief. Conference with R. Heimann re the               4.80   $750   $3,600.00
                                same.


10/17/2011   STOCKING, ALISON   Research related to theories that support conclusion that cannot send case         4.00   $415   $1,660.00
                                back for adjudication before arbitrator after it has already been tried to final
                                judgment in court.

10/18/2011   ELIAS, JORDAN      Meeting re arbitration opposition; follow up re same.                              2.60   $475   $1,235.00



10/18/2011   HEIMANN, RICHARD   Review/revise brief, research re same; team meeting re brief.                      3.90   $875   $3,412.50




10/18/2011   HELLER, ROGER      Conference with team re brief, conference with M. Sobol re the same,               3.00   $475   $1,425.00
                                research re the same.


10/18/2011   SOBOL, MICHAEL     Review and revise appellate brief. Conference with R. Heimann re the               6.50   $750   $4,875.00
                                same.


10/18/2011   STOCKING, ALISON   Meeting with R. Heimann, M. Sobol R. Heller regarding draft brief; research        5.50   $415   $2,282.50
                                related to res judicata, law of the case, and other theories that support
                                conclusion that cannot send case back for adjudication before arbitrator
                                after it has already been tried to final judgment in court; correspondence
                                with paralegals regarding relevant case chart; research related to estoppel.




10/19/2011   ELIAS, JORDAN      Follow up research re appellate arbitration opposition.                            0.30   $475    $142.50




10/19/2011   HEIMANN, RICHARD   Research re brief.                                                                 1.70   $875   $1,487.50
10/19/2011   HELLER, ROGER           Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                              6.30 02/17/15 Page
                                 Draft and revise sections of brief, team conference re brief.
                                                                                      $475          155 of 244
                                                                                             $2,992.50




10/19/2011   SOBOL, MICHAEL      Review and revise appellate brief. Legal research for the same.                 8.00   $750   $6,000.00




10/19/2011   STOCKING, ALISON    Research related to estoppel; prepare summary of research for litigation        7.20   $415   $2,988.00
                                 team; research related to contractual basis to deny motion to compel
                                 arbitration.

10/20/2011   HEIMANN, RICHARD    Review/revise brief.                                                            4.10   $875   $3,587.50



10/20/2011   HELLER, ROGER       Revise and conference re brief, research and review record for the same.        8.50   $475   $4,037.50




10/20/2011   RUDNICK, JENNIFER   Research to add to chart of information regarding motions to compel.            3.00   $260    $780.00




10/20/2011   SOBOL, MICHAEL      Review and revise appellate brief. Conference and e-mails re the same.          7.50   $750   $5,625.00
                                 Legal research.


10/20/2011   STOCKING, ALISON    Review decisions addressing motions to compel arbitration for listing in       15.50   $415   $6,432.50
                                 brief; update chart with notes regarding cases; prepare footnote listing
                                 cases; correspond with J. Rudnick about collecting information for footnote;
                                 meeting with R. Heimann, M. Sobol, R. Heller regarding draft brief.



10/21/2011   HEIMANN, RICHARD    Review/revise brief.                                                            6.50   $875   $5,687.50




10/21/2011   HELLER, ROGER       Revise and finalize brief and supporting papers, instructions re filing.       10.50   $475   $4,987.50



10/21/2011   RUDNICK, JENNIFER   Cite check appellate brief.                                                     3.40   $260    $884.00




10/21/2011   RUDNICK, JENNIFER   Cite check footnote for appellate brief and fill in missing information for     2.30   $260    $598.00
                                 same. Prepare exhibits for request for judicial notice.


10/21/2011   SOBOL, MICHAEL      Work on appellate brief. Legal research for the same. Attention to filing       6.00   $750   $4,500.00
                                 ancillary documents, brief filing.


10/21/2011   STOCKING, ALISON    Correspond with R. Heller and M. Sobol regarding footnote collecting            6.20   $415   $2,573.00
                                 cases; confirm details regarding certain cases in the list of cases included
                                 in the footnote; draft request for permission to file oversized brief and
                                 related certificate of compliance; draft request for judicial notice; gather
                                 documents related to request for judicial notice.
11/3/2011   RUDNICK, JENNIFER      Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                            0.70 02/17/15
                                Prepare and send copies of appellate brief to clerk.$260  Page   156 of 244
                                                                                            $182.00




                                                                                Totals (Net of Reductions):   282.00   $164,478.50


                                                                                              Reductions:       1.80      $713.00
                                      Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 157 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                               Oral Argument (First Appeal)

Date         Timekeeper            Narrative                                                                   Hours Billing Rate    Amount
10/25/2011   HEIMANN, RICHARD      Review case law.                                                             3.20     $875       $2,800.00




12/15/2011   HEIMANN, RICHARD      Review opinion re arbitration.                                               0.40     $875        $350.00




1/12/2012    SOBOL, MICHAEL        Review appellate briefing and record.                                        1.00     $775        $775.00



1/19/2012    SOBOL, MICHAEL        Review record.                                                               1.00     $775        $775.00




1/20/2012    SOBOL, MICHAEL        Correspondence re arbitration decisions. Review case law.                    1.00     $775        $775.00



3/26/2012    HEIMANN, RICHARD      Prepare for argument.                                                        1.20     $900       $1,080.00




3/27/2012    HEIMANN, RICHARD      Prepare for argument.                                                        1.20     $900       $1,080.00



4/6/2012     RUDNICK, JENNIFER     Save pleading to folders for attorney review to prepare for upcoming oral    0.80     $275        $220.00
                                   argument.


4/16/2012    SOBOL, MICHAEL        Prepare oral argument.                                                       2.00     $775       $1,550.00



4/19/2012    SOBOL, MICHAEL        Review appellate briefs.                                                     1.50     $775       $1,162.50




4/20/2012    SOBOL, MICHAEL        Review appellate briefs.                                                     1.50     $775       $1,162.50



4/23/2012    SOBOL, MICHAEL        Review case, conference re appeal issues.                                    2.00     $775       $1,550.00




4/24/2012    SOBOL, MICHAEL        Conference with E. Cabraser. Work on appeal argument preparation.            3.50     $775       $2,712.50
4/25/2012   SOBOL, MICHAEL            Case 3:07-cv-05923-WHA Document 638-2 Filed
                                   Prepare oral argument.                      4.00 02/17/15
                                                                                       $775  Page    158 of 244
                                                                                              $3,100.00




4/26/2012   SOBOL, MICHAEL         Prepare oral argument.                                                        2.00   $775   $1,550.00




4/27/2012   SOBOL, MICHAEL         Research preemption.                                                          2.00   $775   $1,550.00




4/29/2012   SOBOL, MICHAEL         Prepare oral argument.                                                        3.00   $775   $2,325.00



4/30/2012   HELLER, ROGER          Conference with M. Sobol re preparation for oral argument.                    2.00   $500   $1,000.00




4/30/2012   SOBOL, MICHAEL         Prepare oral argument.                                                        8.00   $775   $6,200.00




5/1/2012    ELIAS, JORDAN          Discussion with M. Sobol re preemption issues for purposes of preparing for   4.20   $490   $2,058.00
                                   oral argument; follow up re same.


5/1/2012    HELLER, ROGER          Conference with M. Sobol and N. Reynolds re preparation for oral              3.50   $500   $1,750.00
                                   argument.


5/1/2012    RUDNICK, JENNIFER      Pull case law for M. Sobol and save same on shared drive.                     0.50   $275    $137.50




5/1/2012    SOBOL, MICHAEL         Prepare for oral argument. Meetings re the same.                              7.00   $775   $5,425.00



5/1/2012    SUGNET, NICOLE DIANE   Assist with preparing for oral argument in Ninth Circuit.                     2.20   $375    $825.00




5/1/2012    SUGNET, NICOLE DIANE   Meet with M. Sobol and R. Heller re oral argument in Ninth Circuit.           1.30   $375    $487.50




5/1/2012    SUGNET, NICOLE DIANE   Meet with M. Sobol, R. Heller, and J. Elias re oral argument for appeal in    1.50   $375    $562.50
                                   Ninth Circuit.


5/2/2012    HELLER, ROGER          Conference with M. Sobol and N. Reynolds re preparation for oral              1.50   $500    $750.00
                                   argument.


5/2/2012    SOBOL, MICHAEL         Prepare oral argument.                                                        9.50   $775   $7,362.50
5/2/2012   SUGNET, NICOLE DIANE      Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                              7.00 02/17/15 Page    159 of 244
                                  Research preemption law to assist in preparing for oral argument in Ninth
                                                                                      $375   $2,625.00
                                  Circuit; meet with R. Heller and M. Sobol re oral argument.


5/3/2012   HELLER, ROGER          Conference with M. Sobol and N. Reynolds re preparation for oral              6.50   $500   $3,250.00
                                  argument.


5/3/2012   SOBOL, MICHAEL         Prepare oral argument. Legal research.                                        8.50   $775   $6,587.50




5/3/2012   SUGNET, NICOLE DIANE   Discuss oral argument with M. Sobol and R. Heller.                            3.20   $375   $1,200.00



5/3/2012   SUGNET, NICOLE DIANE   Prepare for oral argument by reviewing relevant case law                      2.40   $375    $900.00




5/4/2012   ELIAS, JORDAN          Legal research at the request of M. Sobol; confer with M. Sobol and R.        3.10   $490   $1,519.00
                                  Heller re Ninth Circuit argument.


5/4/2012   HELLER, ROGER          Conference with M. Sobol re preparation for oral argument.                    4.20   $500   $2,100.00




5/4/2012   RUDNICK, JENNIFER      Pull case law and save same to shared drive.                                  0.40   $275    $110.00



5/4/2012   SOBOL, MICHAEL         Prepare oral argument.                                                        8.50   $775   $6,587.50




5/4/2012   SUGNET, NICOLE DIANE   Outline oral argument re UCL and discuss panel of judges and argument         6.30   $375   $2,362.50
                                  with M. Sobol and R. Heller.


5/5/2012   SOBOL, MICHAEL         Prepare oral argument.                                                        4.00   $775   $3,100.00




5/6/2012   SOBOL, MICHAEL         Prepare oral argument.                                                        4.00   $775   $3,100.00




5/6/2012   SUGNET, NICOLE DIANE   Outline oral argument re UCL.                                                 7.00   $375   $2,625.00



5/7/2012   ELIAS, JORDAN          Legal research at the request of M. Sobol; confer with M. Sobol and R.        3.00   $490   $1,470.00
                                  Heller re Ninth Circuit argument; draft questions likely to come from panel


5/7/2012   HELLER, ROGER          Conference with M. Sobol re preparation for oral argument; research re        6.50   $500   $3,250.00
                                  same; outline re same.
5/7/2012   SOBOL, MICHAEL            Case 3:07-cv-05923-WHA Document 638-2 Filed
                                  Prepare oral argument.                     12.50 02/17/15
                                                                                      $775  Page    160 of 244
                                                                                             $9,687.50




5/7/2012   SUGNET, NICOLE DIANE   Discuss oral argument with M. Sobol and R. Heller.                         3.50   $375    $1,312.50




5/7/2012   SUGNET, NICOLE DIANE   Draft questions for oral argument.                                         0.40   $375     $150.00




5/7/2012   SUGNET, NICOLE DIANE   Edit UCL oral argument outline.                                            3.10   $375    $1,162.50



5/8/2012   ELIAS, JORDAN          Prepare M. Sobol for oral argument.                                        3.10   $490    $1,519.00




5/8/2012   HELLER, ROGER          Conference with M. Sobol re preparation for oral argument; research and    7.00   $500    $3,500.00
                                  outline for the same


5/8/2012   SOBOL, MICHAEL         Prepare oral argument.                                                    14.00   $775   $10,850.00




5/8/2012   SUGNET, NICOLE DIANE   Discuss oral argument with M. Sobol and R. Heller.                         1.90   $375     $712.50



5/8/2012   SUGNET, NICOLE DIANE   Draft questions in preparation for oral argument.                          6.50   $375    $2,437.50




5/9/2012   ELIAS, JORDAN          Prepare M. Sobol for oral argument                                         4.00   $490    $1,960.00



5/9/2012   HELLER, ROGER          Conference with M. Sobol and J. Elias re preparation for oral argument.    8.30   $500    $4,150.00




5/9/2012   SOBOL, MICHAEL         Prepare oral argument.                                                    10.00   $775    $7,750.00




5/9/2012   SUGNET, NICOLE DIANE   Draft summary of preemption cases facts and holdings in preparation for    5.00   $375    $1,875.00
                                  oral argument.


5/9/2012   SUGNET, NICOLE DIANE   Revised oral argument outline re UCL claims.                               0.50   $375     $187.50




5/9/2012   SUGNET, NICOLE DIANE   Research cases in preparation for oral argument.                           3.30   $375    $1,237.50
5/10/2012   ELIAS, JORDAN             Case 3:07-cv-05923-WHA Document 638-2 Filed
                                   Prepare M. Sobol for oral argument          2.30 02/17/15
                                                                                       $490  Page    161 of 244
                                                                                              $1,127.00




5/10/2012   HELLER, ROGER          Conference with M. Sobol re preparation for oral argument.                      8.00   $500   $4,000.00




5/10/2012   SOBOL, MICHAEL         Prepare oral argument.                                                         12.00   $775   $9,300.00




5/10/2012   SUGNET, NICOLE DIANE   Research relevant opinions rendered by panel judges in preparation for oral     2.00   $375    $750.00
                                   argument.


5/10/2012   SUGNET, NICOLE DIANE   Run through oral argument with M. Sobol, R. Heller, and J. Elias.               2.70   $375   $1,012.50




5/11/2012   ELIAS, JORDAN          Prepare M. Sobol for oral argument.                                             3.70   $490   $1,813.00




5/11/2012   SOBOL, MICHAEL         Prepare oral argument.                                                         12.00   $775   $9,300.00




5/11/2012   SUGNET, NICOLE DIANE   Ask questions to M. Sobol in preparation for oral argument with J. Elias and    2.50   $375    $937.50
                                   E. Santacana.


5/11/2012   SUGNET, NICOLE DIANE   Attend oral argument mock with M. Sobol, J. Elias, and E. Santacana.            2.00   $375    $750.00




5/11/2012   SUGNET, NICOLE DIANE   Research prior opinions of panel judges in preparation for oral argument.       3.40   $375   $1,275.00



5/12/2012   SOBOL, MICHAEL         Prepare oral argument.                                                         12.50   $775   $9,687.50




5/13/2012   HELLER, ROGER          Search record for cites for oral argument; correspond with M. Sobol re          1.80   $500    $900.00
                                   same.


5/13/2012   SOBOL, MICHAEL         Prepare oral argument.                                                         12.50   $775   $9,687.50



5/14/2012   ELIAS, JORDAN          Prepare M. Sobol for oral argument.                                             3.40   $490   $1,666.00




5/14/2012   HELLER, ROGER          Conference with M. Sobol re preparation for oral argument.                      5.00   $500   $2,500.00
5/14/2012   SOBOL, MICHAEL            Case 3:07-cv-05923-WHA Document 638-2 Filed
                                   Prepare for oral argument.                 11.00 02/17/15
                                                                                       $775  Page    162 of 244
                                                                                              $8,525.00




5/14/2012   SUGNET, NICOLE DIANE   Attend second run through of oral argument with M. Sobol, R. Heller, and J.       0.70   $375      $262.50
                                   Elias.


5/14/2012   SUGNET, NICOLE DIANE   Draft questions to M. Sobol in preparation for oral argument.                     1.90   $375      $712.50




5/14/2012   SUGNET, NICOLE DIANE   Research panel judges' prior arbitration cases.                                   0.70   $375      $262.50



5/14/2012   SUGNET, NICOLE DIANE   Run through oral argument with M. Sobol, R. Heller, and J. Elias.                 1.00   $375      $375.00




5/15/2012   HELLER, ROGER          Attend oral argument, post argument conference.                                   3.00   $500     $1,500.00




5/15/2012   SOBOL, MICHAEL         Prepare for oral argument; oral argument.                                         5.00   $775     $3,875.00




5/16/2012   SOBOL, MICHAEL         Conferences and emails re oral argument.                                          1.00   $775      $775.00



5/17/2012   HELLER, ROGER          Conference with M. Sobol re oral argument.                                        1.00   $500      $500.00




5/18/2012   HELLER, ROGER          Conference with M. Sobol and N. Reynolds re oral argument.                        0.50   $500      $250.00




                                                                                     Totals (Net of Reductions):   341.80          $212,097.00


                                                                                                   Reductions:      11.50            $4,517.50
                                        Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 163 of 244
                               LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                   Notice of Recent Authority (Pre-Oral Argument)

Date        Timekeeper              Narrative                                                                    Hours       Billing Rate   Amount
5/3/2012    SUGNET, NICOLE DIANE    Draft notice of recent authority.                                               0.90        $375         $337.50




5/3/2012    SUGNET, NICOLE DIANE    Research recent authority.                                                      2.30        $375         $862.50




5/7/2012    ELIAS, JORDAN           Review Wells Fargo's notice of supplemental authority.                          0.40        $490         $196.00



5/7/2012    SUGNET, NICOLE DIANE    Draft and edit notice of recent authority.                                      1.70        $375         $637.50




5/8/2012    HELLER, ROGER           Review and edits to recent authority letter and conference re same.             1.10        $500         $550.00



5/8/2012    SUGNET, NICOLE DIANE    Edit notice of recent authority                                                 1.00        $375         $375.00




5/9/2012    ELIAS, JORDAN           Edit notice of supplemental authority.                                          0.50        $490         $245.00



5/10/2012   ELIAS, JORDAN           Review Wells Fargo's FRAP 28(j) letter response.                                0.50        $490         $245.00




                                                                                   Totals (Net of Reductions):      8.40                    $3,448.50


                                                                                                   Reductions:           0                     $0.00
                                   Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 164 of 244
                             LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                            WF Notice of Recent Authority (Post-Oral Argument)

Date        Timekeeper          Narrative                                                                     Hours          Billing Rate Amount
6/29/2012   HELLER, ROGER       Review and draft response to supplemental authority letter, conference with           3.00      $500        $1,500.00
                                M. Sobol re same.



                                                                               Totals (Net of Reductions):            3.00                  $1,500.00


                                                                                              Reductions:               0                      $0.00
                                   Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 165 of 244
                              LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                      Ninth Circuit Opinion (First Appeal)

Date         Timekeeper         Narrative                                                                      Hours Billing Rate     Amount
12/26/2012   ELIAS, JORDAN      Study Ninth Circuit opinion; communications re the same with M. Sobol and       1.30     $490         $637.00
                                R. Heller.


12/26/2012   HELLER, ROGER      Review order, correspondence and confer with M. Sobol re same.                  4.00     $500        $2,000.00




12/26/2012   SOBOL, MICHAEL     Review Ninth Circuit decision affirming in part and reversing in part.          4.50     $775        $3,487.50



12/27/2012   HELLER, ROGER      Confer re opinion and related issues.                                           1.50     $500         $750.00




12/27/2012   SOBOL, MICHAEL     Correspondence re Ninth Circuit decision.                                       1.80     $775        $1,395.00



12/28/2012   HELLER, ROGER      Conference re opinon and related issues.                                        0.80     $500         $400.00




12/28/2012   SOBOL, MICHAEL     Review Ninth Circuit decision.                                                  1.00     $775         $775.00



1/3/2013     HELLER, ROGER      Correspondence re order and related issues.                                     0.30     $525         $157.50




1/3/2013     SOBOL, MICHAEL     Review Gutierrez decision.                                                      1.00     $800         $800.00




                                                                                 Totals (Net of Reductions):   16.20                $10,402.00


                                                                                                 Reductions:    0.40                  $150.00
                                      Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 166 of 244
                               LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                         Post-Remand CMC (First Removal)

Date        Timekeeper             Narrative                                                                     Hours     Billing Rate   Amount
1/2/2013    ELIAS, JORDAN          Confer with M. Sobol re strategy; follow up legal research.                      2.30      $490        $1,127.00




1/2/2013    HEIMANN, RICHARD       Meeting with M. Sobol re status.                                                 0.50      $925         $462.50




1/2/2013    SOBOL, MICHAEL         Conference with Richard McCune. Conference with R. Heller re                     1.70      $800        $1,360.00
                                   proceedings after mandate. E-mail to Sonya Winner re same.


2/11/2013   HEIMANN, RICHARD       Discussion with M. Sobol re strategy.                                            0.40      $925         $370.00




2/11/2013   HELLER, ROGER          Conference with M. Sobol re next steps, notes re the same.                       0.50      $525         $262.50



2/25/2013   SUGNET, NICOLE DIANE   Meet with M. Sobol and R. Heller re next steps in case.                          0.50      $415         $207.50




                                                                                   Totals (Net of Reductions):      5.90                  $3,789.50


                                                                                                 Reductions:        2.30                  $1,672.00
                                     Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 167 of 244
                              LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                       Petition for Rehearing (First Appeal)

Date       Timekeeper             Narrative                                                                     Hours Billing Rate   Amount
1/4/2013   HELLER, ROGER          Review and notes re order, conference rehearing petition.                      1.00     $525        $525.00




1/4/2013   SOBOL, MICHAEL         Legal research, work on petition for en banc review. Conference re same.       2.20     $800       $1,760.00




1/4/2013   SUGNET, NICOLE DIANE   Discuss filing petition for rehearing en banc with R. Heller and M. Sobol.     1.00     $415        $415.00



1/7/2013   ELIAS, JORDAN          Discussion of strategy and potential en banc petition with R. Heimann, M.      0.70     $490        $343.00
                                  Sobol and R. Heller; review draft en banc petition.


1/7/2013   HEIMANN, RICHARD       Review draft motion re en banc.                                                0.40     $925        $370.00



1/7/2013   HELLER, ROGER          Conference with M. Sobol and N. Reynolds re petition for rehearing, draft      6.50     $525       $3,412.50
                                  petition, correspondence re same.


1/7/2013   SOBOL, MICHAEL         Work on petition for rehearing en banc. Conference re the same.                2.80     $800       $2,240.00



1/7/2013   SUGNET, NICOLE DIANE   Research rules re petition for rehearing en banc; discuss with M. Sobol and    1.00     $415        $415.00
                                  R. Heller.


1/8/2013   HEIMANN, RICHARD       Review draft motion for re-hearing.                                            0.90     $925        $832.50



1/8/2013   HELLER, ROGER          Revisions to petition, conference with M. Sobol, R. Heimann and N.             4.20     $525       $2,205.00
                                  Reynolds re same, further revisions, conference with J. Elias re same.


1/8/2013   SOBOL, MICHAEL         Work on petition for rehearing.                                                2.50     $800       $2,000.00



1/8/2013   SUGNET, NICOLE DIANE   Discuss petition for rehearing en banc with M. Sobol, R. Heimann, and R.       0.50     $415        $207.50
                                  Heller.


1/8/2013   SUGNET, NICOLE DIANE   Review draft petition for rehearing en banc.                                   0.20     $415         $83.00
1/9/2013    HEIMANN, RICHARD           Case 3:07-cv-05923-WHA Document 638-2 Filed
                                   Review/revise petition for re-hearing.       0.90 02/17/15
                                                                                        $925  Page   168 of 244
                                                                                                $832.50




1/9/2013    HELLER, ROGER          Revise and petition for rehearing, conference with M. Sobol re same,              4.30   $525    $2,257.50
                                   correspondence and conference with N. Reynolds re same.


1/9/2013    RUDNICK, JENNIFER      Pull excerpts of record and e-mail same to R. Heller.                             0.10   $285      $28.50




1/9/2013    SOBOL, MICHAEL         Work on petition for rehearing. Conference with Richard McCune re the             3.70   $800    $2,960.00
                                   same.


1/9/2013    SUGNET, NICOLE DIANE   Discuss petition for rehearing with M. Sobol and R. Heller.                       0.50   $415     $207.50




1/9/2013    SUGNET, NICOLE DIANE   Discuss petition for rehearing with R. Heller; create certificate of              1.70   $415     $705.50
                                   compliance, proofread, finalize, and file.


1/10/2013   HELLER, ROGER          Review materials re appeal and petition for rehearing.                            1.00   $525     $525.00




                                                                                     Totals (Net of Reductions):    36.10          $22,325.00


                                                                                                      Reductions:    1.90           $1,055.00
                                     Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 169 of 244
                               LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                               Plaintiffs' Statement After Remand (First Remand)

Date        Timekeeper            Narrative                                                                     Hours       Billing Rate Amount
2/13/2013   HELLER, ROGER         Review materials re damages.                                                     0.40        $525         $210.00




2/15/2013   HELLER, ROGER         Gather materials and correspondence re damages.                                  0.50        $525         $262.50




2/19/2013   HELLER, ROGER         Draft statement re remand and conference with M. Sobol re the same.              7.00        $525        $3,675.00



2/19/2013   SOBOL, MICHAEL        Review mandate. Work on status conference statement.                             1.50        $800        $1,200.00




2/20/2013   HELLER, ROGER         Review and revise statement on remand, conference with M. Sobol re the           1.00        $525         $525.00
                                  same.


2/20/2013   SOBOL, MICHAEL        Review and revise plaintiffs' statement after remand.                            1.50        $800        $1,200.00




2/21/2013   HEIMANN, RICHARD      Review plaintiff statement post remand.                                          0.60        $925         $555.00



2/21/2013   HELLER, ROGER         Revisions to statement.                                                          0.30        $525         $157.50




2/22/2013   HELLER, ROGER         Review and edits to statement, cite check the same.                              1.30        $525         $682.50



2/25/2013   HELLER, ROGER         Review filing from Wells Fargo, correspondence with M. Sobol and follow          1.10        $525         $577.50
                                  up re the same.


2/25/2013   SOBOL, MICHAEL        Draft and file statement after remand. Review defendant's response.              0.70        $800         $560.00



2/26/2013   SOBOL, MICHAEL        Review order on statement after remand. Correspondence re the same.              0.70        $800         $560.00




                                                                                  Totals (Net of Reductions):     16.60                  $10,165.00


                                                                                                Reductions:             0                     $0.00
                                    Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 170 of 244
                               LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                     Post-Remand Strategy (First Remand)

Date        Timekeeper           Narrative                                                                      Hours Billing Rate Amount
2/26/2013   HELLER, ROGER        Correspondence re order and Case Management Conference.                         0.30    $525         $157.50




2/27/2013   HELLER, ROGER        Conference with M. Sobol and N. Reynolds re briefing schedule and related       2.80    $525        $1,470.00
                                 issues, call with David Jolley re the same, review record for relevant cites
                                 and correspondence re the same.

2/27/2013   SOBOL, MICHAEL       Work on post-remand issues; conference with David Jolley.                       1.50    $800        $1,200.00



2/28/2013   HELLER, ROGER        Call with opposing counsel re briefing schedule, conference with M. Sobol       0.90    $525         $472.50
                                 re the same, review proposed joint statement re the same.


2/28/2013   SOBOL, MICHAEL       Meet and confer with defense counsel re post remand schedule.                   0.70    $800         $560.00
                                 Correspondence re the same.


3/1/2013    SOBOL, MICHAEL       Correspondence re scheduling after remand. Revise stipulation re the            0.60    $800         $480.00
                                 same.


3/5/2013    HEIMANN, RICHARD     LCHB conference re hearing.                                                     0.50    $925         $462.50



3/5/2013    HELLER, ROGER        Conference with M. Sobol and R. Heimann re motion for relief on remand          3.00    $525        $1,575.00
                                 and case management conference, gather and review materials re the
                                 same.

3/6/2013    HEIMANN, RICHARD     Prepare for hearing.                                                            1.70    $925        $1,572.50



3/7/2013    HEIMANN, RICHARD     Hearing re remand.                                                              0.70    $925         $647.50




3/7/2013    HELLER, ROGER        Conference with M. Sobol and R. Heimann re Case Management                      3.50    $525        $1,837.50
                                 Conference. Attend Case Management Conference, conference with M.
                                 Sobol and Rich McCune re motion, review materials re the same.

                                                                                Totals (Net of Reductions):     16.20               $10,435.00


                                                                                                Reductions:      3.80                $1,122.00
                                       Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 171 of 244
                               LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                            Motion for Re-Entry of Judgment

Date        Timekeeper             Narrative                                                                      Hours Billing Rate    Amount
3/1/2013    HELLER, ROGER          Outline for brief re: post-remand relief.                                       0.60     $525        $315.00




3/4/2013    HELLER, ROGER          Draft motion re relief on remand, correspondence re the same.                   2.50     $525       $1,312.50




3/4/2013    SUGNET, NICOLE DIANE   Discuss post-appeal motion for judgment with R. Heller and M. Sobol.            0.50     $415        $207.50



3/5/2013    SUGNET, NICOLE DIANE   Research Judge Alsup's class certification orders in preparation for writing    2.00     $415        $830.00
                                   post-appeal motion.


3/6/2013    HELLER, ROGER          Notes re motion for judgment.                                                   1.00     $525        $525.00



3/8/2013    HELLER, ROGER          Draft motion, research and review record re the same.                           6.00     $525       $3,150.00




3/8/2013    SOBOL, MICHAEL         Work on post remand briefing.                                                   1.50     $800       $1,200.00



3/8/2013    SUGNET, NICOLE DIANE   Discuss UCL restitution measures with R. Heller in preparation for writing      1.00     $415        $415.00
                                   post-appeal motion for judgment.


3/9/2013    HELLER, ROGER          Draft motion, research and review record re the same.                           7.00     $525       $3,675.00



3/10/2013   HELLER, ROGER          Draft motion, research and review record re the same.                           8.00     $525       $4,200.00




3/11/2013   HELLER, ROGER          Draft motion, research and review record re the same, call with M. Sobol re    13.00     $525       $6,825.00
                                   the same.


3/11/2013   SOBOL, MICHAEL         Work on motion for re-entry of judgment.                                        4.50     $800       $3,600.00




3/11/2013   SUGNET, NICOLE DIANE   Conduct research re measure of restitution in UCL cases to support post-        4.00     $415       $1,660.00
                                   appeal motion for judgment.
3/12/2013   HEIMANN, RICHARD          Case 3:07-cv-05923-WHA Document 638-2 Filed
                                   Review/revise brief on remand.              0.90 02/17/15
                                                                                       $925  Page   172 of 244
                                                                                               $832.50




3/12/2013   HELLER, ROGER          Draft and revise motion for judgment, call with M. Sobol re the same.      6.50   $525   $3,412.50




3/12/2013   SOBOL, MICHAEL         Work on motion to re-enter judgment. Legal research re the same.           5.50   $800   $4,400.00




3/13/2013   HELLER, ROGER          Revise motion for judgment, correspondence re the same.                    8.00   $525   $4,200.00



3/13/2013   SOBOL, MICHAEL         Work on motion for re-entry of judgment.                                   1.50   $800   $1,200.00




3/14/2013   HEIMANN, RICHARD       Review/revise brief on remand.                                             1.30   $925   $1,202.50




3/14/2013   HELLER, ROGER          Revise and finalize motion for judgment, conference with M. Sobol and M.   9.50   $525   $4,987.50
                                   Pilotin re the same, review and correspondence re research on entry of
                                   judgment, post judgment interest, instructions re filing he same.

3/14/2013   PILOTIN, MARC          Confer with M. Sobol and R. Heller regarding research assignments; draft   3.70   $395   $1,461.50
                                   memorandum on post-judgment interest; legal research on damages.


3/14/2013   SOBOL, MICHAEL         Work on motion for re-entry of judgment.                                   8.50   $800   $6,800.00




3/15/2013   HELLER, ROGER          Conference re motion for judgment and related issues.                      0.40   $525    $210.00



3/15/2013   RUDNICK, JENNIFER      Send chambers copies of brief to judge.                                    0.30   $285     $85.50




3/15/2013   SOBOL, MICHAEL         Review brief for entry of judgment. Correspondence re the same.            0.70   $800    $560.00




3/19/2013   SOBOL, MICHAEL         Research re 17200 restitution measure.                                     1.00   $800    $800.00



3/20/2013   SOBOL, MICHAEL         Conference and research re measure of restitution.                         1.00   $800    $800.00




3/20/2013   SUGNET, NICOLE DIANE   Respond to M. Sobol's emails re research.                                  0.10   $415     $41.50
3/21/2013   SOBOL, MICHAEL            Case 3:07-cv-05923-WHA Document 638-2 Filed
                                   Measurement of restitution research.        1.20 02/17/15
                                                                                       $800  Page   173 of 244
                                                                                               $960.00




3/21/2013   SUGNET, NICOLE DIANE   Meeting with R. Heller and M. Sobol re strategy regarding reply brief in      1.00   $415    $415.00
                                   support of motion for post-appeal judgment.


3/22/2013   HELLER, ROGER          Conference with M. Sobol and N. Reynolds re research and record               0.50   $525    $262.50
                                   searches.


3/25/2013   HELLER, ROGER          Conference with M. Sobol re outstanding issues re reply brief.                1.00   $525    $525.00



3/25/2013   SOBOL, MICHAEL         Review transcript, legal research, re restitution.                            1.50   $800   $1,200.00




3/26/2013   SOBOL, MICHAEL         Review case law re measurement of restitution under UCL.                      1.50   $800   $1,200.00




3/27/2013   HELLER, ROGER          Research re UCL restitution.                                                  0.50   $525    $262.50




3/27/2013   SOBOL, MICHAEL         Legal research re restitution.                                                1.00   $800    $800.00



3/28/2013   HELLER, ROGER          Research re UCL restitution.                                                  2.50   $525   $1,312.50




3/28/2013   SOBOL, MICHAEL         Legal research.                                                               0.60   $800    $480.00



3/29/2013   HELLER, ROGER          Research re UCL restitution.                                                  1.00   $525    $525.00




4/1/2013    SOBOL, MICHAEL         Review UCL case law. Review findings of fact, review proposed findings.       4.00   $800   $3,200.00




4/2/2013    HELLER, ROGER          Conference with M. Sobol and M. Pilotin re UCL restitution, research re the   2.00   $525   $1,050.00
                                   same.


4/2/2013    PILOTIN, MARC          Confer with M. Sobol and R. Heller regarding research.                        0.80   $395    $316.00




4/2/2013    SOBOL, MICHAEL         Review case law.                                                              3.50   $800   $2,800.00




4/3/2013    HELLER, ROGER          Conference with M. Sobol re UCL restitution and motion for judgment           3.50   $525   $1,837.50
                                   issues, research re the same.
4/3/2013   SOBOL, MICHAEL             Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                               3.80 02/17/15 Page    174 of 244
                                  Legal research re Supreme Court decision. Research re UCL restitution.
                                                                                       $800   $3,040.00




4/4/2013   HELLER, ROGER          Research and notes re record and Wells Fargo arguments at trial, review          6.40   $525   $3,360.00
                                  and notes re Wells Fargo opposition brief, conference with N. Reynolds re
                                  the same, call with M. Sobol re the same.

4/4/2013   PILOTIN, MARC          Review opposition to motion for entry of judgment.                               0.50   $395    $197.50




4/4/2013   SOBOL, MICHAEL         Review opposition to motion to re-enter judgment.                                1.00   $800    $800.00



4/4/2013   SUGNET, NICOLE DIANE   Review defendant's opposition for motion for judgment after remand;              2.00   $415    $830.00
                                  discuss with R. Heller.


4/5/2013   HELLER, ROGER          Review record for reply brief, conference with M. Sobol re the same, team        5.00   $525   $2,625.00
                                  meeting re reply brief.


4/5/2013   PILOTIN, MARC          Meeting with M. Sobol, R. Heller, and N. Reynolds regarding reply in             1.60   $395    $632.00
                                  support of motion for judgment; meeting with N. Reynolds regarding briefing
                                  assignments; read Wells Fargo's opposition to plainitffs' motion for
                                  judgment following remand.
4/5/2013   SOBOL, MICHAEL         Review opposition to motion to re-enter judgment. Conference re the same.        5.00   $800   $4,000.00




4/5/2013   SUGNET, NICOLE DIANE   Discuss reply in support of motion for judgment after remand with M. Pilotin,    1.50   $415    $622.50
                                  R. Heller, and M. Sobol.


4/5/2013   SUGNET, NICOLE DIANE   Write outline for UCL section of reply in support of motion for judgment after   1.50   $415    $622.50
                                  remand.


4/6/2013   HELLER, ROGER          Review materials and notes re the same, correspondence with M. Sobol re          2.20   $525   $1,155.00
                                  the same.


4/6/2013   SOBOL, MICHAEL         Review opposition to motion to re-enter judgment.                                1.00   $800    $800.00




4/6/2013   SUGNET, NICOLE DIANE   Draft portion of reply in support of motion for judgment after remand.           8.20   $415   $3,403.00




4/7/2013   HELLER, ROGER          Draft sections of reply brief.                                                   5.50   $525   $2,887.50




4/7/2013   PILOTIN, MARC          Review defendants' arguments regarding entry of injunction; draft section of     1.20   $395    $474.00
                                  reply regarding injunctive relief.
4/7/2013    SUGNET, NICOLE DIANE       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                                4.00 02/17/15 Page
                                   Draft section of reply in support of motion for judgment on remand.
                                                                                        $415          175 of 244
                                                                                               $1,660.00




4/8/2013    HELLER, ROGER          Conference with M. Sobol re brief and correspondence re the same, draft         6.20   $525   $3,255.00
                                   sections of brief, review record re the same.


4/8/2013    PILOTIN, MARC          Draft section regarding injunctive relief for reply in support of motion for    3.70   $395   $1,461.50
                                   entry of judgment.


4/8/2013    SOBOL, MICHAEL         Work on reply in support of motion to re-enter judgment. Legal research for     7.00   $800   $5,600.00
                                   the same. review record for the same.


4/8/2013    SUGNET, NICOLE DIANE   Draft section of reply in support of motion for judgment on remand.             4.70   $415   $1,950.50




4/9/2013    HELLER, ROGER          Draft sections of reply brief, conference and correspondence re the same,       9.00   $525   $4,725.00
                                   review and revise UCL restitution section, review materials for the same.


4/9/2013    SOBOL, MICHAEL         Work on reply in support of motion to re-enter judgment. Legal research for     7.00   $800   $5,600.00
                                   the same. Review record for the same.


4/9/2013    SUGNET, NICOLE DIANE   Draft reply in support of motion for judgment on remand.                        9.20   $415   $3,818.00



4/10/2013   HELLER, ROGER          Review and revise sections of reply brief, research for same, conference       10.00   $525   $5,250.00
                                   with M. Sobol and N. Reynolds re the same.


4/10/2013   SOBOL, MICHAEL         Work on reply in support of motion to re-enter judgment. Legal research,        9.00   $800   $7,200.00
                                   draft the same.


4/10/2013   SUGNET, NICOLE DIANE   Discuss reply in support of motion for judgment on remand with M. Sobol         0.50   $415    $207.50
                                   and R. Heller.


4/10/2013   SUGNET, NICOLE DIANE   Research record for evidence in support of reply in support of motion for       8.00   $415   $3,320.00
                                   judgment on remand and continue drafting and editing reply.


4/11/2013   HEIMANN, RICHARD       Review/revise brief.                                                            3.60   $925   $3,330.00



4/11/2013   HELLER, ROGER          Review and finalize reply brief, conference with team re the same,              7.50   $525   $3,937.50
                                   correspondence re the same, research re the same.


4/11/2013   SOBOL, MICHAEL         Work on reply in support of entry of judgment.                                  7.50   $800   $6,000.00
4/11/2013   SUGNET, NICOLE DIANE      Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                               0.50 02/17/15 Page   176 of 244
                                   Discuss reply in support of motion for judgment on remand with M. Sobol
                                                                                       $415    $207.50
                                   and R. Heller.


4/11/2013   SUGNET, NICOLE DIANE   Revise, finalize, and file reply in support of motion for judgment on remand.   6.50   $415   $2,697.50




4/12/2013   HELLER, ROGER          Conference with M. Sobol re reply brief and prepare for hearing, review         1.00   $525    $525.00
                                   materials re the same.


4/12/2013   SOBOL, MICHAEL         Review motion papers.                                                           0.50   $800    $400.00



4/24/2013   SOBOL, MICHAEL         Research.                                                                       0.50   $800    $400.00




4/25/2013   SOBOL, MICHAEL         Research for hearing. Conference with R. Heimann.                               0.80   $800    $640.00




4/26/2013   HELLER, ROGER          Conference with M. Sobol and N. Reynolds re preparation for hearing, notes      1.10   $525    $577.50
                                   re the same.


4/26/2013   SOBOL, MICHAEL         Conference and research re argument for hearing.                                1.50   $800   $1,200.00



4/26/2013   SUGNET, NICOLE DIANE   Meet re upcoming hearing.                                                       0.20   $415     $83.00




4/29/2013   HEIMANN, RICHARD       Prepare for hearing.                                                            2.30   $925   $2,127.50



4/29/2013   HELLER, ROGER          Prepare for hearing preparation, conference with M. Sobol and N. Reynolds       9.50   $525   $4,987.50
                                   re the same.


4/29/2013   SOBOL, MICHAEL         Work on materials to prepare for hearing.                                       2.50   $800   $2,000.00




4/29/2013   SUGNET, NICOLE DIANE   Discuss hearing on motion for judgment after remand with M. Sobol and R.        1.00   $415    $415.00
                                   Heller.


4/30/2013   HEIMANN, RICHARD       Prepare for hearing.                                                            4.20   $925   $3,885.00




4/30/2013   HELLER, ROGER          Prepare materials and conference with M. Sobol and R. Heimann in                6.50   $525   $3,412.50
                                   preparation for hearing, review filings.
4/30/2013   RUDNICK, JENNIFER         Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                               4.00 02/17/15 Page    177 of 244
                                   Pull documents for attorney review to prepare for hearing re motion for entry
                                                                                       $285   $1,140.00
                                   of judgment after remand.


4/30/2013   SOBOL, MICHAEL         Work on argument on motion to enter judgment.                                     4.00   $800     $3,200.00




5/1/2013    HEIMANN, RICHARD       Hearing on motion.                                                                4.20   $925     $3,885.00




5/1/2013    HELLER, ROGER          Prepare for hearing, conference with M. Sobol and R. Heimann re the               8.00   $525     $4,200.00
                                   same, prepare materials for the same.


5/1/2013    RUDNICK, JENNIFER      Pull documents and prepare binders for hearing re motion for entry of             3.00   $285      $855.00
                                   judgment after remand.


5/1/2013    SOBOL, MICHAEL         Prepare materials for hearing on motion to re-enter judgment.                     5.00   $800     $4,000.00




5/2/2013    HELLER, ROGER          Attend hearing on motion for judgment, conference re the same.                    5.00   $525     $2,625.00




5/2/2013    HELLER, ROGER          Conference with M. Sobol and N. Reynolds re hearing.                              0.50   $525      $262.50



5/2/2013    SOBOL, MICHAEL         Hearing on motion to re-enter judgment.                                           5.00   $800     $4,000.00




5/2/2013    SUGNET, NICOLE DIANE   Discuss hearing on motion for judgment after remand with M. Sobol and R.          0.30   $415      $124.50
                                   Heller.


5/14/2013   HELLER, ROGER          Review order reinstating judgment and correspondence and conference re            1.20   $525      $630.00
                                   the same.


5/14/2013   SOBOL, MICHAEL         Review order reinstating judgment, correspondence re the same.                    1.50   $800     $1,200.00




5/14/2013   SUGNET, NICOLE DIANE   Review order on judgment after remand; discuss with M. Sobol and R.               0.50   $415      $207.50
                                   Heller.


5/15/2013   HEIMANN, RICHARD       Review order.                                                                     0.90   $925      $832.50




                                                                                   Totals (Net of Reductions):     351.60          $209,538.50
Case 3:07-cv-05923-WHA Document 638-2 Filed
                             Reductions: 5.70 02/17/15 Page    178 of 244
                                                        $2,307.00
                                  Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 179 of 244
                             LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                       Joint Recommendation #2 (2013)

Date        Timekeeper         Narrative                                                                      Hours Billing Rate    Amount
5/15/2013   HELLER, ROGER      Conference re order and next steps, research and review prior orders.           3.90     $525       $2,047.50




5/15/2013   SOBOL, MICHAEL     Review order reinstating judgment. Review pleadings and case file re            2.00     $800       $1,600.00
                               distribution, notice plans. Conference re the same.


5/16/2013   HELLER, ROGER      Research and prepare joint recommendation sections, conference re the           4.00     $525       $2,100.00
                               same.


5/17/2013   HELLER, ROGER      Draft joint recommendations sections, conference with M. Sobol re the           3.00     $525       $1,575.00
                               same, research for the same.


5/17/2013   SOBOL, MICHAEL     Work on joint recommendation after re-entry of judgment. Conference and         2.50     $800       $2,000.00
                               correspondence re the same.


5/20/2013   HELLER, ROGER      Draft joint recommendation, conference with M. Sobol and research re the        1.20     $525        $630.00
                               same.


5/20/2013   SOBOL, MICHAEL     Correspondence re distribution and notice. Confer with administrators re the    2.80     $800       $2,240.00
                               same. Work on the same.


5/21/2013   HELLER, ROGER      Revise joint recommendation, correspondence and conference with M.              2.00     $525       $1,050.00
                               Sobol re same.


5/21/2013   SOBOL, MICHAEL     Work on post judgment filings. Conference and e-mails re the same.              3.30     $800       $2,640.00



5/22/2013   HELLER, ROGER      Revise and confer re joint recommendation, prepare for meet and confer          6.20     $525       $3,255.00
                               call, meet and confer re joint recommendation, draft proposed notice, draft
                               proposed judgment.

5/22/2013   SOBOL, MICHAEL     Revise joint recommendation after remand. Conference with with Wells            5.00     $800       $4,000.00
                               Fargo counsel re the same. Research for the same.


5/23/2013   HELLER, ROGER      Conference and call with M. Sobol re joint recommendation and related           8.00     $525       $4,200.00
                               papers, call with Richard McCune re same, draft papers.


5/23/2013   SOBOL, MICHAEL     Work on post remand filings. Conference re the same. Conference with            3.00     $800       $2,400.00
                               notice providers, administrators. Correspondence re the same.
5/24/2013   HELLER, ROGER       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                         3.00 02/17/15
                             Edits to joint recommendation and corresponding documents,
                                                                                 $525  Page    180 of 244
                                                                                        $1,575.00
                             correspondence re same.


5/24/2013   SOBOL, MICHAEL   Review and revise joint recommendation after remand, class notice,          3.70   $800   $2,960.00
                             website content, form of judgment.


5/25/2013   SOBOL, MICHAEL   Work on post trial case management statement, conference and e-mails re     1.50   $800   $1,200.00
                             the same.


5/28/2013   HELLER, ROGER    Revise joint recommendation and review and revise related documents,        2.40   $525   $1,260.00
                             correspondence re the same, conference with M. Sobol re the same.


5/29/2013   HELLER, ROGER    Prepare for meet and confer call re joint recommendation.                   0.30   $525    $157.50




5/30/2013   HELLER, ROGER    Prepare for call, pre-call with Richard McCune, meet and confer re joint    2.30   $525   $1,207.50
                             recommendation and related issues, notes re the same.


5/31/2013   HELLER, ROGER    Update M. Sobol re call with opposing counsel, read notes re same.          1.00   $525    $525.00




6/3/2013    HELLER, ROGER    Conference with M. Sobol re joint recommendation and related issues,        1.00   $525    $525.00
                             correspondence re the same, review materials re the same.


6/3/2013    SOBOL, MICHAEL   Conference with R. Heller re post judgment procedure.                       1.00   $800    $800.00




6/4/2013    HELLER, ROGER    Correspondence re joint recommendation.                                     0.30   $525    $157.50



6/4/2013    SOBOL, MICHAEL   Review redline of joint recommendation, correspondence.                     1.00   $800    $800.00




6/5/2013    HELLER, ROGER    Conference with M. Sobol re joint recommendation and related papers,        4.00   $525   $2,100.00
                             review redlines from Wells Fargo and notes re the same, draft response
                             portions.

6/5/2013    SOBOL, MICHAEL   Research re notice. Review and revise draft joint recommendation.           1.20   $800    $960.00



6/6/2013    HELLER, ROGER    Prepare for call with opposing counsel, revise papers, conference with M.   3.80   $525   $1,995.00
                             sobol re the same, conference with M. Sobol and P. Nguyen re research,
                             research notice issues.

6/6/2013    SOBOL, MICHAEL   Work on joint recommendation. Meet and confer with Emily Henn, David        2.00   $800   $1,600.00
                             Jolley. Research re notice; conference with R. Heller, P. Nguyen re same.
6/7/2013    HELLER, ROGER       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                         4.50 02/17/15 Page    181 of 244
                             Revise joint recommendation and proposed notice, conference re the same,
                                                                                 $525   $2,362.50
                             call with consultant re notice issues, research re the same, correspondence
                             with P. Nguyen re the same.

6/7/2013    SOBOL, MICHAEL   Work on pleadings re post judgment procedure. Conference with                 2.00   $800   $1,600.00
                             administrator re notice, research re same.


6/8/2013    HELLER, ROGER    Correspondence with M. Sobol re joint recommendation, edits to the same.      0.80   $525    $420.00




6/10/2013   ELIAS, JORDAN    Confer with M. Sobol re entry of judgment.                                    0.10   $490     $49.00



6/10/2013   HELLER, ROGER    Review and revise joint recommendation and related papers, conference         2.00   $525   $1,050.00
                             with M. Sobol re the same.


6/10/2013   SOBOL, MICHAEL   Work on joint recommendation, notice, form of judgment. Correspondence        2.00   $800   $1,600.00
                             and conference re same.


6/11/2013   ELIAS, JORDAN    Confer with R. Heller re entry of judgment.                                   0.10   $490     $49.00




6/11/2013   HELLER, ROGER    Correspondence re joint recommendation.                                       0.30   $525    $157.50



6/11/2013   SOBOL, MICHAEL   Review and revise post judgment pleadings.                                    1.20   $800    $960.00




6/12/2013   HELLER, ROGER    Prepare for call with opposing counsel, call with opposing counsel,           2.50   $525   $1,312.50
                             conference with M. Sobol, draft proposed post-trial case management
                             order.

6/12/2013   SOBOL, MICHAEL   Review post-judgment filings. Prepare for meet and confer.                    2.20   $800   $1,760.00




6/13/2013   HELLER, ROGER    Notes re joint recommendation.                                                0.40   $525    $210.00



6/13/2013   SOBOL, MICHAEL   Review and revise post judgment notice plan, correspondence re same.          1.00   $800    $800.00



6/14/2013   HELLER, ROGER    Correspondence and notes re joint recommendation, revise proposed             1.00   $525    $525.00
                             notice.


6/14/2013   SOBOL, MICHAEL   Review Wells Fargo proposed edits to post-judgment pleadings.                 1.00   $800    $800.00
6/17/2013   HELLER, ROGER       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                         4.00 02/17/15 Page
                             Review and notes re Wells Fargo redline, conference with M. Sobol,
                                                                                 $525          182 of 244
                                                                                        $2,100.00
                             revisions to joint recommendation and corresponding documents, research
                             re FRCP 58, correspondence re documents.

6/17/2013   SOBOL, MICHAEL   Review and revise joint recommendation; judgment, notice, and case             2.50   $800    $2,000.00
                             management order. Conference with R. Heller re same, correspondence re
                             same.

6/18/2013   HELLER, ROGER    Notes re joint recommendation.                                                 0.30   $525     $157.50




6/19/2013   HELLER, ROGER    Review Wells Fargo edits, conference with M. Sobol re the same, finalize       1.50   $525     $787.50
                             documents for filing.


6/19/2013   SOBOL, MICHAEL   Correspondence re post-judgment filings.                                       1.00   $800     $800.00




6/20/2013   HELLER, ROGER    Finalize documents for filing, correspondence re the same, instructions re     2.00   $525    $1,050.00
                             filing.


6/20/2013   SOBOL, MICHAEL   Attention to filing joint recommendation; correspondence re same. Review       0.50   $800     $400.00
                             same.



                                                                            Totals (Net of Reductions):   108.30          $68,510.50


                                                                                            Reductions:     8.70           $2,906.00
                                  Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 183 of 244
                             LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                Strategy re Appeal #2

Date        Timekeeper         Narrative                                                                   Hours Billing Rate    Amount
5/15/2013   SOBOL, MICHAEL     Conference re potential appeal issues.                                       1.00     $800        $800.00




5/16/2013   SOBOL, MICHAEL     Conference, correspondence and review case file re preparing for             2.50     $800       $2,000.00
                               proceedings upon re-entry of judgment.


6/11/2013   SOBOL, MICHAEL     Review appeal of injunction. Conferences and correspondence re same.         1.30     $800       $1,040.00



6/12/2013   ELIAS, JORDAN      Discuss case strategy with R. Heller.                                        0.30     $490        $147.00




7/10/2013   SOBOL, MICHAEL     Correspondence re injunction appeal. Research and conference re same.        1.00     $800        $800.00




                                                                             Totals (Net of Reductions):    6.10                $4,787.00


                                                                                            Reductions:     0.60                 $495.00
                                     Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 184 of 244
                                LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                       Appeal Transcript Designation (2013)

Date        Timekeeper            Narrative                                                                  Hours Billing Rate    Amount
7/8/2013    HELLER, ROGER         Research and correspondence re transcript ordering, conference with M.      0.90     $525        $472.50
                                  Sobol re the same.


9/5/2013    HELLER, ROGER         Correspondence re transcript ordering.                                      0.30     $525        $157.50




9/19/2013   HELLER, ROGER         Prepare transcript order.                                                   1.00     $525        $525.00



9/20/2013   HELLER, ROGER         Instructions re ordering transcripts.                                       0.60     $525        $315.00




9/20/2013   RUDNICK, JENNIFER     Prepare and send chambers copies to judge.                                  0.30     $285         $85.50




                                                                               Totals (Net of Reductions):    3.10                $1,555.50


                                                                                              Reductions:     0.40                 $210.00
                                     Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 185 of 244
                                LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                        WF Motion to Stay Execution (2013)

Date        Timekeeper            Narrative                                                                      Hours Billing Rate    Amount
8/9/2013    SOBOL, MICHAEL        Conference re bond pending appeal.                                              0.20     $800        $160.00




8/12/2013   HELLER, ROGER         Conference with M. Sobol re response to motion for stay without bond, draft     1.10     $525        $577.50
                                  response, review edits to the same.


8/13/2013   RUDNICK, JENNIFER     Prepare and send chambers copies to judge.                                      0.30     $285         $85.50



8/14/2013   SOBOL, MICHAEL        Review reply on motion to stay judgment.                                        0.30     $800        $240.00




8/16/2013   SOBOL, MICHAEL        Review order re stay of execution on judgment.                                  0.40     $800        $320.00




                                                                                   Totals (Net of Reductions):    2.30                $1,383.00


                                                                                                 Reductions:         0                   $0.00
                                  Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 186 of 244
                             LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                  Motion to Consolidate (Second Appeal)

Date        Timekeeper         Narrative                                                                      Hours Billing Rate    Amount
8/14/2013   SOBOL, MICHAEL     Conference and correspondence re appellate schedule.                            0.30     $800        $240.00




8/15/2013   HELLER, ROGER      Call with Emily Henn re consolidating appeals, conference with M. Sobol re      1.00     $525        $525.00
                               the same, review materials re the same.


8/16/2013   HELLER, ROGER      Call with Emily Henn re consolidation and scheduling, follow up re the          0.60     $525        $315.00
                               same.


8/19/2013   HELLER, ROGER      Revise joint motion to consolidate and correspondence re schedule.              1.00     $525        $525.00




8/19/2013   SOBOL, MICHAEL     Correspondence re appellate briefing schedule.                                  0.30     $800        $240.00



8/23/2013   HELLER, ROGER      Correspondence re appelate scheduling.                                          0.20     $525        $105.00




8/23/2013   SOBOL, MICHAEL     Correspondence re appellate consolidation.                                      0.20     $800        $160.00




                                                                                Totals (Net of Reductions):    3.60                $2,110.00


                                                                                              Reductions:         0                   $0.00
                                     Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 187 of 244
                                LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                              Notice of Cross-Appeal (2013)

Date        Timekeeper            Narrative                                                                     Hours Billing Rate    Amount
8/28/2013   HELLER, ROGER         Research rules and draft notice of cross-appeal and related papers,            0.90     $525        $472.50
                                  conference with M. sobol re the same.


8/29/2013   HELLER, ROGER         Finalize notice of cross appeal and related papers, research for the same,     1.40     $525        $735.00
                                  instructions to J. Rudnick re the same.


8/30/2013   HELLER, ROGER         Instructions re filing notice of cross appeal and related documents.           0.50     $525        $262.50



8/30/2013   RUDNICK, JENNIFER     Prepare and send chambers copies.                                              0.30     $285         $85.50




                                                                                  Totals (Net of Reductions):    3.10                $1,555.50


                                                                                                  Reductions:    0.70                 $457.00
                                  Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 188 of 244
                             LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                      Appeal Schedule (Second Appeal)

Date        Timekeeper         Narrative                                                                      Hours Billing Rate    Amount
8/30/2013   HELLER, ROGER      Correspondence with opposing counsel re scheduling.                             0.40     $525        $210.00




9/4/2013    HELLER, ROGER      Call with Emily Henn re briefing schedule.                                      0.50     $525        $262.50




9/19/2013   SOBOL, MICHAEL     Appellate briefing schedule.                                                    0.50     $800        $400.00



12/2/2013   HELLER, ROGER      Call with Emily Henn re briefing schedule, draft motion re the same, review     0.80     $525        $420.00
                               rules re the same.


12/3/2013   HELLER, ROGER      Draft motion for extension and declaration, conference with M. Sobol re the     0.70     $525        $367.50
                               same.


12/4/2013   HELLER, ROGER      Revise motion for extension and declaration, conference with M. Sobol,          1.50     $525        $787.50
                               instructions re filing the same, call and correspondence with Emily Henn re
                               the same.

12/4/2013   SOBOL, MICHAEL     Stipulation re briefing schedule.                                               0.20     $800        $160.00



12/9/2013   SOBOL, MICHAEL     Correspondence re appellate briefing schedule.                                  0.30     $800        $240.00




5/14/2014   HELLER, ROGER      Prepare and file request for time extension and correspondence re the           0.50     $600        $300.00
                               same; research.


5/14/2014   SOBOL, MICHAEL     Correspondence re briefing schedule.                                            0.10     $825         $82.50




5/15/2014   SOBOL, MICHAEL     Correspondence re briefing schedule.                                            0.10     $825         $82.50




                                                                                Totals (Net of Reductions):    5.60                $3,312.50


                                                                                              Reductions:         0                   $0.00
                                       Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 189 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                                Appeal Brief (Second Appeal)

Date         Timekeeper             Narrative                                                                  Hours Billing Rate    Amount
9/20/2013    HELLER, ROGER          Notes re appeal.                                                            0.30     $525        $157.50




9/23/2013    SOBOL, MICHAEL         Correspondence and conference re appeal issues.                             0.50     $800        $400.00




10/22/2013   HELLER, ROGER          Conference with M. Sobol, legal research.                                   0.80     $525        $420.00



11/15/2013   QUINONES, MARTIN       Review defendant's opening brief to Ninth Circuit Court of Appeals.         0.80     $320        $256.00




11/15/2013   RUDNICK, JENNIFER      Download Wells Fargo's opening brief and excerpts of record. Save to        1.00     $285        $285.00
                                    shared drive and e-mail same to attorneys. Prepare binder of same for M.
                                    Sobol.

11/15/2013   SOBOL, MICHAEL         Review appellate brief. Correspondence re the same.                         1.20     $800        $960.00




11/15/2013   SUGNET, NICOLE DIANE   Review appellate brief.                                                     0.30     $415        $124.50



11/17/2013   PILOTIN, MARC          Review defendant's appellate brief.                                         0.40     $395        $158.00




11/17/2013   QUINONES, MARTIN       Legal research re defendant's appeal before the Ninth Circuit Court of      3.40     $320       $1,088.00
                                    Appeal.


11/18/2013   HELLER, ROGER          Review appeal brief, conference with M. Sobol re the same, notes re the     3.00     $525       $1,575.00
                                    same.


11/18/2013   RUDNICK, JENNIFER      Prepare appeal binder for R. Heller.                                        0.90     $285        $256.50



11/18/2013   SOBOL, MICHAEL         Review appellate brief, conference with R. Heller re the same.              2.00     $800       $1,600.00




11/22/2013   SOBOL, MICHAEL         Conference re appellate reply brief. Review Wells Fargo brief.              0.60     $800        $480.00
11/25/2013   HELLER, ROGER         Case 3:07-cv-05923-WHA Document 638-2 Filed
                                Review brief and notes re research issues.  1.00 02/17/15
                                                                                    $525  Page   190 of 244
                                                                                            $525.00




11/25/2013   SOBOL, MICHAEL     Review recent appellate briefing.                                              1.00   $800    $800.00




11/26/2013   HELLER, ROGER      Team meeting re appeal brief, legal research and notes for the same.           3.00   $525   $1,575.00




11/26/2013   PILOTIN, MARC      Meeting with M. Sobol and R. Heller regarding appellate brief.                 2.10   $395    $829.50



11/26/2013   QUINONES, MARTIN   Meeting with R. Heller, M. Pilotin, M. Sobol re appeal strategy and research   1.90   $320    $608.00
                                assignments.


11/26/2013   SOBOL, MICHAEL     Work on strategy for response brief. Conference re the same, research re       3.00   $800   $2,400.00
                                the same.


11/27/2013   HELLER, ROGER      Research for appeal brief.                                                     0.80   $525    $420.00




12/5/2013    SOBOL, MICHAEL     Work on appellate brief structure. Conference re the same.                     1.40   $800   $1,120.00



12/9/2013    SOBOL, MICHAEL     Conference re legal research on restitution under 17200.                       0.90   $800    $720.00




12/10/2013   HELLER, ROGER      Notes re research, call with Rich McCune re issues.                            0.30   $525    $157.50



12/11/2013   HELLER, ROGER      Conference with team re research.                                              1.00   $525    $525.00




12/11/2013   PILOTIN, MARC      Legal research for appellate brief; meeting with R. Heller and M. Quiñones     3.50   $395   $1,382.50
                                regarding brief.


12/11/2013   QUINONES, MARTIN   Legal research re response to Ninth Circuit appeal brief by defendants.        2.10   $320    $672.00



12/11/2013   QUINONES, MARTIN   Meeting re research for response to Ninth Circuit appeal brief by              1.10   $320    $352.00
                                defendants.


12/11/2013   SOBOL, MICHAEL     Legal research, re restitution, correspondence re the same.                    1.00   $800    $800.00
12/13/2013   PILOTIN, MARC         Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                            1.80 02/17/15
                                Legal research for and meeting regarding appellate brief.
                                                                                    $395  Page   191 of 244
                                                                                            $711.00




12/25/2013   QUINONES, MARTIN   Legal research re response to defendant's opening brief.                         2.60   $320    $832.00




12/26/2013   QUINONES, MARTIN   Legal reserach re response to defendants' opening appeal brief to the Ninth      0.70   $320    $224.00
                                Circuit court of appeals.


12/31/2013   QUINONES, MARTIN   Legal research re response to defendant appellant's initial brief in appeal to   6.10   $320   $1,952.00
                                Ninth Circuit.


1/2/2014     PILOTIN, MARC      Legal research regarding restitution in California; meeting with R. Heller and   4.60   $415   $1,909.00
                                M. Quiñones; begin drafting memorandum regarding restitution.


1/2/2014     QUINONES, MARTIN   Legal research re response to defendant's opening brief in appeal to Ninth       0.40   $325    $130.00
                                Circuit.


1/2/2014     QUINONES, MARTIN   Meeting with R. Heller and M. Pilotin re response to defendant's opening         1.60   $325    $520.00
                                brief in appeal to Ninth Circuit.


1/3/2014     PILOTIN, MARC      Legal research on restitution in California.                                     1.50   $415    $622.50



1/5/2014     QUINONES, MARTIN   Legal research re response to defendant's opening brief in the Ninth Circuit     0.80   $325    $260.00
                                Court of Appeal.


1/6/2014     PILOTIN, MARC      Legal research for appellate brief; begin drafting section for the same.         1.00   $415    $415.00



1/6/2014     SOBOL, MICHAEL     Review appellate brief, record.                                                  1.00   $825    $825.00




1/7/2014     SOBOL, MICHAEL     Work on appellate brief.                                                         1.00   $825    $825.00




1/8/2014     HELLER, ROGER      Draft outline for response brief, review research re same.                       4.00   $600   $2,400.00



1/9/2014     HELLER, ROGER      Research and notes re appeal brief.                                              3.00   $600   $1,800.00




1/10/2014    PILOTIN, MARC      Legal research for restitution section.                                          0.10   $415     $41.50
1/13/2014   HELLER, ROGER       Case 3:07-cv-05923-WHA Document 638-2 Filed
                                                                         1.50 02/17/15 Page   192 of 244
                             Conference with M. Pilotin re research, research and review record for
                                                                                 $600    $900.00
                             appeal brief.


1/13/2014   PILOTIN, MARC    Draft memorandum regarding restitution; confer with R. Heller regarding the   5.30   $415   $2,199.50
                             same.


1/13/2014   SOBOL, MICHAEL   Work on appellate brief.                                                      1.50   $825   $1,237.50




1/14/2014   HELLER, ROGER    Research and conference with M. Pilotin re appeal brief arguments.            2.00   $600   $1,200.00



1/14/2014   PILOTIN, MARC    Draft memorandum on restitution.                                              4.70   $415   $1,950.50




1/14/2014   SOBOL, MICHAEL   Legal research re restitution. Review case law.                               3.00   $825   $2,475.00




1/15/2014   HELLER, ROGER    Review research memorandum re UCL restitution; conference with M.             4.30   $600   $2,580.00
                             Pilotin re research; research re same; conference with M. Sobol re strategy
                             issues.

1/15/2014   PILOTIN, MARC    Confer with R. Heller regarding appellate brief.                              1.00   $415    $415.00



1/15/2014   SOBOL, MICHAEL   Work on appellate brief. Conferences and research re same.                    2.00   $825   $1,650.00




1/16/2014   HELLER, ROGER    Research re appeal brief.                                                     4.50   $600   $2,700.00



1/17/2014   HELLER, ROGER    Research and notes for appeal response brief.                                 3.50   $600   $2,100.00




1/21/2014   HELLER, ROGER    Research for appeal response brief.                                           1.60   $600    $960.00




1/23/2014   HELLER, ROGER    Research and outline re brief.                                                4.00   $600   $2,400.00



1/24/2014   HELLER, ROGER    Draft outline, conference with M. Pilotin and conference with M. Sobol re     4.50   $600   $2,700.00
                             brief, research case law.


1/24/2014   PILOTIN, MARC    Confer with R. Heller regarding appellate brief.                              1.00   $415    $415.00
1/24/2014   SOBOL, MICHAEL       Case 3:07-cv-05923-WHA Document 638-2 Filed
                             Work on appellate brief.                     2.00 02/17/15
                                                                                  $825  Page    193 of 244
                                                                                         $1,650.00




1/27/2014   HELLER, ROGER    Draft appeal brief, conference with M. Pilotin re same, review case law re     0.20   $600    $120.00
                             same.


1/27/2014   PILOTIN, MARC    Draft appellate brief section regarding restitution; confer with R. Heller     1.90   $415    $788.50
                             regarding the same.


1/27/2014   SOBOL, MICHAEL   Conference re appellate brief organization.                                    0.60   $825    $495.00



1/28/2014   HELLER, ROGER    Draft appeal brief and research re same.                                      10.00   $600   $6,000.00




1/28/2014   SOBOL, MICHAEL   Appellate brief.                                                               2.00   $825   $1,650.00




1/29/2014   HELLER, ROGER    Draft appeal brief and conference re same.                                     9.30   $600   $5,580.00




1/29/2014   PILOTIN, MARC    Draft appellate brief.                                                         6.40   $415   $2,656.00



1/29/2014   SOBOL, MICHAEL   Work on appellate brief.                                                       1.00   $825    $825.00




1/30/2014   HELLER, ROGER    Draft appeal brief and conference re same.                                     9.00   $600   $5,400.00



1/30/2014   PILOTIN, MARC    Draft appellate brief; confer with R. Heller regarding the same.               3.40   $415   $1,411.00




1/31/2014   HELLER, ROGER    Draft brief, conference with M. Sobol and conference with M. Pilotin re        6.50   $600   $3,900.00
                             same.


1/31/2014   PILOTIN, MARC    Review and revise draft of appellate brief; confer with R. Heller regarding    4.30   $415   $1,784.50
                             the same.


1/31/2014   SOBOL, MICHAEL   Work on appellate brief, legal research re same.                               2.50   $825   $2,062.50




2/1/2014    HELLER, ROGER    Draft brief.                                                                   7.50   $600   $4,500.00
2/2/2014    HELLER, ROGER          Case 3:07-cv-05923-WHA Document 638-2 Filed
                               Draft brief.                                 9.00 02/17/15
                                                                                    $600  Page    194 of 244
                                                                                           $5,400.00




2/3/2014    HELLER, ROGER      Draft brief, conference with M. Sobol and conference with M. Pilotin re    6.00   $600   $3,600.00
                               same, research for same.


2/3/2014    PILOTIN, MARC      Draft appellate brief and legal research on the same.                      3.30   $415   $1,369.50




2/3/2014    SOBOL, MICHAEL     Work on appellate brief. Research for same. Conference re same.            4.50   $825   $3,712.50



2/4/2014    HELLER, ROGER      Draft brief and conference with M. Sobol re same, conference with M.       7.50   $600   $4,500.00
                               Pilotin re injunctive relief and other sections.


2/4/2014    SOBOL, MICHAEL     Work on appellate brief, research for same.                                4.00   $825   $3,300.00




2/5/2014    HELLER, ROGER      Draft brief, conference with M. Sobol re same.                            11.00   $600   $6,600.00




2/5/2014    PILOTIN, MARC      Legal research on injunctive relief.                                       0.40   $415    $166.00



2/5/2014    QUINONES, MARTIN   Legal research re opposition to defendant's appeal to the Ninth Circuit    2.60   $325    $845.00
                               Court of Appeals.


2/6/2014    HELLER, ROGER      Draft brief and conference re same.                                        4.00   $600   $2,400.00



2/6/2014    PILOTIN, MARC      Review and revise appellate brief section on injunctive relief.            7.90   $415   $3,278.50




2/6/2014    SOBOL, MICHAEL     Work on appellate brief, revise same, research re same.                    8.00   $825   $6,600.00




2/7/2014    SOBOL, MICHAEL     Work on appeal brief.                                                      4.00   $825   $3,300.00



2/9/2014    HELLER, ROGER      Draft brief.                                                               9.00   $600   $5,400.00




2/10/2014   HELLER, ROGER      Draft brief and research for same, conference re same.                     9.00   $600   $5,400.00
2/10/2014   SOBOL, MICHAEL         Case 3:07-cv-05923-WHA Document 638-2 Filed
                                Work on appeal brief.                       7.00 02/17/15
                                                                                    $825  Page    195 of 244
                                                                                           $5,775.00




2/11/2014   HELLER, ROGER       Draft brief, research for same, conference with M. Sobol re same.            12.00   $600   $7,200.00




2/11/2014   QUINONES, MARTIN    Draft section of appellee's brief regarding measure of restitution award,     3.10   $325   $1,007.50
                                emails to R. Heller regarding same.


2/11/2014   RUDNICK, JENNIFER   Assemble documents to be used as excerpts of record for second cross          1.90   $305    $579.50
                                appeal brief.


2/11/2014   SOBOL, MICHAEL      Work on appellate brief.                                                      7.00   $825   $5,775.00




2/12/2014   HELLER, ROGER       Draft brief and conference re same.                                          12.50   $600   $7,500.00




2/12/2014   RUDNICK, JENNIFER   Pull documents for use in excerpts of record.                                 1.00   $305    $305.00




2/12/2014   SOBOL, MICHAEL      Work on appeal brief.                                                        12.00   $825   $9,900.00



2/13/2014   HELLER, ROGER       Draft brief and conference re same.                                          11.50   $600   $6,900.00




2/13/2014   PILOTIN, MARC       Cite check and edit appellate brief.                                          5.10   $415   $2,116.50



2/13/2014   RUDNICK, JENNIFER   Prepare excerpts of record for second brief on cross-appeal.                  6.10   $305   $1,860.50




2/13/2014   SOBOL, MICHAEL      Work on appeal brief.                                                         8.00   $825   $6,600.00




2/14/2014   HELLER, ROGER       Draft brief and conference re same, instructions re excerpts, review         11.50   $600   $6,900.00
                                documents and instructions re filing.


2/14/2014   PILOTIN, MARC       Review and revise brief; draft language for certificate of compliance.        2.00   $415    $830.00




2/14/2014   RUDNICK, JENNIFER   Cite check second brief on cross-appeal and prepare excerpts of record for   10.80   $305   $3,294.00
                                same.
2/14/2014   SOBOL, MICHAEL         Case 3:07-cv-05923-WHA Document 638-2 Filed
                                Work on appeal brief.                       8.00 02/17/15
                                                                                    $825  Page    196 of 244
                                                                                           $6,600.00




2/20/2014   RUDNICK, JENNIFER   Print second brief on cross appeal and excerpts of record. Give instructions     0.40   $305      $122.00
                                to Services for preparing copies of same for the court.


2/21/2014   RUDNICK, JENNIFER   Prepare paper copy certificate for second brief on cross appeal. Discuss         0.80   $305      $244.00
                                same with Services. Check copies of brief and excerpts for accuracy.
                                Prepare cover letter to clerk re same.

                                                                               Totals (Net of Reductions):     391.40          $228,199.50


                                                                                               Reductions:       7.50            $2,889.50
                                     Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 197 of 244
                                LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                    Appeal Sur-Reply Brief (Second Appeal)

Date        Timekeeper            Narrative                                                                      Hours Billing Rate    Amount
5/6/2014    HELLER, ROGER         Review section re pre-judgment interest and notes re the same.                  0.30     $600        $180.00




5/13/2014   HELLER, ROGER         Correspodnence re appeal brief.                                                 0.30     $600        $180.00




5/27/2014   HELLER, ROGER         Notes re pre-judgment interest argument, conference with M. Sobol re filing.    0.60     $600        $360.00



5/28/2014   HELLER, ROGER         Research re pre-judgment interest and draft fourth brief on cross-appeal,       5.50     $600       $3,300.00
                                  conference with M. Sobol re the same.


5/29/2014   HELLER, ROGER         Review and revise brief, correspondence re the same.                            1.50     $600        $900.00



5/29/2014   SOBOL, MICHAEL        Review and revise fourth brief on appeal.                                       1.00     $825        $825.00




6/2/2014    RUDNICK, JENNIFER     Prepare copies of brief and send same to court.                                 0.50     $305        $152.50




                                                                                 Totals (Net of Reductions):      9.70                $5,897.50


                                                                                                 Reductions:      0.10                  $82.50
                                     Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 198 of 244
                                LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                           Oral Argument (Second Appeal)

Date        Timekeeper            Narrative                                                               Hours Billing Rate    Amount
2/21/2014   HELLER, ROGER         Conference with M. Sobol re appeal arguments.                            0.30     $600        $180.00




5/1/2014    HELLER, ROGER         Review appeal reply brief, conference with M. Sobol re the same.         1.20     $600        $720.00




5/2/2014    SOBOL, MICHAEL        Review third brief on appeal.                                            2.00     $825       $1,650.00



5/6/2014    SOBOL, MICHAEL        Review Wells Fargo's response brief.                                     2.50     $825       $2,062.50




6/13/2014   SOBOL, MICHAEL        Notice re Ninth Circuit panel. Correspondence re the same.               0.50     $825        $412.50



8/5/2014    RUDNICK, JENNIFER     Prepare binders for M. Sobol to use in preparation for oral argument.    2.00     $305        $610.00




8/6/2014    RUDNICK, JENNIFER     Prepare binders for M. Sobol for preparation for oral argument.          1.50     $305        $457.50



9/5/2014    SOBOL, MICHAEL        Review appellate briefing.                                               1.50     $825       $1,237.50




9/8/2014    SOBOL, MICHAEL        Review briefs.                                                           1.50     $825       $1,237.50



9/12/2014   SOBOL, MICHAEL        Review appellate briefs.                                                 2.00     $825       $1,650.00




9/19/2014   SOBOL, MICHAEL        Prepare for oral argument.                                               1.00     $825        $825.00



9/21/2014   SOBOL, MICHAEL        Prepare for oral argument.                                               5.00     $825       $4,125.00




9/22/2014   SOBOL, MICHAEL        Prepare for oral argument.                                               6.00     $825       $4,950.00
9/22/2014   SUGNET, NICOLE DIANE      Case 3:07-cv-05923-WHA Document 638-2 Filed
                                   Discuss appeal oral argument with M. Sobol. 0.90 02/17/15
                                                                                       $435  Page   199 of 244
                                                                                               $391.50




9/23/2014   RUDNICK, JENNIFER      Prepare acknowledgment of hearing form. Assist Word Processing with e-   0.70   $305    $213.50
                                   filing same.


9/23/2014   SOBOL, MICHAEL         Prepare oral argument. Legal research.                                   8.00   $825   $6,600.00




9/23/2014   SUGNET, NICOLE DIANE   Discuss appellate hearing with M. Sobol.                                 2.00   $435    $870.00



9/23/2014   SUGNET, NICOLE DIANE   Read appellate briefs in preparation for oral argument.                  4.90   $435   $2,131.50




9/23/2014   SUGNET, NICOLE DIANE   Review opinions written by panelist judges.                              1.50   $435    $652.50




9/24/2014   SOBOL, MICHAEL         Prepare for oral argument. Legal research for the same.                  7.00   $825   $5,775.00




9/25/2014   SOBOL, MICHAEL         Prepare for oral argument.                                               2.00   $825   $1,650.00



9/26/2014   SOBOL, MICHAEL         Prepare for oral argument.                                               4.00   $825   $3,300.00




9/29/2014   HELLER, ROGER          Conference with M. Sobol and N. Sugnet re oral argument, outline re      6.00   $600   $3,600.00
                                   issues, research for the same.


9/29/2014   SOBOL, MICHAEL         Prepare oral argument.                                                   2.00   $825   $1,650.00




9/29/2014   SUGNET, NICOLE DIANE   Discuss oral argument with R. Heller.                                    2.00   $435    $870.00




9/30/2014   HELLER, ROGER          Research and prepare outlines for oral argument.                         5.00   $600   $3,000.00



9/30/2014   RUDNICK, JENNIFER      Prepare binder for oral argument.                                        3.20   $305    $976.00




10/1/2014   HELLER, ROGER          Prepare outlines and research in preparation for oral argument.          4.50   $600   $2,700.00
10/1/2014   RUDNICK, JENNIFER         Case 3:07-cv-05923-WHA Document 638-2 Filed
                                   Prepare binder for oral argument.           0.50 02/17/15
                                                                                       $305  Page   200 of 244
                                                                                               $152.50




10/1/2014   SOBOL, MICHAEL         Prepare for oral argument.                                                    5.00   $825   $4,125.00




10/2/2014   HELLER, ROGER          Conference with M. Sobol re preparation for oral argument, research re the    4.50   $600   $2,700.00
                                   same.


10/2/2014   SOBOL, MICHAEL         Prepare oral argument.                                                        4.50   $825   $3,712.50



10/2/2014   SUGNET, NICOLE DIANE   Discuss oral argument with M. Sobol and R. Heller.                            0.30   $435    $130.50




10/3/2014   HELLER, ROGER          Prepare for oral argument, conference with M. Sobol.                          4.00   $600   $2,400.00




10/3/2014   SOBOL, MICHAEL         Prepare oral argument.                                                        6.00   $825   $4,950.00




10/4/2014   SOBOL, MICHAEL         Prepare for oral argument.                                                   11.00   $825   $9,075.00



10/5/2014   HELLER, ROGER          Assist in preparation for oral argument, correspondence and calls for the     4.70   $600   $2,820.00
                                   same.


10/5/2014   SOBOL, MICHAEL         Prepare for oral argument.                                                   12.00   $825   $9,900.00



10/6/2014   HELLER, ROGER          Prepare for oral argument.                                                    9.50   $600   $5,700.00




10/6/2014   SOBOL, MICHAEL         Prepare oral argument.                                                       10.50   $825   $8,662.50




10/6/2014   SUGNET, NICOLE DIANE   Conduct research for oral argument.                                           3.00   $435   $1,305.00



10/6/2014   SUGNET, NICOLE DIANE   Discuss oral argument with M. Sobol and R. Heller.                            5.30   $435   $2,305.50




10/7/2014   HELLER, ROGER          Prepare for oral argument.                                                    6.00   $600   $3,600.00
10/7/2014   SOBOL, MICHAEL            Case 3:07-cv-05923-WHA Document 638-2 Filed
                                   Prepare oral argument.                     10.00 02/17/15
                                                                                       $825  Page    201 of 244
                                                                                              $8,250.00




10/7/2014   SUGNET, NICOLE DIANE   Discuss oral argument with M. Sobol and R. Heller.                            2.00   $435      $870.00




10/7/2014   SUGNET, NICOLE DIANE   Research for oral argument                                                    1.20   $435      $522.00




10/8/2014   HELLER, ROGER          Attend oral argument, post argument conference with team.                     2.50   $600     $1,500.00



10/8/2014   SOBOL, MICHAEL         Prepare oral argument. Oral argument. Conference post-argument.               7.50   $825     $6,187.50




10/9/2014   HELLER, ROGER          Conference with M. Sobol re oral argument.                                    0.50   $600      $300.00




10/9/2014   SOBOL, MICHAEL         Correspondence re oral argument.                                              0.50   $825      $412.50




                                                                                 Totals (Net of Reductions):   191.70          $134,078.00


                                                                                               Reductions:       7.70            $3,261.00
                                   Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 202 of 244
                              LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                   Ninth Circuit Opinion (Second Appeal)

Date         Timekeeper         Narrative                                                                  Hours Billing Rate    Amount
10/29/2014   HELLER, ROGER      Review Ninth Circuit opinion and correspondence with team re the same.      1.00     $600        $600.00




10/29/2014   SOBOL, MICHAEL     Conference and correspondence re affirmance on appeal. Review opinion.      2.50     $825       $2,062.50




10/30/2014   SOBOL, MICHAEL     Conferences and correspondence re affirmance on appeal.                     1.00     $825        $825.00




                                                                             Totals (Net of Reductions):    4.50                $3,487.50


                                                                                            Reductions:     0.20                  $98.00
                                  Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 203 of 244
                             LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                 Post-Mandate Strategy (Second Appeal)

Date        Timekeeper         Narrative                                                                    Hours Billing Rate   Amount
11/3/2014   SOBOL, MICHAEL     Correspondence re proceedings after mandate.                                  0.30     $825       $247.50




11/4/2014   SOBOL, MICHAEL     Correspondence re proceedings after mandate.                                  0.20     $825       $165.00




                                                                              Totals (Net of Reductions):    0.50                $412.50


                                                                                            Reductions:      0.80                $350.00
                                   Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 204 of 244
                              LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                WF Petition for Rehearing (Second Appeal)

Date         Timekeeper         Narrative                                                                  Hours Billing Rate    Amount
11/12/2014   SOBOL, MICHAEL     Review petition for rehearing. Conferences and correspondence re the        3.00     $825       $2,475.00
                                same.


12/11/2014   SOBOL, MICHAEL     Review order denying further review.                                        0.10     $825         $82.50




                                                                             Totals (Net of Reductions):    3.10                $2,557.50


                                                                                             Reductions:    0.10                  $30.00




                                                                                                195
                                      Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 205 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                  WF Motion to Stay Mandate (Second Appeal)

Date         Timekeeper            Narrative                                                                       Hours Billing Rate     Amount
12/18/2014   HELLER, ROGER         Conference with M. Sobol re opposing motion to stay mandate, review case         1.50     $600         $900.00
                                   law re the same.


12/18/2014   RUDNICK, JENNIFER     Pull case law for M. Sobol's review.                                             0.10     $305          $30.50




12/18/2014   SOBOL, MICHAEL        Review motion to stay issuance of mandate. Legal research re the same.           2.00     $825        $1,650.00
                                   Conference and correspondence re the same.


12/19/2014   HELLER, ROGER         Research for opposition to motion for stay of mandate, notes re the same.        3.80     $600        $2,280.00




12/19/2014   SOBOL, MICHAEL        Conferences and research re opposition to motion to stay mandate.                1.00     $825         $825.00



12/21/2014   HELLER, ROGER         Draft opposition to motion for stay of mandate.                                  6.50     $600        $3,900.00




12/22/2014   HELLER, ROGER         Draft opposition to motion to stay mandate, research for the same, call with     5.50     $600        $3,300.00
                                   M. Sobol re the same.


12/22/2014   SOBOL, MICHAEL        Review and revise opposition to motion to stay mandate.                          2.00     $825        $1,650.00




12/23/2014   HELLER, ROGER         Draft opposition brief, research for the same.                                   5.50     $600        $3,300.00



12/23/2014   SOBOL, MICHAEL        Review and revise opposition to motion to stay mandate.                          1.50     $825        $1,237.50




12/29/2014   HELLER, ROGER         Conference re order denying motion to stay.                                      0.30     $600         $180.00




                                                                                     Totals (Net of Reductions):   29.70                $19,253.00


                                                                                                   Reductions:      4.00                 $2,400.00
                                Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 206 of 244
                           LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                           Post-Mandate Status Update (Second Remand)

Date       Timekeeper        Narrative                                                                    Hours Billing Rate   Amount
1/7/2015   HELLER, ROGER     Conference with M. Sobol re status update, review draft of the same.          0.50     $625       $312.50




1/8/2015   HELLER, ROGER     Conference with M. Sobol re status conference.                                0.40     $625       $250.00




                                                                            Totals (Net of Reductions):    0.90                $562.50


                                                                                           Reductions:     0.20                 $65.00
                                 Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 207 of 244
                            LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                                      Joint Recommendation #3 (2015)

Date        Timekeeper        Narrative                                                                    Hours Billing Rate    Amount
1/9/2015    HELLER, ROGER     Conference re joint recommendation and fee motion, research for same.         0.90     $625        $562.50




1/14/2015   HELLER, ROGER     Draft joint recommendation re notice and distribution, conference with M.     5.50     $625       $3,437.50
                              Sobol re the same.


1/15/2015   HELLER, ROGER     Draft joint recommendation re notice and distribution, conference with M.     6.00     $625       $3,750.00
                              Sobol re the same.


                                                                             Totals (Net of Reductions):   12.40                $7,750.00


                                                                                             Reductions:       0                   $0.00
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                           Exhibit B
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                                          Exhibit B: LCHB Reductions Per Timekeeper




Timekeeper                Hours Reduced            Lodestar Reduced (Historical Rates)
Scott Alameda                                2.3                                  $582.00
Elizabeth Cabraser                           6.5                                $5,875.00
Christian Chan                               1.5                                  $390.00
Kirti Dugar                                   18                                $6,160.00
Allison Elgart                                 9                                $3,510.00
Jordan Elias                                24.5                               $11,273.00
Miriam Gordon                                3.6                                  $864.00
Richard Heimann                              6.7                                $5,872.50
Roger Heller                               155.6                               $72,162.50
Barry Himmelstein                           13.3                                $8,705.00
Sat Kriya Khalsa                             2.9                                  $754.00
Arra Khararjian                              3.5                                  $945.00
Michael Miarmi                               0.4                                  $220.00
Major Mugrage                               12.6                                $3,190.00
Renee Mukherji                               4.1                                  $956.00
Robert Nelson                                0.3                                  $225.00
Mike Nguyen                                  9.4                                $2,181.00
Phong-Chau Nguyen                            7.2                                $2,520.00
Mikaela B. Palmerton                        25.4                                $8,067.50
Jennifer Rudnick                            71.3                               $18,139.50
Jack Sanford                                   8                                $1,800.00
Steven Shin                                    2                                  $450.00
Jaron Shipp                                  5.3                                $2,067.00
Michael Sobol                               72.9                               $53,605.00
Alison Stocking                             15.1                                $6,266.50
Nicole Diane Sugnet                         15.7                                $6,449.50
Yun Swenson                                    3                                  $821.00
Total                                      500.1                              $224,051.00
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                           Exhibit C
                              Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 211 of 244
                                                Exhbit C: All Attorney Time (Historical Rates)

Timekeeper                     Firm        Position             Hours      Lodestar (Historical Rates)
Richard D. McCune              M&W         Attorney                2612.7                 $1,371,799.00
Roger N. Heller                LCHB        Attorney                1632.3                   $808,360.00
Michael W. Sobol               LCHB        Attorney                1332.3                 $1,013,485.00
Jae K. Kim                     M&W         Attorney                   1144                  $350,074.13
Mikaela Bernstein Palmerton    LCHB        Attorney                  448.4                  $144,725.00
Jordan Elias                   LCHB        Attorney                  322.4                  $149,018.50
Richard M. Heimann             LCHB        Attorney                  260.5                  $224,312.50
Alison Stocking                LCHB        Attorney                  250.2                  $103,338.00
Barry Himmelstein              LCHB        Attorney                  229.8                  $153,700.00
Elaine S. Kusel                M&W         Attorney                    193                  $104,637.50
Nicole D. Sugnet               LCHB        Attorney                  163.9                   $65,364.50
David C. Wright                M&W         Attorney                  81.75                   $36,898.13
Marc Pilotin                   LCHB        Attorney                   73.2                   $29,992.00
Allison Elgart                 LCHB        Attorney                   34.8                   $13,572.00
Martin Quinones                LCHB        Attorney                   27.2                     $8,746.50
Total Attorneys                                                   8806.45                 $4,578,022.76


Ann M. Smith                   M&W         Paralegal                 617.2                        $83,898.60
Jennifer Rudnick               LCHB        Paralegal                 435.1                       $107,567.50
Jack Sanford                   LCHB        Paralegal                 112.3                        $25,267.50
Total Paralegals                                                    1164.6                       $216,733.60


Kirti Dugar                    LCHB        Litigation Support         141.5                       $48,717.50
Major Mugrage                  LCHB        Litigation Support           80                        $20,732.00
Anthony Grant                  LCHB        Litigation Support           75                        $19,500.00
Scott Alameda                  LCHB        Litigation Support          36.7                        $9,532.00
Sat Kriya Khasla               LCHB        Litigation Support          22.9                        $5,813.00
Arra Khararjian                LCHB        Litigation Support          19.3                        $5,163.00
Total Litigation Support                                              375.4                      $109,457.50

Grand Total                                                       10346.45                  $4,904,213.85

                                           LCHB Total               5697.8                  $2,956,906.50
                                           M&W Total               4648.65                  $1,947,307.35
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                           Exhibit D
                              Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 213 of 244
                                               Exhibit D: All Attorney Time (Current Rates)

Timekeeper                       Firm        Position             Hours      Lodestar (Current Rates)
Richard D. McCune                M&W         Attorney                2612.7                   $1,531,647.00
Roger N. Heller                  LCHB        Attorney                1632.3                     $880,027.50
Michael W. Sobol                 LCHB        Attorney                1332.3                   $1,132,455.00
Jae K. Kim                       M&W         Attorney                   1144                    $403,802.06
Mikaela Bernstein Palmerton      LCHB        Attorney                  448.4                    $168,150.00
Jordan Elias                     LCHB        Attorney                  322.4                    $157,976.00
Richard M. Heimann               LCHB        Attorney                  260.5                    $253,987.50
Alison Stocking                  LCHB        Attorney                  250.2                    $116,343.00
Barry Himmelstein                LCHB        Attorney                  229.8                    $160,860.00
Elaine S. Kusel                  M&W         Attorney                    193                    $123,662.50
Nicole D. Sugnet                 LCHB        Attorney                  163.9                     $71,296.50
David C. Wright                  M&W         Attorney                  81.75                     $43,606.88
Marc Pilotin                     LCHB        Attorney                   73.2                     $31,842.00
Allison Elgart                   LCHB        Attorney                   34.8                     $15,138.00
Martin Quinones                  LCHB        Attorney                   27.2                      $9,520.00
Total Attorneys                                                     8806.45                   $5,100,313.94


Ann M. Smith                     M&W         Paralegal                 617.2                   $125,847.90
Jennifer Rudnick                 LCHB        Paralegal                 435.1                   $141,407.50
Jack Sanford                     LCHB        Paralegal                 112.3                    $25,267.50
Total Paralegals                                                      1164.6                   $292,522.90


Kirti Dugar                      LCHB        Litigation Support        141.5                    $60,845.00
Major Mugrage                    LCHB        Litigation Support          80                     $25,600.00
Anthony Grant                    LCHB        Litigation Support          75                     $25,500.00
Scott Alameda                    LCHB        Litigation Support         36.7                     $9,542.00
Arra Khararjian                  LCHB        Litigation Support         22.9                     $5,211.00
SatKriya Khasla                  LCHB        Litigation Support         19.3                     $6,526.50
Total Litigation Support                                               375.4                   $133,224.50

Grand Total                                                        10346.45                   $5,526,061.34

                                             LCHB Total               5697.8                  $3,297,495.00
                                             M&W Total               4648.65                  $2,228,566.34
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                           Exhibit E
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                                           Exhibit E: Firm Totals

Firm     Total Hours     Firm Lodestar (Historical Rates) Firm Lodestar (Current Rates)     Firm Expenses

LCHB          5,697.80                     $2,956,906.50                    $3,297,495.00                   $449,859.85

M&W           4,648.65                     $1,947,307.35                    $2,228,566.34                   $108,519.07

Totals      10,346.45                      $4,904,213.85                    $5,526,061.34                   $558,378.92
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                           Exhibit F
               Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 217 of 244
                                 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
Report created on     02/16/2015 08:25:57 PM                                         From                Inception
                                                                                     To                  1/15/2015


Matter Number: 3380-0001                       GUTIERREZ V. WELLS FARGO - General Matter

PARTNER


NAME                                                                     HOURS              RATE          TOTAL
RICHARD HEIMANN                                                             0.60            825.00        495.00
RICHARD HEIMANN                                                           194.20            850.00    165,070.00
RICHARD HEIMANN                                                            39.30            875.00     34,387.50
RICHARD HEIMANN                                                             2.40            900.00       2,160.00
RICHARD HEIMANN                                                            24.00            925.00     22,200.00
BARRY HIMMELSTEIN                                                          56.60            650.00     36,790.00
BARRY HIMMELSTEIN                                                         173.20            675.00    116,910.00
MICHAEL SOBOL                                                              13.30            700.00       9,310.00
MICHAEL SOBOL                                                             576.80            725.00    418,180.00
MICHAEL SOBOL                                                             165.60            750.00    124,200.00
MICHAEL SOBOL                                                             185.30            775.00    143,607.50
MICHAEL SOBOL                                                             185.40            800.00    148,320.00
MICHAEL SOBOL                                                             205.90            825.00    169,867.50
ROGER HELLER                                                              294.20            475.00    139,745.00
ROGER HELLER                                                               69.20            500.00     34,600.00
ROGER HELLER                                                              289.30            525.00    151,882.50
ROGER HELLER                                                              259.90            600.00    155,940.00
ROGER HELLER                                                               13.30            625.00       8,312.50
                                                                        2,748.50                     1,881,977.50


ASSOCIATE


NAME                                                                     HOURS              RATE          TOTAL
ALLISON ELGART                                                             34.80            390.00     13,572.00
JORDAN ELIAS                                                                9.80            410.00      4,018.00
JORDAN ELIAS                                                               89.60            430.00     38,528.00
JORDAN ELIAS                                                             186.50             475.00     88,587.50
JORDAN ELIAS                                                               36.50            490.00     17,885.00
ROGER HELLER                                                             706.40             450.00    317,880.00
MIKAELA B. PALMERTON                                                       40.20            300.00     12,060.00
MIKAELA B. PALMERTON                                                     408.20             325.00    132,665.00
MARC PILOTIN                                                               19.30            395.00      7,623.50
MARC PILOTIN                                                               53.90            415.00     22,368.50
MARTIN QUINONES                                                            18.70            320.00      5,984.00
MARTIN QUINONES                                                             8.50            325.00      2,762.50
ALISON STOCKING                                                            11.00            370.00      4,070.00
ALISON STOCKING                                                          239.20             415.00     99,268.00
NICOLE DIANE SUGNET                                                        77.90            375.00     29,212.50
NICOLE DIANE SUGNET                                                        62.90            415.00     26,103.50
NICOLE DIANE SUGNET                                                        23.10            435.00     10,048.50
                                                                        2,026.50                      832,636.50


PARALEGAL


NAME                                                                     HOURS              RATE          TOTAL
               Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 218 of 244
JENNIFER RUDNICK                                           10.20        215.00          2,193.00
JENNIFER RUDNICK                                          298.20        235.00         70,077.00
JENNIFER RUDNICK                                           59.80        260.00         15,548.00
JENNIFER RUDNICK                                            9.10        275.00          2,502.50
JENNIFER RUDNICK                                           19.40        285.00          5,529.00
JENNIFER RUDNICK                                           38.10        305.00         11,620.50
JENNIFER RUDNICK                                            0.30        325.00            97.50
JACK SANFORD                                              112.30        225.00         25,267.50
KIRTI DUGAR                                                10.00        335.00          3,350.00
KIRTI DUGAR                                               131.50        345.00         45,367.50
                                                          688.90                      181,552.50


LITIGATION SUPPORT


NAME                                                     HOURS          RATE             TOTAL
SCOTT ALAMEDA                                               1.00        250.00           250.00
SCOTT ALAMEDA                                              35.70        260.00          9,282.00
ARRA KHARARJIAN                                             4.80        260.00          1,248.00
ARRA KHARARJIAN                                            14.50        270.00          3,915.00
MAJOR MUGRAGE                                               6.80        250.00          1,700.00
MAJOR MUGRAGE                                              73.20        260.00         19,032.00
ANTHONY GRANT                                              75.00        260.00         19,500.00
SAT KRIYA KHALSA                                           14.10        250.00          3,525.00
SAT KRIYA KHALSA                                            8.80        260.00          2,288.00
                                                          233.90                       60,740.00

                                    MATTER TOTAL        5,697.80                  2,956,906.50
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                           Exhibit G
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                                  LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
Report created on    02/16/2015 08:39:59 PM                                           From                   Inception

                                                                                      To                     1/15/2015


Matter Number: 3380-0001                      GUTIERREZ V. WELLS FARGO - General Matter

PARTNER

NAME                                                                     HOURS             RATE           TOTAL
RICHARD HEIMANN                                                           260.50           975.00     253,987.50
BARRY HIMMELSTEIN                                                         229.80           700.00     160,860.00
MICHAEL SOBOL                                                           1,332.30           850.00    1,132,455.00
ROGER HELLER                                                              697.90           625.00     436,187.50
                                                                        2,520.50                     1,983,490.00


ASSOCIATE

NAME                                                                     HOURS             RATE           TOTAL
ALLISON ELGART                                                             34.80           435.00      15,138.00
JORDAN ELIAS                                                              322.40           490.00     157,976.00
ROGER HELLER                                                              934.40           475.00     443,840.00
MIKAELA B. PALMERTON                                                      448.40           375.00     168,150.00
MARC PILOTIN                                                               73.20           435.00      31,842.00
MARTIN QUINONES                                                            27.20           350.00        9,520.00
ALISON STOCKING                                                           250.20           465.00     116,343.00
NICOLE DIANE SUGNET                                                       163.90           435.00      71,296.50
                                                                        2,254.50                     1,014,105.50


PARALEGAL

NAME                                                                     HOURS             RATE           TOTAL
JENNIFER RUDNICK                                                          435.10           325.00     141,407.50
JACK SANFORD                                                              112.30           225.00      25,267.50
KIRTI DUGAR                                                               141.50           430.00      60,845.00
                                                                          688.90                      227,520.00


LITIGATION SUPPORT

NAME                                                                     HOURS             RATE           TOTAL
SCOTT ALAMEDA                                                              36.70           260.00        9,542.00
ARRA KHARARJIAN                                                            19.30           270.00        5,211.00
MAJOR MUGRAGE                                                              80.00           320.00      25,600.00
ANTHONY GRANT                                                              75.00           340.00      25,500.00
SAT KRIYA KHALSA                                                           22.90           285.00        6,526.50
                                                                          233.90                       72,379.50

                                               MATTER TOTALS           5,697.80                     3,297,495.00
Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 221 of 244




                           Exhibit H
                       Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 222 of 244
                          LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
Report created on         02/13/2015 10:19:51 AM                   inception   To         02/13/15



GUTIERREZ V. WELLS FARGO - General Matter                              Matter Number: 3380-0001


                                                        Amount
 In-House Copies                                      $15,055.20
 Postage                                                $557.91
 Computer Research                                    $70,103.55
 Deposition/Transcripts                                 $342.50
 Electronic Database                                  $23,838.35
 Experts/Consultants                                 $252,895.12
 Federal Express/Messenger                             $3,841.84
 Filing Fees                                            $910.00
 Mediation Expenses                                    $5,950.00
 Notices/Website                                      $60,888.76
 Outside Copy Service                                  $8,372.80
 Trial Expenses                                        $7,103.82


 Total Matter Costs:                               $449,859.85
Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 223 of 244




                           Exhibit I
              Case 3:07-cv-05923-WHA Document 638-2 Filed 02/17/15 Page 224 of 244
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                                                        'HSRVLWLRQ7UDQVFULSWV9(1'25$PHULFDQ([SUHVV.'
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                                                        (OHFWURQLF'DWDEDVH9(1'25'HOO)LQDQFLDO6HUYLFHVGDWD
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                                                        (OHFWURQLF'DWDEDVH9(1'250LVFHOODQHRXV'LJLWDO3ULQWV
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                                                        (OHFWURQLF'DWDEDVH9(1'25:LOOLDPV/HD,QF,PDJLQJ'DWD
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                                                        &'0DVWHULQJ%DFNXS
                                                        2XWVLGH&RS\6HUYLFH9(1'25:LOOLDPV/HD,QF$VVHPEOHG
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                                                        0DVWHULQJ%DFNXS
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                                                        (OHFWURQLF'DWDEDVH9(1'252Q7KH5HFRUG7HFKQLFDO
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                                                        ([SHUWV&RQVXOWDQWV9(1'25'U0DUVKDOO6FKPLQNHH[SHUW
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                                  /,())&$%5$6(5+(,0$11 %(5167(,1//3
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                                                        )HGHUDO([SUHVV0HVVHQJHU9(1'256SLQF\FOH/HJDO6HUYLFHV
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                                  /,())&$%5$6(5+(,0$11 %(5167(,1//3
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